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                           EXHIBIT 100 – A
Case: Highly
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                                                                             Review

      1        IN THE UNITED STATES DISTRICT COURT
      2         FOR THE EASTERN DISTRICT OF OHIO
      3                 EASTERN DIVISION
      4                      - - -
      5     IN RE: NATIONAL     : MDL NO. 2804
            PRESCRIPTION OPIATE :
      6     LITIGATION          :
            -----------------------------------------
      7                         : CASE NO.
            THIS DOCUMENT       : 1:17-MD-2804
      8     RELATES TO ALL CASES:
                                : Hon. Dan A.
      9                         : Polster
     10                      - - -
                   Tuesday, November 27, 2018
     11                      - - -
     12     HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
                     CONFIDENTIALITY REVIEW
     13
                                       -   -    -
     14
                         Videotaped deposition of
     15     KEVIN KREUTZER, taken pursuant to notice,
            was held at the law offices of Reed Smith
     16     LLP, Three Logan Square, 1717 Arch
            Street, Suite 3100, Philadelphia,
     17     Pennsylvania 19103, beginning at 9:34
            a.m., on the above date, before Amanda
     18     Dee Maslynsky-Miller, a Certified
            Realtime Reporter.
     19
                                       -   -    -
     20
     21
     22
     23               GOLKOW LITIGATION SERVICES
                  877.370.3377 ph | 917.591.5672 fax
     24                   deps@golkow.com
    Golkow Litigation Services                                         Page 1 (1)
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     1   APPEARANCES:                                 1   APPEARANCES: (Continued)
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    24                                               24

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     1   APPEARANCES: (Continued)                     1   APPEARANCES: (Continued)
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     1   APPEARANCES: (Continued)                           1
     2   VIA TELEPHONE/LIVESTREAM:                                      - - -
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     9                                                      7
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    14                                                     11 Exhibit-11 ABDC_MDL_00178337       374
    15                                                     12 AmerisourceBergen-Kreutzer
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               Corporation
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    22                                                     21
       ALSO PRESENT:                                       22
    23 Devyn Mulholland, Videographer                      23
       Zach Posen, Trial Technician                        24
    24 Christopher Casalenuovo, AmerisourceBergen

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     1             - - -                                    1           - - -
     2             INDEX                                    2       DEPOSITION SUPPORT INDEX
     3             - - -                                    3
     4                                                                  - - -
         Testimony of: KEVIN KREUTZER                       4
     5
                                                            5 Direction to Witness Not to Answer
     6    By Mr. Cluff               11
     7                                                      6 Page Line Page Line Page Line
     8             - - -                                    7 None
     9            EXHIBITS                                  8
    10             - - -
    11                                                      9
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       AmerisourceBergen-Kreutzer
    13 Exhibit-1 ABDC_MDL_00304391-392              164 12 None
    14 AmerisourceBergen-Kreutzer
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       Exhibit-2 ABDC_MDL_00154441-443              176
    15                                                     14
       AmerisourceBergen-Kreutzer               15 Stipulations
    16 Exhibit-3 Teva_MDL_A_(0)233-1299-320 223
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       Exhibit-4 Teva_MDL_A_(0)233-1346-348 250 17 10 1
    18                                                     18
       AmerisourceBergen-Kreutzer
    19 Exhibit-5 Teva_MDL_A_(0)233-1426-428 274 19
    20 AmerisourceBergen-Kreutzer               20 Question Marked
       Exhibit-6 ABDC_MDL_0045077        304    21
    21                                                          Page Line   Page Line    Page Line
         AmerisourceBergen-Kreutzer                        22   None
    22   Exhibit-7 ABCD_MDL_0045075               306      23
    23
    24                                                     24


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     1            - - -                              1 deposition taken before?
     2        (It is hereby stipulated and           2       A. I have not.
     3    agreed by and among counsel that           3       Q. I'm sure that your esteemed
     4    sealing, filing and certification          4 lawyers have explained sort of the
     5    are waived; and that all                   5 deposition protocols for you, so I'm
     6    objections, except as to the form          6 going to skip some of the admonitions.
     7    of the question, will be reserved          7          But just remind you that
     8    until the time of trial.)                  8 you're under oath, so we need to get
     9           - - -                               9 truthful answers from you.
    10        VIDEO TECHNICIAN: We are              10          And also remind you not to
    11    now on the record. My name is             11 disclose any attorney-client privilege,
    12    Devyn Mulholland, I'm a                   12 and that if you feel like you need to
    13    videographer for Golkow Litigation        13 discuss with your lawyers about a
    14    Services. Today's date is                 14 privilege, we can make arrangements for
    15    November 27, 2018. The time is            15 that.
    16    9:34 a.m.                                 16          In addition to that, we're
    17        This video deposition is              17 entitled to your best recollection. If
    18    being held in Philadelphia,               18 you don't recall, you can tell me that.
    19    Pennsylvania, in the matter of            19 And I'd also caution you not to guess at
    20    National Prescription Opiate              20 an answer. If you don't know, just let
    21    Litigation. The deponent is Kevin         21 me know.
    22    Kreutzer.                                 22          Does that all make sense?
    23        Counsel will be noted on the          23       A. Yes.
    24    stenographic record. The court            24       Q. So how long have you worked
                                          Page 11                                           Page 13
     1      reporter is Amanda Miller and will       1 for AmerisourceBergen?
     2      now swear in the witness.                2      A. Since 2007, so going on 11
     3              - - -                            3 years.
     4          KEVIN KREUTZER, after having         4      Q. Has your employment with
     5      been duly sworn, was examined and        5 AmerisourceBergen been continuous since
     6      testified as follows:                    6 2007?
     7              - - -                            7      A. It has not.
     8            EXAMINATION                        8      Q. When you began with
     9             - - -                             9 Amerisource -- well, when you joined the
    10 BY MR. CLUFF:                                10 company in 2007, was it AmerisourceBergen
    11      Q. Good morning, Mr. Kreutzer.          11 or was it some previous entity that
    12 As I explained earlier, my name is           12 merged into AmerisourceBergen?
    13 Sterling Cluff, I work at a law firm         13      A. It was AmerisourceBergen.
    14 called Baron and Budd, and we represent      14      Q. And what was your title at
    15 the Track 1 plaintiffs in the national       15 the time that you joined
    16 opiate litigation. And I'll be taking        16 AmerisourceBergen?
    17 your deposition today.                       17      A. I believe my title was
    18          To start off, could you just        18 collections associate.
    19 spell your first and last name for the       19      Q. And do you recall what month
    20 record, so we have a clear record of         20 in 2007 you started with Amerisource?
    21 that, please?                                21      A. It was April.
    22      A. Sure. It's K-E-V-I-N. Last           22      Q. And you believe your title
    23 name is K-R-E-U-T-Z-E-R.                     23 at that time was collections associate?
    24      Q. And have you ever had your           24      A. Yes.
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     1      Q. Do you recall how long you             1 reporting to Mr. Cherveny?
     2 held that position?                            2      A. I believe it was 2015.
     3      A. Approximately a year                   3      Q. At the time you're
     4 and-a-half.                                    4 reporting -- at the time that that change
     5      Q. So that would have been                5 occurred, do you recall why you began
     6 until approximately the middle of 2009?        6 reporting to Mr. Cherveny instead of Mr.
     7      A. I believe so, yes.                     7 Hazewski?
     8      Q. And after you were a                   8      A. I do not.
     9 collections associate, do you recall what      9      Q. Was there any change in your
    10 your next position with AmerisourceBergen     10 responsibilities after you began
    11 was?                                          11 reporting to Mr. Cherveny?
    12      A. Yes. It was diversion                 12      A. No.
    13 control specialist.                           13      Q. To fast-forward to the
    14      Q. And to the best of your               14 change to a diversion control
    15 recollection, you would have assumed that     15 investigator, did you report to anybody
    16 position in -- some time in 2009?             16 in that role?
    17      A. Yes.                                  17      A. I'm sorry, could you ask
    18      Q. What position did you -- did          18 that again?
    19 your position ever change at                  19      Q. Sure. No problem.
    20 AmerisourceBergen after you became a          20          When you were promoted to a
    21 diversion control specialist?                 21 diversion control investigator, prior to
    22      A. I received a promotion last           22 that time, were you still reporting to
    23 year to diversion control investigator.       23 Mr. Cherveny?
    24      Q. So that would have been               24      A. Yes.
                                           Page 15                                            Page 17
     1 2017?                                          1      Q. And after you were promoted,
     2      A. Yes.                                   2 did you continue to report to Mr.
     3      Q. So between 2009 and 2017,              3 Cherveny?
     4 leaving out the time when you were             4      A. Yes.
     5 employed elsewhere, you were a diversion       5      Q. Was there any change in your
     6 control specialist?                            6 job responsibilities when you became a
     7      A. Yes.                                   7 diversion control investigator?
     8      Q. And what department did you            8      A. No. They were pretty much
     9 work in as a diversion control                 9 the same.
    10 specialist?                                   10      Q. You said there was a brief
    11      A. It was corporate security             11 interruption in your employment with
    12 and regulatory affairs.                       12 AmerisourceBergen.
    13      Q. And did you report to anyone          13          What happened there?
    14 in that department?                           14      A. I applied for a position for
    15      A. Yes.                                  15 Teva Pharmaceuticals.
    16      Q. Who was that?                         16      Q. When was that?
    17      A. Ed Hazewski.                          17      A. I started January 7th, I
    18      Q. Was it Mr. Hazewski for the           18 believe, of 2012.
    19 entire time you were a diversion control      19      Q. That's a pretty specific
    20 specialist?                                   20 date.
    21      A. No, it was not.                       21          Is there some reason why
    22      Q. Who else did you report to?           22 that date stands out to you?
    23      A. Eric Cherveny.                        23      A. I just remember the date.
    24      Q. Do you recall when you began          24      Q. What prompted the
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     1 application to Teva Pharmaceuticals?            1      A. No. No, I don't.
     2      A. It was a brand-new position             2      Q. If later we showed you some
     3 for the company.                                3 documents between -- e-mail
     4      Q. And why did you want to                 4 correspondence between you and Ms.
     5 apply for that brand-new position?              5 McGinn, do you think it would refresh
     6      A. I thought my skill set                  6 your recollection about her title and her
     7 matched the job requirements.                   7 position?
     8      Q. What was the -- do you                  8      A. Perhaps.
     9 recall what the title of the position you       9      Q. Do you recall, when you
    10 applied for was?                               10 worked at Teva Pharmaceuticals,
    11      A. I believe it was diversion             11 exchanging e-mail correspondence with Ms.
    12 operations manager.                            12 McGinn?
    13      Q. And it was your                        13      A. Yes.
    14 understanding -- or was it your                14      Q. Did you report directly to
    15 understanding, at the time, that Teva          15 her at the time?
    16 Pharmaceuticals had never had a diversion      16      A. I did.
    17 operations manager before?                     17      Q. So in January 2012, you
    18      A. That was my understanding.             18 joined Teva Pharmaceuticals.
    19      Q. During the interview process           19          And, if I recall correctly,
    20 with Teva, did you form an understanding       20 you were applying for the division
    21 as to why Teva Pharmaceuticals was             21 operations manager -- or diversion
    22 creating this new position?                    22 operations manager position, correct?
    23      A. No.                                    23      A. Yes.
    24      Q. Did you ask?                           24      Q. And did you succeed in
                                            Page 19                                             Page 21
     1       A. I'm sure I did, but I don't            1 securing that position?
     2 remember the questions that I asked.            2       A. I did.
     3       Q. And so looking back today,             3       Q. And when you began working
     4 you don't recall if you learned why Teva        4 for Teva Pharmaceuticals, was your job
     5 was creating this new position?                 5 title the same one that you applied for?
     6       A. I don't know the specifics.            6       A. Yes.
     7 I don't recall the specifics.                   7       Q. How long were you employed
     8       Q. You said you started on                8 with Teva Pharmaceuticals?
     9 January 7th, 2012.                              9       A. Three months.
    10           Do you recall when you would         10       Q. Did you say three months?
    11 have filled out the application, or when       11       A. Yes.
    12 you began the application process?             12       Q. What happened -- what
    13       A. I'm not exactly sure. Maybe           13 happened when you left Teva
    14 September or October of 2012, or maybe         14 Pharmaceuticals? Did you go -- what
    15 that was 2011.                                 15 happened with your job -- those are all
    16       Q. Do you recall who you met             16 bad questions.
    17 with at Teva Pharmaceuticals about this        17           What did you do after those
    18 new position?                                  18 three months?
    19       A. Yes. Colleen McGinn.                  19       A. What did I do after those
    20       Q. And who is she?                       20 three months?
    21       A. She was my director that I            21       Q. Yes.
    22 would be reporting to.                         22       A. I went back to
    23       Q. Do you recall her -- the              23 AmerisourceBergen.
    24 title of her position?                         24       Q. So is it your recollection,
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     1 then, that you rejoined AmerisourceBergen     1       A. Approximately a year.
     2 in the middle of 2012?                        2       Q. And then did your title
     3      A. Yes. Towards the end of                3 change at that point?
     4 April 2012 -- or, no, I'm sorry. 2013 --       4      A. I applied for another
     5 yes, 2012.                                     5 position in the packaging department.
     6      Q. 2012.                                  6      Q. So you applied internally
     7      A. Yes.                                   7 with --
     8      Q. Is it possible that you                8      A. Internally.
     9 worked at Teva for a year and three            9      Q. -- Wyeth?
    10 months instead of just three months?          10      A. Yes.
    11      A. No.                                   11      Q. One thing we should just
    12      Q. No.                                   12 point out again, and we haven't had a
    13          Is there a reason why you            13 problem with it yet, but we shouldn't
    14 were considering that possibly you had        14 talk over each other, to the best of our
    15 worked there until 2013?                      15 ability. So I'll do my best to let you
    16      A. Just mixing up the dates.             16 finish all of your answers.
    17      Q. Certainly.                            17          The only reason is we have
    18          So the jobs we've talked             18 to let the court reporter get everything
    19 about today, between AmerisourceBergen        19 that we're saying, so.
    20 and Teva Pharmaceuticals, is that             20      A. Sure.
    21 fully -- have we fully discussed all of       21      Q. I'm reminding myself, just
    22 the positions you've had with                 22 as much as I'm reminding you. Thank you.
    23 AmerisourceBergen and Teva                    23          What was the job title that
    24 Pharmaceuticals?                              24 you applied for in the packaging

                                           Page 23                                          Page 25
     1       A. Yes.                                 1  department at Wyeth?
     2       Q. Prior to joining                     2        A. I don't know the exact
     3 AmerisourceBergen in 2007, were you            3 title. It was packaging operator. I'm
     4 employed?                                      4 not exactly sure. I don't remember --
     5       A. Yes.                                  5 recall.
     6       Q. Where were you employed?              6       Q. And how long did you hold
     7       A. Wyeth Pharmaceuticals.                7 that position?
     8       Q. What is Wyeth?                        8       A. Approximately a year
     9       A. Wyeth Pharmaceuticals was a           9 and-a-half.
    10 manufacturer of pharmaceutical products.      10       Q. And then what happened?
    11 However, they've been sold off and now        11       A. And then that department was
    12 part of Pfizer.                               12 outsourced to Puerto Rico.
    13       Q. What was your responsibility         13       Q. Did you go to Puerto Rico?
    14 there, or what was your position?             14       A. I did not.
    15       A. I worked for Wyeth                   15       Q. Sorry to hear that.
    16 Pharmaceuticals for 14 years. I had many      16           What did you do instead?
    17 different positions there.                    17       A. I applied for another
    18       Q. What's the -- what's the job         18 position internally in the accounts
    19 title -- the earliest job title you can       19 receivable department.
    20 recall?                                       20       Q. And do you recall what that
    21       A. Back in 1992, I was a                21 position was?
    22 security officer.                             22       A. Accounts receivable
    23       Q. How long did you hold that           23 representative.
    24 position?                                     24       Q. And how long did you hold
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     1 that position?                                  1 that credit and collections department,
     2      A. This is only an                         2 is that the reason you applied to
     3 approximation. I received a couple              3 AmerisourceBergen?
     4 promotions in that department. Maybe two        4      A. Yes. They closed the entire
     5 years, three years tops.                        5 department, and that was outsourced to
     6      Q. So you were in the accounts             6 India.
     7 receivable department for approximately         7      Q. Did you hold any other
     8 two years, but you had some promotions?         8 positions when you were with Wyeth
     9      A. Yes.                                    9 Pharmaceuticals?
    10      Q. Do you recall what those               10      A. No.
    11 promotions were?                               11      Q. Do you know when Wyeth
    12      A. It was just a level up, from           12 Pharmaceuticals was merged into or
    13 a rep 1 to a rep 2.                            13 acquired by Pfizer?
    14      Q. Would your job                         14      A. I'm not sure of the exact
    15 responsibilities essentially have stayed       15 year.
    16 the same between rep 1 and rep 2?              16      Q. I want to start back at the
    17      A. Pretty much so, yes.                   17 beginning with your job history at Wyeth
    18      Q. And what happened after --             18 to kind of understand some of your roles
    19 after the accounts receivable department?      19 and responsibilities.
    20      A. Then I applied for a                   20           So I believe you said you
    21 position in the credit department, credit      21 started in approximately 1992 there,
    22 and collections.                               22 "there" being Wyeth, as a security
    23      Q. Is that the name of the                23 officer?
    24 department or is that --                       24      A. Correct.
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     1     A. Yes.                                     1      Q. What was your -- what were
     2     Q. -- the position?                         2 your responsibilities as a security
     3     A. Of the department.                       3 officer?
     4     Q. And what was your title                  4      A. I conducted rounds of the
     5 there?                                          5 facility. I also greeted everybody as
     6     A. Initially, it was a credit               6 they walked into the building. I
     7 correspondent.                                  7 inspected packages as they left the
     8     Q. How long did you hold that               8 building and conducted some
     9 position?                                       9 investigations involving theft.
    10     A. I'm not exactly sure. Maybe             10      Q. So aside from the
    11 three years.                                   11 investigations involving theft, it sounds
    12     Q. And what happened after                 12 like the majority of your responsibility
    13 those three years?                             13 as a security officer was, essentially,
    14     A. And then I received a                   14 to be a security guard, right?
    15 promotion to a credit analyst.                 15      A. Pretty much, yes.
    16     Q. How long were you a credit              16      Q. You said -- you referred to
    17 analyst?                                       17 the facility.
    18     A. Until the day I left the                18          What was the facility?
    19 department. Well, the department was           19      A. The manufacturing site, the
    20 outsourced, in 2006. Or 2007, I'm sorry.       20 building. We had, actually, three
    21     Q. And 2007 is when you joined             21 buildings.
    22 AmerisourceBergen?                             22      Q. Were you a security officer
    23     A. Yes.                                    23 responsible for all three?
    24     Q. And is the outsourcing of               24      A. For all three.
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      1      Q. How did that work out? Let                1 would you agree with me that it's
      2 me be more specific.                              2 possible Wyeth manufactured controlled
      3           So were you assigned to                 3 substances, you just may not have been
      4 patrol all three at one time, or some             4 aware of it?
      5 days you were assigned to one facility            5      A. They may have and I'm just
      6 and other days another facility?                  6 not aware.
      7      A. I was pretty much assigned                7      Q. Do you recall if, as a
      8 to all three.                                     8 security officer, you received any
      9      Q. So when you were conducting               9 training about controlled substances?
     10 rounds, you would patrol all three               10      A. No, I did not.
     11 facilities?                                      11      Q. Did you have any other
     12      A. Yes.                                     12 responsibilities aside from, you know,
     13      Q. Was there a central desk                 13 conducting the rounds and conducting the
     14 where people would come in and out of to         14 investigations at Wyeth as a security
     15 get into the three facilities?                   15 officer?
     16      A. Yes.                                     16      A. I don't recall any
     17      Q. What kind of pharmaceutical              17 additional responsibilities.
     18 products do you recall that Wyeth                18      Q. When you mentioned
     19 manufactured?                                    19 conducting investigations, I believe you
     20      A. Prevnar. There was birth                 20 referred to it as conducting
     21 control pills. Penicillin. Those are             21 investigations about theft.
     22 the three that I recollect the most.             22          Is that accurate?
     23      Q. Do you recall if Wyeth                   23      A. Correct.
     24 Pharmaceuticals manufactured any Schedule        24      Q. What was your understanding
                                               Page 31                                                 Page 33
      1 II or Schedule III controlled substances?         1 of that responsibility as a security
      2      A. I don't recall.                           2 officer?
      3      Q. Are you familiar with what a              3      A. It was involving theft of
      4 Schedule II controlled substance is?              4 personnel, associates that had items
      5      A. Yes.                                      5 stolen from their desks or offices.
      6      Q. And are you familiar with                 6      Q. Are you referring to
      7 what a Schedule III controlled substance          7 personal items?
      8 is?                                               8      A. Personal items, yes.
      9      A. Yes, in basic -- yeah.                    9      Q. So you were not
     10      Q. So did you understand, at                10 investigating thefts of any of the drugs
     11 the time you worked at Wyeth                     11 that Wyeth manufactured?
     12 Pharmaceuticals, what Schedule II or III         12      A. No.
     13 controlled substances were?                      13      Q. When you worked at Wyeth
     14      A. No.                                      14 Pharmaceuticals as a security
     15      Q. So if Wyeth had been                     15 investigator, did you receive any
     16 manufacturing them, you wouldn't have            16 training about diversion?
     17 known about it?                                  17      A. I did not.
     18          MR. NICHOLAS: Object to                 18      Q. I should have asked this
     19      form.                                       19 question first.
     20          Go ahead.                               20          Are you familiar with the
     21          THE WITNESS: I may not                  21 concept of diversion?
     22      have.                                       22      A. Yes.
     23 BY MR. CLUFF:                                    23      Q. But at the time you worked
     24      Q. So it's possible -- well,                24 at Wyeth, you did not receive any


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      1 training about it?                               1      Q. So as a packing operator,
      2      A. I did not.                               2 you were ensuring that the pills were
      3      Q. Understood.                              3 placed into their individual packages
      4          How about suspicious orders;            4 correctly?
      5 were you familiar with the term                  5      A. Blister packs, yes.
      6 "suspicious orders" when you worked at           6      Q. Did you, as a packing
      7 Wyeth?                                           7 operator, ever have any responsibility
      8      A. No.                                      8 for taking individual packaging and
      9      Q. You didn't receive any                   9 putting them into a larger shipment?
     10 training about suspicious orders at             10      A. Yes.
     11 Wyeth?                                          11      Q. What was that process like?
     12      A. I did not.                              12      A. It was -- it was a belt,
     13      Q. You said after about a year             13 belt-fed line, and we would collect the
     14 as a security officer you applied               14 blister packs and place them in the box.
     15 internally for a job with the packaging         15 And then once that box was full, wrap it
     16 department?                                     16 up and put it on a pallet.
     17      A. Yes.                                    17      Q. So, essentially, an assembly
     18      Q. And your best recollection              18 line of packages coming to you that
     19 is that you assumed a position that you         19 you're going to pack into a larger box?
     20 referred to as a packing operator,              20      A. Yes.
     21 correct?                                        21      Q. Did you, as part of the
     22      A. Correct.                                22 individual packaging and the larger
     23      Q. Would that have been within             23 shipment packaging, get any training
     24 the same facilities where you were a            24 about security related to the manufacture

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      1 security officer?                                1 of drugs or controlled substances?
      2      A. Yes.                                     2       A. No, I don't believe so.
      3      Q. And what were your                       3       Q. You mentioned the birth
      4 responsibilities as a packing officer --         4 control pills.
      5 or operator, excuse me?                          5          Did you ever have
      6      A. I was packaging, I think it              6 responsibility for packaging any other
      7 was mostly birth control pills. And I            7 kinds of products that Wyeth
      8 was also a machine operator there as             8 manufactured?
      9 well, all in the same department.                9       A. Penicillin.
     10      Q. And the department you're               10       Q. Did you get any training
     11 referring to is the packaging department?       11 about security related to packaging
     12      A. Packaging, yes.                         12 penicillin?
     13      Q. What's the procedure like               13       A. No, I don't believe I did.
     14 for packaging drugs at Wyeth, or was it         14       Q. And what was your other job
     15 like, excuse me?                                15 responsibility as a packaging operator?
     16          MR. NICHOLAS: Object to                16       A. I was also a machine
     17      form.                                      17 operator there as well.
     18          THE WITNESS: It was just               18       Q. And what was involved in
     19      ensuring they were color-coded             19 being a machine operator?
     20      pills in different rows, and we            20       A. Just ensuring that there
     21      had to ensure that the pills were          21 were pills in the hopper so they could be
     22      not cracked or missing, to that            22 fed into blister packs and sent down the
     23      extent.                                    23 line.
     24 BY MR. CLUFF:                                   24       Q. What's a hopper?
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      1      A. It's a pill hopper. It's                 1 your best recollection was that you took
      2 like a circular -- a cylinder-type object        2 on a role that you described as rep 1; is
      3 and all the pills are in there and they          3 that right?
      4 are fed into the blister packs and made.         4      A. Correct.
      5      Q. So it's a large piece of                 5      Q. And what was your job
      6 machinery --                                     6 responsibility in the accounts receivable
      7      A. Yes.                                     7 department?
      8      Q. -- that pills come into; is              8      A. We would receive invoices
      9 that right?                                      9 and -- I believe we would receive mail
     10      A. Yes.                                    10 from the customers with invoices and
     11      Q. And then the pills go                   11 checks where they were paying for their
     12 through the machine and into the blister        12 products.
     13 packs?                                          13      Q. And so what were you doing
     14      A. Correct. And sent down the              14 with the invoices and the checks that you
     15 line, which is belt-fed.                        15 received?
     16      Q. And the line out of the bell            16      A. Entering them into the
     17 feed -- or belt feed goes to the people         17 system.
     18 packaging?                                      18      Q. What system was that?
     19      A. Yes. So there will be                   19      A. It was a mainframe system.
     20 approximately three people on each side         20      Q. Was this essentially like a
     21 checking the blister packs.                     21 data entry job?
     22      Q. And that was, like you said,            22      A. It was data entry and
     23 to make sure that they weren't cracked or       23 ensuring that the customers were paying
     24 they had been packaged appropriately?           24 for their invoices. I vaguely remember

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      1      A. Correct.                                 1 the details of this position, since it
      2      Q. Did you have any other job               2 was so long ago.
      3 responsibilities within the packing              3      Q. Did you have any
      4 department that we haven't discussed?            4 responsibility for pills within the
      5      A. I believe that's it.                     5 accounts receivable department?
      6      Q. And you worked in the                    6      A. No.
      7 packing department for approximately a           7      Q. Did you get any training
      8 year and-a-half, right?                          8 about security while you were in the
      9      A. Approximately a year                     9 accounts receivable department?
     10 and-a-half, two years.                          10      A. No.
     11      Q. Before the packing                      11      Q. Did you receive any training
     12 department was outsourced to Puerto Rico,       12 about diversion when you were in the
     13 had you considered leaving that                 13 accounts receivable department?
     14 department for another department in            14      A. No.
     15 Wyeth?                                          15      Q. Did you receive any training
     16      A. I may have, but I don't                 16 about suspicious orders when you were in
     17 recall.                                         17 the accounts receivable department?
     18      Q. So, then, the outsourcing to            18      A. No.
     19 Puerto Rico, was that the primary reason        19      Q. Just circling back to the
     20 why you left the packing department?            20 packing department again, did you receive
     21      A. I believe so, yes.                      21 any training about security when you
     22      Q. So after the packing                    22 worked in the packing department?
     23 department was outsourced, you went to          23      A. No.
     24 the accounts receivable department, and         24      Q. How about diversion?
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      1      A. No.                                        1 late '90s.
      2      Q. Suspicious orders?                         2      Q. And then after the accounts
      3      A. No.                                        3 receivable department, you told me that
      4      Q. And so back to the accounts                4 you moved to the credit and collections
      5 receivable, you received a couple of               5 department; is that accurate?
      6 promotions, you said, while you were in            6      A. Yes.
      7 accounts receivable; is that right?                7      Q. Do you recall what prompted
      8      A. Yes.                                       8 that application?
      9      Q. And I think you referred to                9      A. It was -- I was just looking
     10 those as moving from rep 1 to rep 2; is           10 to further my career in the company by
     11 that right?                                       11 applying for the position.
     12      A. Yes.                                      12      Q. How did you feel like that
     13      Q. And were your job                         13 would have furthered your career at that
     14 responsibilities essentially the same the         14 point?
     15 entire time you were in that department?          15      A. It would give me the
     16      A. I believe they increased                  16 opportunity to work more on computers.
     17 where -- from what I remember, is that I          17      Q. So at that time, was Wyeth's
     18 was entering -- it was a cash                     18 business operation primarily by paper?
     19 application, where I was entering the             19      A. It was a mix.
     20 payments of the invoices that the                 20      Q. What was your job title in
     21 customers made to their accounts.                 21 the credit and collections department?
     22      Q. And that's a job                          22      A. Credit correspondent,
     23 responsibility you assumed when you               23 initially.
     24 became a rep 2?                                   24      Q. And what was your
                                                Page 43                                            Page 45
      1      A. Yes.                                       1 responsibility as a credit correspondent?
      2      Q. And, again, there the                      2      A. I would have area
      3 responsibility was mainly ensuring the             3 responsibility, a region within the
      4 customers were paying their bills?                 4 country, to follow up on customers'
      5      A. Correct.                                   5 invoices where they were past due.
      6      Q. Did you have any                           6      Q. So does the word "credit"
      7 responsibility with looking at order               7 and "credit correspondent" refer to the
      8 forms when you were in the accounts                8 fact that you had credited these
      9 receivable department?                             9 customers and not been paid yet?
     10      A. I don't recall.                           10      A. Yes. They received the
     11      Q. Is it possible that you did               11 products and we have not yet received
     12 have responsibility for that and just             12 payment.
     13 don't recall it?                                  13      Q. And how long were you a
     14      A. I just don't recall.                      14 credit correspondent?
     15      Q. Do you remember the                       15      A. I just don't remember how
     16 approximate years, not the number of              16 long. Two to three years, maybe.
     17 years, but, like, the calendar years that         17      Q. And then at that point, you
     18 you were in the accounts receivable               18 were promoted to a credit analyst,
     19 department?                                       19 correct?
     20      A. I would only be guessing.                 20      A. Yes. I went back to school
     21      Q. Was it in -- by your best                 21 and I received my Associate's Degree, and
     22 estimate, would it have been in the late          22 I received that promotion. And I was
     23 '90s or early 2000s?                              23 continuing on in my education.
     24      A. I was thinking maybe mid to               24      Q. So prior to this time when
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      1 you received your Associate's Degree, you      1       Q. And what did you do -- were
      2 had not completed a degree after high          2  you working at the time?
      3 school?                                         3      A. I was working, yes.
      4      A. I attended college, but I               4      Q. So what prompted you to go
      5 did not fully complete college at that          5 back to school to get the Associate's
      6 point.                                          6 Degree when you were in the credit and
      7      Q. Do you remember when you                7 collections department?
      8 received your Associate's Degree?               8      A. I just realized that in
      9      A. I believe it was 2003.                  9 order for me to have a better life, I
     10      Q. And what was your degree in?           10 needed to go back to school and have more
     11      A. It was just general studies.           11 career opportunities.
     12      Q. And where did you get it               12      Q. Were the classes you took at
     13 from?                                          13 the University of Phoenix, were they
     14      A. University of Phoenix.                 14 tailored to helping improve your ability
     15      Q. Prior to getting the degree            15 to conduct your -- or to fulfill your job
     16 from the University of Phoenix, did you        16 responsibilities as a credit analyst?
     17 attend college classes, you said?              17      A. It certainly helped.
     18      A. I did.                                 18      Q. What were your job
     19      Q. Do you recall where that               19 responsibilities as a credit analyst?
     20 was?                                           20      A. They were similar to the
     21      A. Yes. Community College of              21 duties of a credit correspondent, but I
     22 Beaver County.                                 22 had larger accounts to manage.
     23      Q. Forgive my lack of knowledge           23      Q. When you discussed the
     24 about the local area, is Beaver County in      24 responsibilities as a credit

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      1 Pennsylvania?                                  1  correspondent, I think you mentioned that
      2      A. It's Western PA, outside of            2  you had a region you were responsible
      3 Pittsburgh.                                     3 for?
      4      Q. And what was the name of the            4      A. Yes.
      5 community college?                              5      Q. When you were a credit
      6      A. Community College of Beaver             6 analyst, were you also responsible for a
      7 County.                                         7 region?
      8      Q. Were you a full-time student            8      A. Yes.
      9 there or part-time student?                     9      Q. But the accounts were
     10      A. I believe I was part time.             10 larger?
     11      Q. Do you recall how long you             11      A. The accounts were larger
     12 were enrolled?                                 12 accounts, meaning wholesaler accounts.
     13      A. I believe it was three                 13      Q. What's a wholesaler account?
     14 years, two and-a-half to three years.          14      A. A wholesaler account would
     15      Q. Do you recall the general              15 be, for instance, AmerisourceBergen,
     16 time period you were enrolled?                 16 McKesson, Cardinal, one of those.
     17      A. It was from '84 to '86.                17      Q. When you worked at Wyeth, do
     18      Q. And do you recall what you             18 you recall which wholesaler accounts you
     19 studied?                                       19 were responsible for?
     20      A. Air traffic control.                   20      A. I also -- I do remember
     21      Q. Was there any particular               21 being in charge of the DOD account, as
     22 reason why you didn't complete that            22 well as -- I was either in charge of the
     23 course of study?                               23 McKesson account or I helped out on the
     24      A. I decided it was not for me.           24 McKesson account, I don't recall which.


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      1       Q. Any other wholesalers you              1  higher?
      2 can recall?                                     2       A. I don't recall that.
      3       A. No.                                     3      Q. Do you recall if Wyeth ever
      4       Q. So you didn't work with                 4 offered discounts to wholesalers for
      5 AmerisourceBergen?                               5 receiving chargeback data?
      6       A. I did not.                              6      A. I don't recall that either.
      7       Q. You didn't work with                    7      Q. Do you understand that term,
      8 Cardinal Health?                                 8 "chargeback data"?
      9       A. I don't believe so.                     9      A. No, I really don't, because
     10       Q. How about HD Smith?                    10 I wasn't part of that, that area.
     11       A. No.                                    11      Q. Just for clarity, are you
     12       Q. Bellco?                                12 telling me that at the time you worked at
     13       A. No.                                    13 Wyeth you would not have understood what
     14       Q. And just so the record is              14 chargeback data is?
     15 clear, is it you do not recall working          15      A. That is correct. Because I
     16 for those wholesalers -- with those             16 believe that was a separate department
     17 wholesalers or you're telling me you did        17 that I wasn't involved in.
     18 not?                                            18      Q. And then currently do you
     19       A. I don't believe I have                 19 have an understanding of what chargeback
     20 worked with those wholesalers.                  20 data is?
     21       Q. Understood. Thank you.                 21      A. I really do not. I don't
     22           And even though you assumed           22 understand the full definition.
     23 larger accounts, was the responsibility         23      Q. Do you recall who you --
     24 still to work with those accounts to make       24 what individuals you would have worked

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      1 sure they paid their invoices?                  1  with at McKesson when you were a credit
      2      A. Paid their invoices. And if             2  analyst?
      3 there were any deductions that they took,        3      A. No.
      4 I had to help resolve those situations in        4      Q. Do you recall what
      5 working with the account.                        5 department you would have been working
      6      Q. You mentioned they took                  6 with at McKesson?
      7 deductions --                                    7      A. I don't recall the specific
      8      A. Meaning the accounts.                    8 department.
      9      Q. So the accounts would have               9      Q. So eventually this credit
     10 been the wholesalers or the DOD or any of       10 department at Wyeth was outsourced to
     11 the smaller accounts that you worked            11 India, correct?
     12 with?                                           12      A. Correct.
     13      A. That's correct.                         13      Q. And your recollection was
     14      Q. What form of deductions                 14 that was approximately 2006 or 2007?
     15 would they have been taking on their            15      A. That was 2007.
     16 invoices?                                       16      Q. When did you apply -- or do
     17      A. It could have been any form;            17 you recall when you applied for the
     18 it could have been a 2 percent discount         18 position at AmerisourceBergen?
     19 that we offered if they paid their              19      A. I don't recall exactly when
     20 invoice ahead of time or any other              20 I applied, but I know the day that I had
     21 reason.                                         21 the interview for AmerisourceBergen.
     22      Q. Do you know if Wyeth ever               22      Q. You recall the date when you
     23 offered discounts to wholesalers if the         23 had the interview?
     24 volume of their purchasing from Wyeth was       24      A. It was literally three days
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      1 after I was let go from Wyeth                    1       Q. At AmerisourceBergen?
      2 Pharmaceuticals.                                 2       A. Oh, I'm sorry. I was going
      3      Q. What day was that?                        3 back to Wyeth.
      4      A. That was -- I believe that                4          At AmerisourceBergen, I
      5 was March 30th of 2007.                           5 believe it was collections associate,
      6      Q. And is that the day you were              6 yes.
      7 let go or the date of the interview?              7      Q. And was that in the
      8      A. That was the date I was let               8 collections department --
      9 go, the whole department was let go.              9      A. Yes.
     10      Q. And so you would have                    10      Q. -- or did it have a
     11 interviewed approximately three days             11 different name?
     12 later?                                           12      A. I don't recall it had a
     13      A. Yes.                                     13 different name.
     14      Q. And do you recall who you                14      Q. And how long were you a
     15 met with when you interviewed?                   15 collections associate in the collections
     16      A. Yes. His name was Harry                  16 department?
     17 Chamberlain.                                     17      A. Approximately a year
     18      Q. Do you recall his job                    18 and-a-half.
     19 position?                                        19      Q. And what were your job
     20      A. I don't know -- I don't                  20 responsibilities?
     21 remember his exact title, but he was the         21      A. I was in charge of the
     22 director of, maybe, collections.                 22 similar duties that I had at Wyeth
     23      Q. Would he have been the                   23 Pharmaceuticals, ensuring customers were
     24 person to whom you reported in the               24 paying their invoices on time.

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      1 collections department when you worked at        1       Q. Anything else?
      2 Amerisource?                                     2       A. Running statements for
      3      A. Initially, yes.                           3 customers, monthly statements.
      4      Q. Did you report to somebody                4      Q. What does that mean?
      5 else when you were a collections                  5      A. I believe it was the 1st of
      6 associate at Amerisource?                         6 the month, we would run statements of, I
      7      A. I did.                                    7 believe, it was customers' purchases.
      8      Q. Who was that?                             8      Q. What was the purpose of
      9      A. Her name was Ann Marie                    9 running statements of purchases for
     10 Duran.                                           10 customers?
     11      Q. Do you recall her job                    11      A. Those customers would
     12 position?                                        12 request statements from us on a monthly
     13      A. Similar to Harry's.                      13 basis.
     14      Q. Essentially, a director of               14      Q. Do you recall why they would
     15 that collections department?                     15 request those statements?
     16      A. Yes.                                     16      A. I do not.
     17      Q. When we went through your                17      Q. In your work as a
     18 employment history at AmerisourceBergen,         18 collections associate, did you ever, as
     19 I think you said your best recollection          19 part of your responsibilities, have to
     20 was that your title in that collections          20 review order forms from
     21 department was a collections associate?          21 AmerisourceBergen's customers?
     22      A. In credit collections, it                22      A. I do not recall.
     23 was initially credit correspondent and           23          But going back to Wyeth
     24 then a credit analyst.                           24 Pharmaceuticals, I did review customer


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      1 orders for customers.                           1     A. For which role? For which
      2      Q. In what role at Wyeth were              2 position?
      3 you reviewing invoices from -- or               3     Q. When you were a collection
      4 purchase orders from customers?                 4 associate at AmerisourceBergen.
      5      A. It was based on their credit            5     A. No.
      6 standing with us.                               6     Q. Did you receive any training
      7      Q. What position did you hold              7 about diversion?
      8 at Wyeth when you were reviewing the            8     A. No.
      9 order forms from customers?                     9     Q. Did you receive any training
     10      A. It was the credit analyst              10 about suspicious orders?
     11 role.                                          11     A. No.
     12      Q. And you said "it was based             12     Q. Did you have any
     13 on their credit standing with us."             13 responsibility for monitoring for
     14          What does that mean?                  14 diversion when you were a collections
     15      A. I don't fully recollect the            15 associate?
     16 details of that, but it was based on           16     A. No.
     17 their payment history with Wyeth               17     Q. Did you have any
     18 Pharmaceuticals.                               18 responsibility for identifying suspicious
     19      Q. So the purpose for you                 19 orders when you were a collections
     20 looking at an order form from a customer       20 associate?
     21 would be to analyze their payment history      21     A. No.
     22 and credit standing with Wyeth?                22     Q. Just to make sure I
     23      A. Correct.                               23 understand, no training and no
     24      Q. So not to look at what they            24 responsibility, correct?

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      1 were ordering; is that right?                   1      A. For that role, yes, correct.
      2      A. I do remember looking at                2      Q. So after working at
      3 what they were ordering. But, again, it         3 AmerisourceBergen as a collections
      4 was based on their credit history.              4 associate for approximately a year
      5      Q. And do you recall looking at            5 and-a-half to two years, you moved into
      6 any customer order forms when you worked        6 the position of a diversion control
      7 as a collections associate at                   7 specialist?
      8 AmerisourceBergen?                              8      A. Correct.
      9      A. I do not remember.                      9      Q. Do you recall what prompted
     10      Q. When you were a collections            10 that change in your employment?
     11 associate at AmerisourceBergen, did you        11      A. Just like other roles that I
     12 have an understanding of what diversion        12 have had over my career, just looking to
     13 was?                                           13 further my knowledge in a different job
     14      A. At that time, no.                      14 position.
     15      Q. And at that time, when you             15      Q. Did you apply for that
     16 were a collections associate at                16 position?
     17 AmerisourceBergen, did you have an             17      A. I did.
     18 understanding of what a suspicious order       18      Q. What was the application
     19 is, or was?                                    19 process like?
     20      A. No.                                    20      A. It was filling out an
     21      Q. When you were a collections            21 application form online.
     22 associate at AmerisourceBergen, did you        22      Q. When you say "online," do
     23 ever receive any training about security       23 you mean on the Internet?
     24 around controlled substances?                  24      A. Inner-company web.
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      1      Q. So like an AmerisourceBergen            1      Q. Do you understand why you
      2 intranet?                                       2  were meeting with Chris Zimmerman?
      3      A. Yes.                                     3     A. Yes.
      4      Q. Do you recall what the                   4     Q. Why was that?
      5 application was like?                            5     A. My understanding is that Ed
      6      A. I do not.                                6 wanted a second opinion, so he asked
      7      Q. Do you recall any                        7 Chris Zimmerman to also interview me.
      8 qualifications that AmerisourceBergen            8     Q. Do you know if
      9 wanted applicants to have for that               9 AmerisourceBergen posted this diversion
     10 position?                                       10 control specialist job outside of
     11      A. I don't recall.                         11 AmerisourceBergen?
     12      Q. Do you recall if there were             12     A. I do not know.
     13 any educational requirements?                   13     Q. Did you -- did you, at any
     14      A. I do not.                               14 time after you interviewed for that
     15      Q. Do you recall if there were             15 position, learn whether AmerisourceBergen
     16 any experience requirements?                    16 was hiring people from outside of the
     17      A. I do not recall.                        17 company?
     18      Q. Was there an interview                  18     A. I do not recall.
     19 process for the diversion control               19     Q. During the interviews with
     20 specialist position?                            20 Ed -- or the interview with Ed, did they
     21      A. There was.                              21 ask you about your educational
     22      Q. What was the interview                  22 background?
     23 process like?                                   23     A. He may have, but I don't
     24      A. It was meeting with Ed                  24 remember.

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      1 Hazewski.                                       1       Q. Do you recall if it was a
      2      Q. Anybody else?                           2  concern that you did not have more than
      3      A. And I also met with Chris                3 an Associate's Degree?
      4 Zimmerman.                                       4      A. I do have more than an
      5      Q. Did you meet with Ed and                 5 Associate's Degree.
      6 Chris together or separately?                    6      Q. Sorry. Please forgive me.
      7      A. Separately.                              7          Can you -- let's back up
      8      Q. Were those meetings on the               8 right there, and you can tell me, what
      9 same day or subsequent days?                     9 further education have you received after
     10      A. Same day.                               10 the Associate's Degree?
     11      Q. Were there any other                    11      A. I completed my Bachelor's
     12 interviews besides with Ed and Chris?           12 Degree in 2006.
     13      A. I don't believe so, no.                 13      Q. So you completed your
     14      Q. Do you recall, at the time,             14 Bachelor's Degree before applying for the
     15 what Ed Hazewski's position was?                15 diversion control job?
     16      A. I believe it was diversion              16      A. Yes.
     17 control manager.                                17      Q. And what is your Bachelor's
     18      Q. Do you have -- did you have             18 Degree in?
     19 an understanding, at the time, of why you       19      A. Management.
     20 were meeting with Ed for that position?         20      Q. Any particular kind of
     21      A. To apply for the position.              21 management?
     22      Q. Was he going to be your                 22      A. No. It was management.
     23 direct supervisor in that position?             23      Q. And where did you complete
     24      A. He would be.                            24 your Bachelor's Degree?


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      1      A. University of Phoenix. And               1      Q. Do you recall if he may have
      2 I also took one class towards my                 2 used the word "excessive purchase
      3 Master's.                                        3 orders"?
      4      Q. What was that class?                     4      A. That, I don't remember.
      5      A. That, I don't remember.                  5      Q. The word "order of
      6      Q. Do you recall what                       6 interest," do you recall him using that
      7 institution you took it through?                 7 word, or is that a word you're using
      8      A. University of Phoenix.                   8 today --
      9      Q. What were you intending to               9      A. That's --
     10 get a Master's in?                              10      Q. -- to describe --
     11      A. Business.                               11      A. Sorry.
     12      Q. Would that have been like a             12      Q. Is that a word you're using
     13 Master's in business administration or          13 today to describe the subject you
     14 business management?                            14 discussed back then?
     15      A. Something like that, yes.               15      A. Yes.
     16      Q. Is there any particular                 16      Q. But it's not the words that
     17 reason why you didn't complete your             17 he would have used back then?
     18 Master's?                                       18          MR. NICHOLAS: Object to
     19      A. No particular reason.                   19      form.
     20      Q. Going back to the interview             20          Go ahead.
     21 with Mr. Hazewski, did he ever ask you          21          THE WITNESS: Possibly.
     22 questions about your experience with            22 BY MR. CLUFF:
     23 controlled substances?                          23      Q. Was there anything else that
     24      A. I don't recall that                     24 he told you about the role of diversion

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      1 question.                                        1 control specialist?
      2      Q. Did he ask you any questions             2      A. I do recall talking about
      3 about your experience with diversion or          3 spreadsheets.
      4 monitoring for diversion?                        4      Q. What about spreadsheets?
      5      A. I don't recall.                          5      A. Just my knowledge of working
      6      Q. Do you recall if Mr.                     6 with Excel.
      7 Hazewski asked you any questions about           7      Q. Did you have a working
      8 your experience with suspicious orders or        8 knowledge of Excel?
      9 monitoring for suspicious orders?                9      A. I had a basic understanding.
     10      A. No. But we did discuss the              10      Q. What did he tell you about
     11 nature of the position.                         11 working with spreadsheets in this new
     12      Q. What was that discussion                12 role as a diversion control specialist?
     13 like?                                           13      A. I don't recall the details.
     14      A. It was just he was telling              14      Q. But he told you you would
     15 me about the role of the position that          15 essentially need to work with Excel
     16 I'm applying for.                               16 spreadsheets?
     17      Q. What did he tell you about              17      A. Right.
     18 the role?                                       18      Q. We discussed your work at
     19      A. That I would be reviewing               19 Wyeth in pretty substantial detail, and I
     20 orders of interest.                             20 think we agreed that you did not have any
     21      Q. Did he use the word "order              21 experience or training at Wyeth about
     22 of interest" or did he use the word             22 diversion or suspicious order monitoring;
     23 "suspicious orders"?                            23 is that right?
     24      A. I don't recall.                         24      A. Correct.
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      1      Q. Did that topic come up                 1          I think you applied for that
      2 during your interview with Mr. Hazewski?       2  position in 2009, correct?
      3      A. My recollection is that I               3      A. Correct.
      4 did inform him that I did review orders         4      Q. I'll just re-ask the
      5 when I was a credit analyst at Wyeth.           5 question so it's clear.
      6      Q. When you were at Wyeth and              6         Did you have an
      7 you reviewed orders, it was to make sure        7 understanding of why AmerisourceBergen
      8 that Wyeth was getting paid, correct?           8 was hiring more division -- diversion
      9      A. When I was reviewing orders,            9 control specialists in 2009?
     10 those -- the decision-making was based on      10      A. I don't recall.
     11 their credit risk with the company.            11      Q. When you met with Mr.
     12      Q. So what was the purpose of             12 Zimmerman, do you recall what kind of
     13 the review of the orders at Wyeth?             13 questions he asked you?
     14      A. My understanding is that it            14      A. No.
     15 was to review those orders; if the             15      Q. Did you talk about your
     16 credit -- if the customer had a bad            16 education?
     17 credit history with Wyeth                      17      A. I don't recall the substance
     18 Pharmaceuticals, that those orders would       18 that we --
     19 not be released. That's my recollection.       19      Q. Do you recall --
     20      Q. So when you reviewed orders            20      A. -- the subjects we talked
     21 at Wyeth, you were not reviewing them to       21 about.
     22 determine whether or not they were             22      Q. Do you recall if you talked
     23 suspicious?                                    23 with Mr. Zimmerman about your experience
     24      A. I believe so.                          24 monitoring for suspicious orders?

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      1     Q. But that is the role you                1       A. I don't recall.
      2 were going to take on at                       2       Q. Do you recall if he had any
      3 AmerisourceBergen as a diversion control        3 concern that you did not have any prior
      4 specialist, correct?                            4 experience monitoring for suspicious
      5     A. Correct.                                 5 orders?
      6     Q. Did Mr. Hazewski express any             6      A. No, I do not.
      7 concern that you did not have any               7      Q. What happened after you met
      8 experience reviewing orders to determine        8 with Mr. Hazewski and Mr. Zimmerman?
      9 whether or not they were suspicious?            9      A. I believe within
     10     A. I don't recall.                         10 approximately a week I was informed by
     11     Q. Do you recall if Mr.                    11 human resources that I was being offered
     12 Hazewski was looking for somebody with         12 the position.
     13 experience in reviewing orders for -- to       13      Q. So it was a one-day
     14 determine whether or not they were             14 interview process, and then you were
     15 suspicious?                                    15 hired a week later?
     16     A. He didn't inform me, no.                16      A. Yes.
     17     Q. Do you know why                         17      Q. Do you recall how long after
     18 AmerisourceBergen was hiring additional        18 you were informed by HR that you assumed
     19 diversion control specialists at that          19 your new responsibilities as a diversion
     20 time in 2007?                                  20 control specialist?
     21     A. I don't know the specific               21      A. I believe it was two weeks.
     22 reasons.                                       22      Q. Did you receive any training
     23     Q. I said 2007, that was                   23 before you started your new job?
     24 incorrect.                                     24      A. I trained when I started my
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      1 new job.                                      1  orders with AmerisourceBergen?
      2      Q. What happened in the two              2       A. My understanding at the time
      3 weeks between when HR let you know you         3 is that the customers would place orders
      4 were getting the job and you started the       4 through -- I believe it was CSOS and 222
      5 job?                                           5 forms.
      6      A. I had to put in my two                 6      Q. What is CSOS?
      7 weeks' notice with my position.                7      A. CSOS is controlled substance
      8      Q. And then you essentially               8 ordering system.
      9 just wrapped up that position and started      9      Q. And what's a 222 form?
     10 the new one?                                  10      A. A 222 form is a DEA form
     11      A. Yes.                                  11 that has the customer's name, DEA
     12      Q. And you said you trained on           12 license, as well as the items that
     13 the job, correct?                             13 they're ordering.
     14      A. Yes.                                  14      Q. Is the CSOS system just an
     15      Q. What was that training like?          15 electronic form of the 222 form?
     16      A. The training was going over           16      A. It is.
     17 customer orders with Ed.                      17      Q. So it has all the same
     18      Q. Did you ever, like, receive           18 information that a 222 form would have?
     19 any written materials or policies and         19      A. My understanding is that
     20 procedures or PowerPoints?                    20 yes, that is correct.
     21      A. I'm sure there were, but I            21      Q. And is it your recollection
     22 just don't -- just don't recall at the        22 that in 2009 the CSOS system was already
     23 moment.                                       23 operational?
     24      Q. What you do recall is sort            24      A. I don't recall.
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      1 of hands-on training directly with Ed         1       Q. But at some time it did
      2 Hazewski?                                     2  become --
      3      A. That is correct.                       3      A. Yes.
      4      Q. And you said you recall                4      Q. When you were training on
      5 looking at customer orders.                    5 the job with Ed Hazewski, do you recall
      6           How would you have done              6 if you looked at 222 forms?
      7 that?                                          7      A. We did not. The 222 forms
      8      A. I would look at those orders           8 go through the distribution centers.
      9 individually through the system that we        9      Q. So a customer would fill out
     10 were using.                                   10 a 222 form and send it to the
     11      Q. So that we can kind of                11 distribution center?
     12 understand what the training process was      12      A. Yes.
     13 like, I'd like to back up and understand      13      Q. And then how would -- how
     14 what the order process was like from your     14 would the order come to you and Ed
     15 viewpoint.                                    15 Hazewski for review?
     16           So AmerisourceBergen has            16      A. I don't recall the actual
     17 customers, correct?                           17 steps.
     18      A. Yes.                                  18      Q. So, then, what were you
     19      Q. And there's some way that             19 reviewing when you were working with Ed
     20 they place orders with AmerisourceBergen?     20 Hazewski to start your training for this
     21      A. Yes.                                  21 new job?
     22      Q. What was your understanding,          22      A. It was all the customer
     23 in 2009, as a diversion control               23 orders that were currently in the system
     24 specialist, of how customers placed           24 to be reviewed.


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      1      Q. Do you recall if you were              1       Q. Was it your role to help
      2 looking at them in an Excel spreadsheet,       2  AmerisourceBergen prevent diversion?
      3 or some other form?                             3          MR. NICHOLAS: Object to
      4      A. No, I don't recall.                     4      form.
      5      Q. What were you looking for,              5          THE WITNESS: Can you ask
      6 or what was Ed Hazewski showing you to          6      that question again?
      7 look for when you were training?                7 BY MR. CLUFF:
      8      A. My recollection is that we              8      Q. Sure. I'll ask it two
      9 were looking at the product that they           9 different ways.
     10 were ordering, as well as the quantity         10          When you became a diversion
     11 that they were ordering.                       11 control specialist, did you understand
     12      Q. And what were you trying to            12 that your job was to help
     13 determine when you were looking at the         13 AmerisourceBergen prevent diversion?
     14 product and the quantity?                      14      A. No.
     15      A. To see if they were ordering           15      Q. AmerisourceBergen doesn't
     16 within their current purchase history.         16 want to prevent diversion?
     17      Q. When you were training with            17          MR. NICHOLAS: Object to the
     18 Ed, did he ever explain the concept of         18      form.
     19 diversion to you?                              19          THE WITNESS: I didn't say
     20      A. Yes.                                   20      that.
     21      Q. What did he explain?                   21 BY MR. CLUFF:
     22      A. It was where the -- any                22      Q. I'm asking.
     23 pharmaceutical products being diverted to      23      A. We have a system in place
     24 another individual for illicit purposes.       24 that detects orders of interest, and

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      1      Q. You used the word "diverted"           1  those orders of interest are reviewed
      2 to help define diversion, and I'm okay         2  based on the current systems that we have
      3 with that.                                      3 in place.
      4          But I'm just trying to                 4      Q. When you started as a
      5 understand, like, what does diversion           5 diversion control specialist, did anybody
      6 mean? Does that mean it's going out of          6 discuss the Controlled Substances Act
      7 the regular supply chain?                       7 with you?
      8      A. Supply chain, yes.                      8      A. I don't recall.
      9      Q. Did Ed tell you why the word            9      Q. Would anybody have discussed
     10 "diversion" mattered in your diversion         10 the regulations that AmerisourceBergen
     11 specialist role?                               11 obtains -- scratch that.
     12      A. He may have, but I just                12          Did anybody discuss
     13 don't recall.                                  13 regulations that AmerisourceBergen has to
     14      Q. What was your understanding            14 comply with in relation to wholesale
     15 of why diversion was important in your --      15 distribution?
     16 in your role?                                  16      A. Yes.
     17      A. My understanding, at the               17      Q. What did they tell you about
     18 time, was that pharmacies who were             18 those regulations?
     19 ordering -- licensed pharmacies that are       19      A. It was a DEA 21 CFR FDA
     20 ordering products are receiving those          20 regulation.
     21 products and not sending them to any           21      Q. And that was explained to
     22 other individual for illicit purposes;         22 you when you started training for a
     23 that they are only supposed to go to the       23 diversion control specialist job?
     24 patient who has the prescription.              24      A. Yes.
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      1      Q. What did they explain to you           1      objection.
      2 about 21 CFR regulations?                      2           Go ahead.
      3      A. Well, they showed me the                3          THE WITNESS: That is a
      4 regulation.                                     4     wholesaler needs to have a system
      5      Q. Which ones?                             5     in place that monitors orders of
      6      A. It was the 21 CFR. I don't              6     unusual size, frequency and
      7 recall the exact number.                        7     pattern.
      8      Q. What did they tell you about            8 BY MR. CLUFF:
      9 those regulations?                              9     Q. So would you agree with me,
     10      A. It was regarding that                  10 then, that the CFR defines a suspicious
     11 suppliers have to have an order                11 order as one of unusual size, frequency
     12 monitoring system in place that detects        12 and pattern?
     13 orders of unusual quantities, frequencies      13          MR. NICHOLAS: Object to the
     14 and pattern.                                   14     form.
     15      Q. Did they explain to you what           15          THE WITNESS: To an extent,
     16 a suspicious order was when you started        16     yes, from what I recollect.
     17 as a diversion control specialist?             17 BY MR. CLUFF:
     18      A. I don't recall.                        18     Q. How does AmerisourceBergen
     19      Q. In your time working for               19 define an order of interest?
     20 AmerisourceBergen, has anybody explained       20          MR. NICHOLAS: Object to the
     21 to you what a suspicious order is?             21     form. He's not --
     22      A. Yes.                                   22 BY MR. CLUFF:
     23      Q. What is it?                            23     Q. Based on your --
     24      A. A suspicious order is                  24          MR. NICHOLAS: He's not
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      1 initially an order of interest, but after      1      here --
      2 investigation, it is then determined           2           MR. CLUFF: I'm sorry, Bob,
      3 whether that order is suspicious or not.        3     I didn't mean to talk over your
      4           If it is suspicious, that             4     objection.
      5 order is rejected and reported to the           5          MR. NICHOLAS: I was going
      6 DEA.                                            6     to say, object to the form. This
      7      Q. Is that your understanding              7     is not a 30(b)(6) deposition.
      8 of a suspicious order today? Let me make        8          Go ahead.
      9 my question a little more clear.                9 BY MR. CLUFF:
     10           Do you know whether this DEA         10     Q. You've worked with
     11 21 CFR regulation defines a suspicious         11 AmerisourceBergen for a number of years,
     12 order?                                         12 correct?
     13      A. Yes.                                   13     A. Yes.
     14      Q. Do you know what the                   14     Q. And you were responsible --
     15 regulations define a suspicious order to       15 well, your position was a diversion
     16 be?                                            16 control specialist?
     17           MR. NICHOLAS: Object to              17     A. Yes.
     18      form.
     19           THE WITNESS: I did state
     20      that earlier.
     21 BY MR. CLUFF:
     22      Q. What is the definition of a
     23 suspicious order in the CFR?
     24           MR. NICHOLAS: Same
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     21      Q. So, essentially, orders of            21 BY MR. CLUFF:
     22 interest, in your experience at               22      Q. And we discussed earlier
     23 AmerisourceBergen, match the definition       23 that the Code of Federal Regulations
     24 of suspicious order in the Code of            24 defines suspicious orders as orders of

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      1 Regulations?                                   1 unusual size, frequency and pattern,
      2        MR. NICHOLAS: Object to the             2 correct?
      3    form.                                       3          MR. NICHOLAS: Object to the
      4        THE WITNESS: It's a system              4     form.
      5    we have in place for orders of              5          THE WITNESS: Yes.
      6    interest that we investigate                6 BY MR. CLUFF:
      7    individually to determine if that
      8    order is suspicious or not.
      9 BY MR. CLUFF:




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                                                         7      Q. Do you recall ever being
                                                         8 trained about what an order of interest
                                                         9 is?
                                                        10      A. Yes.
                                                        11      Q. Do you recall when that was?
                                                        12      A. I do not recall the year.
                                                        13      Q. If you were to estimate,
                                                        14 would you say it was before or after you
                                                        15 worked at Teva?

                                      .                 16      A. I don't recall.
     17 BY MR. CLUFF:                                   17      Q. When you were training with
     18     Q. And that's the same way that             18 Ed Hazewski after you started this
     19 the Code of Federal Regulations defines a       19 position, was he training you about
     20 suspicious order, right?                        20 suspicious orders?
     21         MR. NICHOLAS: Object to the             21      A. He was training me on order
     22     form.                                       22 review.
     23         THE WITNESS: It's not
     24     necessarily a suspicious order,
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      1      it's an order of interest.
      2 BY MR. CLUFF:
      3      Q. Does the word "order of
      4 interest" appear anywhere in the Code of
      5 Federal Regulations that you're aware of?
      6           MR. NICHOLAS: Well, object             6      Q. So essentially the same
      7      to form. He's not a lawyer. He              7 definition of a suspicious order that we
      8      hasn't read the entire --                   8 talked about in the Code of Federal
      9           THE WITNESS: No.                       9 Regulations?
     10           MR. NICHOLAS: -- statute.             10          MR. NICHOLAS: Object to the
     11           But go ahead.                         11      form.
     12 BY MR. CLUFF:                                   12          Go ahead.
                                                        13          THE WITNESS: Just orders of
                                                        14      unusual size, quantity and
                                                        15      frequency, yes.
                                                        16 BY MR. CLUFF:




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                                                           1 explained to you that AmerisourceBergen
                                                           2 has a regulatory obligation to maintain a
                                                           3 system to prevent diversion?
                                                           4          MR. NICHOLAS: Same
                                                           5     objection.
                                                           6          THE WITNESS: He indicated
                                                           7     to me that we need to have a
                                                           8     system in place that monitors
                                                           9     orders of unusual size, pattern
                                                          10     and frequency.
                                                          11 BY MR. CLUFF:
                                                          12     Q. Did he ever tell you why?
                                                          13     A. I'm sure he has, but I don't
                                                          14 recall the discussion.
                                                          15          MR. NICHOLAS: Sterling, I
                                                          16     don't want to break your flow
     17      A. Yes.                                      17     here, but it's been an hour
     18      Q. Why were you reviewing                    18     and-a-half.
     19 orders to determine whether they were             19          MR. CLUFF: I was looking at
     20 suspicious?                                       20     that. I just have a couple more,
     21      A. That was part of the                      21     and then we'll break.
     22 training that Ed indicated to me.                 22 BY MR. CLUFF:
     23      Q. Is there any other reason?                23     Q. In your work as a diversion
     24      A. And also it's part of the                 24 control specialist over the years, did

                                                Page 95                                           Page 97
      1 DEA regulation.                                    1 you ever form an understanding of why
      2      Q. Did Mr. Hazewski explain,                  2 AmerisourceBergen is required to maintain
      3 during your training, that wholesalers             3 a system to monitor orders of unusual
      4 like AmerisourceBergen have a regulatory           4 size, pattern and frequency?
      5 requirement that they maintain a system            5      A. Yes.
      6 to prevent diversion?                              6      Q. And what is that?
      7          MR. NICHOLAS: Object to the               7      A. Because it's part of the DEA
      8      form.                                         8 requirement that we have a system in
      9          THE WITNESS: Could you ask                9 place.
     10      that question again, please?                 10      Q. A system in place to do
     11 BY MR. CLUFF:                                     11 what?
     12      Q. Sure.                                     12      A. To monitor customer orders.
     13          While you were training for              13      Q. Have you ever formed an
     14 this new position as a diversion control          14 understanding that AmerisourceBergen has
     15 specialist, did Mr. Hazewski explain to           15 a regulatory requirement to maintain a
     16 you that wholesalers like                         16 system to prevent diversion?
     17 AmerisourceBergen have a regulatory               17          MR. NICHOLAS: Object to the
     18 requirement to maintain a system to               18      form.
     19 prevent diversion?                                19          THE WITNESS: I'm not aware
     20          MR. NICHOLAS: Object to the              20      of that.
     21      form.                                        21          MR. CLUFF: Let's go ahead
     22          THE WITNESS: No.                         22      and take a break.
     23 BY MR. CLUFF:                                     23          VIDEO TECHNICIAN: We're off
     24      Q. Has Mr. Hazewski ever                     24      the record at 10:56 a.m.
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      1             - - -                              1       Q. What was the dual role?
      2          (Whereupon, a brief recess            2       A. So he would help me review
      3       was taken.)                               3 orders throughout the day and also he had
      4            - - -                                4 his other job to do, reporting to Bruce
      5          VIDEO TECHNICIAN: We're                5 Gundi. That's my recollection.
      6       back on the record at 11:11 a.m.          6      Q. What work was he doing when
      7 BY MR. CLUFF:                                   7 he reported to Bruce Gundi, did you know?
      8       Q. All right. Mr. Kreutzer,               8      A. It was investigations not
      9 we're back on the record, so we'll              9 related to order monitoring.
     10 continue your deposition.                      10      Q. We were talking about some
     11          You understand that you're            11 of the substantive training that you
     12 still under oath?                              12 received, and you mentioned reading the
     13       A. Yes.                                  13 Code of Federal Regulations.
     14       Q. When we broke we were, I              14          I believe you referred to it
     15 believe, talking about training for the        15 as DEA 21 CFR; is that right?
     16 position you took on as a diversion            16      A. Yes.
     17 control specialist at AmerisourceBergen.       17      Q. As part of your training,
     18          Do you recall that?                   18 did you ever read 21 USC Section 823?
     19       A. Yes.                                  19      A. I don't recall.
     20       Q. Do you recall how long you            20      Q. In your work as a diversion
     21 and Mr. Hazewski trained together for          21 control specialist with
     22 before you started operating without           22 AmerisourceBergen, have you ever read 21
     23 supervision?                                   23 USC 823?
     24       A. I do not, no.                         24      A. I don't recall the specific
                                             Page 99                                         Page 101
      1       Q. If you were to estimate,              1  regulation number.
      2 would you say it was less than a month?        2        Q. How about when you worked
      3       A. I do not know.                         3 for Teva Pharmaceuticals, did you ever
      4       Q. Was it less than two weeks?            4 read 21 USC 823?
      5       A. I don't recall.                        5       A. I don't -- I don't remember
      6       Q. Just so we're clear, you               6 the specific regulation number.
      7 have absolutely no recollection of how          7       Q. Have you ever reviewed the
      8 long you were trained for?                      8 regulation or statute that governs
      9       A. Not specific time frame, no.           9 registration to manufacture or distribute
     10       Q. Did you train with anybody            10 controlled substances?
     11 else aside from Mr. Hazewski?                  11       A. I don't recall.
     12       A. I did. I trained with Scott           12       Q. Do you know if there is a
     13 Kirsh.                                         13 regulation or statute that governs
     14       Q. Who is Scott Kirsh?                   14 registrations to manufacture or
     15       A. Scott Kirsh was -- I believe          15 distribute controlled substances?
     16 he also reported to Ed Hazewski at one         16       A. I don't recall.
     17 time, prior to me coming on board.             17       Q. Do you not recall today
     18       Q. Do you recall what his job            18 whether or not there is a regulation, or
     19 title was?                                     19 is it that you never knew when you worked
     20       A. I believe his -- I believe            20 at Teva or ABC -- excuse me,
     21 he was working for Bruce Gundi. But he         21 AmerisourceBergen, if there was a statute
     22 was filling in with Ed to also help me         22 or regulation that governs registrations?
     23 train for the position. So he had a dual       23           MR. NICHOLAS: Object to the
     24 role at one point.                             24       form.
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      1           THE WITNESS: I'm sure there            1      A. Correct.
      2      is, I just don't recall at the              2      Q. Are you aware, through your
      3      moment.                                     3 work as a diversion control specialist,
      4 BY MR. CLUFF:                                    4 whether maintaining effective controls
      5      Q. Is that something you would              5 against diversion is a requirement in
      6 have been familiar with at some earlier          6 obtaining a registration to distribute
      7 point in time?                                   7 controlled substances?
      8           MR. NICHOLAS: Same                     8          MR. NICHOLAS: Object to the
      9      objection.                                  9      form.
     10           THE WITNESS: I just don't             10          THE WITNESS: I don't
     11      recall.                                    11      recollect.
     12 BY MR. CLUFF:                                   12 BY MR. CLUFF:
     13      Q. Are you aware that                      13      Q. Have you ever received any
     14 AmerisourceBergen is required to maintain       14 training about the maintenance of
     15 a registration to distribute controlled         15 effective controls against diversion,
     16 substances?                                     16 while you've been employed by
     17      A. Yes.                                    17 AmerisourceBergen?
     18      Q. Do you know who issues that             18      A. I don't recall.
     19 registration?                                   19      Q. When you worked at Teva
     20      A. The DEA.                                20 under Colleen McGinn, did you ever
     21      Q. Are you aware that                      21 receive any training about the
     22 manufacturers, like Teva, are required to       22 maintenance of effective controls against
     23 maintain a registration to manufacture          23 diversion?
     24 controlled substances?                          24      A. I don't recall.
                                             Page 103                                           Page 105
      1      A. I'm not sure.                            1      Q. Do you recall if
      2      Q. When you worked at Teva, did             2 AmerisourceBergen conducted training
      3 anybody discuss maintaining registration         3 about the maintenance of effective
      4 to manufacture controlled substances?            4 controls against diversion?
      5      A. I don't believe so.                      5      A. I don't recall.
      6      Q. You never received any                   6      Q. Is it possible, then, that
      7 training on Teva's registration to               7 AmerisourceBergen did not provide
      8 manufacture controlled substances?               8 training about the maintenance of
      9      A. I don't recall.                          9 effective controls against diversion?
     10      Q. Going back to                           10           MR. NICHOLAS: Object to the
     11 AmerisourceBergen's registration to             11      form.
     12 distribute controlled substances, are you       12           THE WITNESS: I just don't
     13 aware of any of the requirements to             13      recall.
     14 maintain -- to obtain a registration to         14 BY MR. CLUFF:
     15 distribute controlled substances?               15      Q. How about at Teva, do you
     16          MR. NICHOLAS: Object to the            16 recall if Teva ever offered training
     17      form.                                      17 about the maintenance of effective
     18          THE WITNESS: I don't                   18 controls against diversion?
     19      recall.                                    19      A. I don't recall.
     20 BY MR. CLUFF:                                   20           MR. MAIER: Object to form.
     21      Q. Your job position at                    21 BY MR. CLUFF:
     22 AmerisourceBergen, for the majority of          22      Q. Do you know if
     23 your time there, was diversion control          23 AmerisourceBergen maintains effective
     24 specialist, correct?                            24 controls against diversion?


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      1          MR. NICHOLAS: Object to the             1          MR. NICHOLAS: Object to the
      2      form.                                       2      form.
      3          Go ahead.                               3 BY MR. CLUFF:
      4          THE WITNESS: I'm assuming               4      Q. Do you recall that?
      5      yes, we do.                                 5          MR. NICHOLAS: Object to the
      6 BY MR. CLUFF:                                    6      form.
      7      Q. What is your assumption                  7          THE WITNESS: I don't
      8 based on?                                        8      recall.
      9      A. That we have a system in                 9 BY MR. CLUFF:
     10 place that identifies orders of interest.       10      Q. You don't recall receiving
     11      Q. Earlier I asked you if you              11 training, or you don't recall the
     12 had ever received any training about the        12 question?
     13 maintenance of effective controls against       13          MR. NICHOLAS: I think the
     14 diversion, and you said you don't recall        14      question is confusing. I will
     15 receiving any training; is that right?          15      object to the form, to the series
     16          MR. NICHOLAS: Object to the            16      of questions that's confusing.
     17      form.                                      17          THE WITNESS: I don't
     18          THE WITNESS: Can you                   18      recall.
     19      rephrase the question?                     19 BY MR. CLUFF:
     20 BY MR. CLUFF:                                   20      Q. Do you recall receiving
     21      Q. I'll re-ask the question,               21 training at AmerisourceBergen regarding
     22 but I'm not going to rephrase it.               22 the maintenance of effective controls
     23          We discussed earlier                   23 against diversion?
     24 training about the maintenance of               24          MR. NICHOLAS: Same
                                             Page 107                                            Page 109
      1 effective controls against diversion             1      objection.
      2 while you worked at AmerisourceBergen.           2          THE WITNESS: Yes.
      3          And you said that you do not            3 BY MR. CLUFF:
      4 recall receiving any training; is that           4      Q. You do recall receiving
      5 correct?                                         5 training? What training --
      6          MR. NICHOLAS: Object to the             6      A. I recall receiving training
      7      form. And I'll object to the                7 that identifies orders of interest.
      8      refusal to rephrase the question            8      Q. When do you recall receiving
      9      at the witness's request.                   9 training about orders of interest?
     10          Go ahead.                              10      A. Throughout my career at
     11          THE WITNESS: We have a                 11 AmerisourceBergen.
     12      system in place that identifies            12      Q. When did the words "orders
     13      orders of interest for unusual             13 of interest" start getting used at
     14      size, frequency and pattern.               14 AmerisourceBergen?
     15 BY MR. CLUFF:                                   15      A. I don't recall that.
     16      Q. I appreciate that answer.               16      Q. Is it your recollection that
     17 That's not -- that's not the question I         17 in 2009, when you became a diversion
     18 was asking, so let me try and get back to       18 control specialist, Mr. Hazewski trained
     19 the question I was asking.                      19 you about identifying orders of interest?
     20          Do you recall that we                  20      A. I don't remember.
     21 previously discussed whether or not you,        21      Q. Do you recall Mr. Hazewski
     22 at AmerisourceBergen, received training         22 using the words "orders of interest" in
     23 about the maintenance of effective              23 2009 when he trained you?
     24 controls against diversion?                     24      A. No, I do not.
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      1      Q. Do you recall him using the             1      Q. So your recollection today
      2 words "suspicious orders"?                      2 is that you were being trained to
      3      A. No, I do not.                           3 identify orders of interest?
      4      Q. Do you recall him using the             4          MR. NICHOLAS: Object to the
      5 words "excessive orders"?                       5      form. I believe the questions are
      6      A. No.                                     6      confusing.
      7      Q. What did he tell you you                7          THE WITNESS: That is my
      8 were looking for in the orders you              8      term that I'm using. I don't
      9 reviewed when he was training you?              9      recall Ed's term that he used in
     10          MR. NICHOLAS: Object to the           10      2009.
     11      form.                                     11 BY MR. CLUFF:
     12          THE WITNESS: Orders of                12      Q. When you were training with
     13      unusual size, quantity and                13 Ed and with Scott, did either of them
     14      frequency.                                14 discuss with you the obligation or
     15 BY MR. CLUFF:                                  15 regulatory requirement that a wholesale
     16      Q. And we discussed earlier               16 distributor has to maintain effective
     17 that that is the definition of a               17 controls against diversion of controlled
     18 suspicious order in the Code of Federal        18 substances?
     19 Regulations, right?                            19      A. I don't recall that
     20          MR. NICHOLAS: Object to the           20 discussion.
     21      form.                                     21      Q. Your title was diversion
     22          Go ahead.                             22 control specialist, correct?
     23          THE WITNESS: I didn't say             23      A. Yes.
     24      that. I said we have a system in          24      Q. Don't you think it would
                                            Page 111                                          Page 113
      1      place that identifies orders of            1 have been important, as a diversion
      2      unusual -- of unusual size,                2 control specialist, to be trained on
      3      quantity and frequency.                    3 diversion control?
      4 BY MR. CLUFF:                                   4         MR. NICHOLAS: Object to the
      5      Q. Do you recall what the                  5      form. Just argumentative.
      6 definition of a suspicious order is in          6         THE WITNESS: I most likely
      7 the Code of Federal Regulations?                7      was trained, I just don't recall.
      8      A. Yes.                                    8 BY MR. CLUFF:
      9      Q. What is it?                             9      Q. What would that training
     10      A. It's what I just stated.               10 have looked like, if it had occurred?
     11      Q. Orders of unusual size,                11         MR. NICHOLAS: Object to the
     12 quantity and frequency?                        12      form.
     13      A. Yes. Pattern.                          13         THE WITNESS: It was
     14      Q. And that's what Mr. Hazewski           14      hands-on training.
     15 was training you to look for?                  15 BY MR. CLUFF:
     16      A. He was training me to                  16      Q. And that was -- sorry, go
     17 identify orders of interest that need to       17 ahead. I didn't mean to interrupt you.
     18 be reviewed individually to determine if       18      A. As well as, I believe, we
     19 the order is suspicious or not.                19 also had PowerPoint trainings at
     20      Q. So I just asked you if he              20 presentations that were conducted. And
     21 ever used the words "orders of interest"       21 we also conducted weekly meetings.
     22 when he was training you, and you told me      22      Q. Do you recall who would have
     23 that you do not recall.                        23 given the PowerPoint presentations?
     24      A. That term, I do not recall.            24      A. I do not.
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      1      Q. What were the weekly                    1 AmerisourceBergen, as well as reviewing
      2 meetings you guys had?                          2 orders of interest and any other duties
      3      A. Weekly meetings consisted of            3 as assigned.
      4 anything new that is happening in our           4      Q. You said "orders of
      5 department, any pharmacy visits that were       5 interest."
      6 being conducted, as well as any orders          6          Was that a part of the scope
      7 that the investigators wanted to discuss,       7 of your job responsibility in 2009?
      8 or any other information the                    8      A. To review customer orders,
      9 investigators wanted to discuss on a            9 yes.
     10 variety of subjects.                           10      Q. But you're using orders of
     11      Q. Who attended the weekly                11 interest today to refer to the work you
     12 meetings?                                      12 did back then?
     13      A. Well, at the time when I               13      A. That's correct.
     14 initially started, it was myself, I            14      Q. And they were not referred
     15 believe it was Scott Kirsh, Ed. And then       15 to as orders of interest in 2009,
     16 soon afterward Joe Tomkiewicz was hired,       16 correct?
     17 as well as Dave Britemyer.                     17          MR. NICHOLAS: Object to the
     18      Q. Kirsh, you mentioned, was --           18      form.
     19 he had a dual role helping you monitor         19          THE WITNESS: I do not know
     20 the -- review the customer orders?             20      what they were called back then.
     21      A. Initially, yes.                        21 BY MR. CLUFF:
     22      Q. And working investigations             22      Q. The reason I'm asking is
     23 with Bruce Gundi?                              23 because we get to different time periods
     24      A. Yes, that's my recollection.           24 during your work history, and I'm just

                                            Page 115                                           Page 117
      1      Q. These names, Tomkiewicz and             1 trying to make sure that I understand the
      2 Britemyer, do you recall their positions?       2 correct words to use for the work you
      3      A. Yes. Joe was a diversion                3 were doing at the time.
      4 control -- I believe his title was              4          So if there was a word that
      5 investigator.                                   5 you used in 2009, I'd like us to use that
      6      Q. And that's Joe Tomkiewicz?              6 when we talk about the 2009 time period.
      7      A. Yes.                                    7 And my understanding is that you don't
      8      Q. And how about Dave                      8 recall?
      9 Britemyer?                                      9      A. I don't recall the term that
     10      A. Dave Britemyer was an intern           10 I used. Maybe other investigators used a
     11 for AmerisourceBergen. So he was working       11 different term, I don't know.
     12 during the summer months, and then he was      12      Q. So I don't want to put words
     13 hired full time.                               13 in your mouth, but I want you to
     14      Q. So we talked about the                 14 understand that I'm going to refer to
     15 training on reviewing customer orders.         15 those as customer orders in 2009, then.
     16          When you went into                    16      A. Okay.
     17 autonomous mode without training, what         17      Q. Because you did not --
     18 were your responsibilities as a diversion      18 you've told me you do not recall using
     19 control specialist?                            19 the words "orders of interest" in 2009.
     20      A. To review orders or overall?           20          Does that make sense?
     21      Q. Overall.                               21      A. Yes, I understand.
     22      A. Overall. I conducted due               22      Q. So in 2009, I think you
     23 diligence reviews for new customer             23 described to me three job
     24 accounts that want to do business with         24 responsibilities.


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      1         One was doing customer -- or             1 correct?
      2 conducting due diligence on new customer         2     A. Yes.
      3 accounts; is that right?                         3     Q. And then I think the third
      4      A. As well as overall                       4 category is sort of like special projects
      5 customers, yes.                                  5 by assignment?
      6      Q. Is there a difference                    6     A. Yes.
      7 between the due diligence on new                 7     Q. Did you have a geographic
      8 customers and what you just referred to          8 area that you were responsible for
      9 as overall customers?                            9 reviewing customer orders in or from?
     10      A. It's just reviewing customer            10     A. I was covering, I believe it
     11 accounts throughout the month.                  11 was -- back then, it could have been the
     12      Q. Is new customer due                     12 East and South. It's a little different
     13 diligence sometimes referred to as NCDD?        13 now. But at the time, I think it was
     14      A. Correct.                                14 East and South I was covering.
     15      Q. I've also heard the term                15     Q. Did your geographic area of
     16 existing customer due diligence.                16 responsibility for customer orders change
     17         Is that ECDD?                           17 over time?
     18      A. That's CDD.                             18     A. It has.
     19      Q. CDD, without the E, okay.               19     Q. And how did it change?
     20      A. Correct.                                20     A. It changed where I was now
     21      Q. And were you responsible for            21 covering just the North and East regions.
     22 both new and existing customer due              22     Q. Are those two separate
     23 diligence?                                      23 regions, North and East, or --
     24      A. Yes.                                    24     A. Yes, yes.
                                             Page 119                                           Page 121
      1      Q. Are you familiar with the                1      Q. -- or is it Northeast?
      2 term 590, Form 590?                              2      A. Yes, they are two separate
      3      A. I am.                                    3 regions.
      4      Q. What is a Form 590?                      4      Q. Before you became a
      5      A. Form 590 is a pharmacy                   5 diversion control specialist in 2009, do
      6 questionnaire.                                   6 you know who was responsible for
      7      Q. Is that a new customer due               7 reviewing customer orders out of the
      8 diligence form?                                  8 South region?
      9      A. It's a part of it, yes.                  9      A. I do not.
     10 Meaning that -- yes, it is a new customer       10      Q. Do you know who the
     11 that would complete that form.                  11 diversion control specialists were that
     12      Q. What's a Form 595? Do you               12 were employed prior to your joining in
     13 know what that is?                              13 2009?
     14      A. Form 595 is a new customer              14      A. That would have been Ed
     15 due diligence, it's a checklist.                15 Hazewski and Scott Kirsh, I believe. And
     16      Q. So it's a part of the due               16 there may have been others that I don't
     17 diligence process?                              17 remember their names, but they weren't
     18      A. Process, yes.                           18 there when I started.
     19      Q. But it's different than the             19      Q. So there may have been some
     20 590?                                            20 others that worked as diversion control
     21      A. Correct.                                21 specialists before you started in 2009?
     22      Q. In addition to new customer             22      A. Yes, yes.
     23 and existing customer due diligence, you        23      Q. And you just can't remember
     24 mentioned reviewing customer orders,            24 their names?


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      1      A. I don't remember their
      2 names, but I know there were others.
      3      Q. And so prior to you becoming
      4 a diversion control specialist, Ed and
      5 Scott Kirsh would have been the two
      6 persons primarily responsible for
      7 reviewing customer orders?
      8      A. As well as the other
      9 individuals.
     10      Q. The people you can't
     11 remember?
     12      A. I just -- that I can't
     13 remember.
     14      Q. Yeah, I'm just trying to
     15 understand the world of individuals.
     16 Okay.
     17         When you were conducting new
     18 customer and existing customer due
     19 diligence, did you consider that to be an
     20 investigation?
     21      A. It was part of our due
     22 diligence process.




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                                                         1       MR. NICHOLAS: Object to the
                                                         2    form.
                                                         3       THE WITNESS: He may have, I
                                                         4    don't know.
                                                         5 BY MR. CLUFF:




     16      Q. As a diversion control
     17 specialist, did you ever discuss upward
     18 trends, to use your phrase, with any
     19 other wholesale distributors?
     20      A. Discuss that information
     21 with other wholesalers?
     22      Q. Yes.
     23      A. No, we have not. Not that
     24 I'm -- not that I'm aware of.

                                             Page 127                                          Page 129
      1      Q. Do you know if any other
      2 employees at AmerisourceBergen ever
      3 discussed trends in distribution with any
      4 other wholesale distributors?
      5      A. Not that I'm aware of.
      6      Q. Do you know if -- or have
      7 you personally spoken to employees from
      8 any manufacturers about trends in
      9 controlled substance distribution?
     10      A. No, I have not.
     11      Q. You said you reported to Ed
     12 Hazewski, correct?
     13      A. Yes.
     14      Q. Do you know if Ed Hazewski
     15 ever had meetings with or discussions
     16 with employees from any manufacturers
     17 about trends in wholesale distribution?
     18      A. I'm not aware of any
     19 discussion.
     20      Q. If Mr. Hazewski had learned
     21 about a specific trend in wholesale             21     Q. In 2009, when you became a
     22 distribution from another distributor or        22 diversion control specialist, were you
     23 from a manufacturer, is that information        23 aware of AmerisourceBergen's suspicious
     24 that he would have communicated to you?         24 order monitoring policies and procedures?


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      1    A.   Yes.




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                                                        1 BY MR. CLUFF:
                                                        2      Q. Do you know if there was a
                                                        3 pharmacist on staff at AmerisourceBergen
      4      Q. Okay. So going back to the              4 prior to Ms. Hartman joining the company?
      5 distribution center, after an order is          5      A. I believe Joe Tomkiewicz
      6 sent from the distribution center to the        6 also had some pharmacy background.
      7 CSRA group, would you have been the             7      Q. What was his pharmacy
      8 person, as a diversion control                  8 background, if you recall?
      9 specialist, to review that order?               9      A. I don't recall.
     10      A. I would be one of them, yes.           10      Q. So prior to Ms. Hartman
     11      Q. And what -- and that would             11 joining the company in 2014, if you had a
     12 be when you were reviewing an order to         12 question that warranted a pharmacist's
     13 determine whether it was of unusual            13 input, who would you ask about that?
     14 frequency, size and pattern; is that           14      A. Prior to that, I don't
     15 right?                                         15 believe we had any other pharmacists on
     16      A. It would be an order of                16 staff, other than Joe. I would contact
     17 interest. That --                              17 Ed Hazewski.
     18      Q. I'm talking -- let me                  18      Q. And he's who you would ask
     19 correct myself.                                19 questions about customer orders where you
     20          Prior to 2015, when an order          20 needed additional input?
     21 came to your desk, that is when you would      21      A. Yes. And, also, we had the
     22 begin the process of reviewing that order      22 sales force also contact the customer at
     23 to determine if it was of unusual size,        23 that time.
     24 frequency or pattern?                          24      Q. So if you had a question
                                            Page 151                                           Page 153
      1      A. Yes.                                    1 about an order that was presented to you
      2      Q. Did you do anything else                2 for review, you would ask the sales force
      3 with orders during that review process?         3 sometimes for --
      4      A. Prior to --                             4      A. Sometimes the sales force.
      5      Q. 2015.                                   5      Q. And then they would contact
      6      A. If there were -- if I had               6 the customer?
      7 any questions regarding a customer's            7          MR. NICHOLAS: Let him
      8 order, I would reach out to our                 8      finish.
      9 pharmacist who is on staff.                     9          THE WITNESS: No, no. I'm
     10      Q. Who was the pharmacist prior           10      sorry you --
     11 to 2015?                                       11 BY MR. CLUFF:
     12      A. It would be Sharon Hartman.            12      Q. I didn't mean to talk over
     13      Q. Do you know when she joined            13 you. If you have more of an answer,
     14 the company?                                   14 please give it.
     15      A. I do not know the specific             15      A. In addition to the sales
     16 year, but I believe she was on staff in        16 force reaching out to the customer, we
     17 2015.                                          17 also had the distribution center manager
     18      Q. If I suggested that she                18 reach out to the customer as well.
     19 joined the company in 2014, would that         19      Q. So just to kind of
     20 sound accurate to you?                         20 understand. If there was a question that
     21          MR. NICHOLAS: Objection.              21 you had about an order that you couldn't
     22      Lack of foundation.                       22 resolve yourself, prior to 2014, a little
     23          Go ahead.                             23 confusing now, because that's prior to
     24          THE WITNESS: Possibly.                24 Ms. Hartman joining, right?


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      1      A. Yes.                                  1           It could be any number of
      2      Q. You would talk to Mr.                 2  reasons.
      3 Hazewski?                                      3      Q. If a pharmacy was robbed,
      4      A. Yes.                                   4 would you continue shipping to that
      5      Q. You could reach out to the             5 pharmacy?
      6 sales force, who would talk to the             6          MR. NICHOLAS: Object to the
      7 customer?                                      7      form.
      8      A. Yes.                                   8          THE WITNESS: If our
      9      Q. Or you could reach out to              9      pharmacy was robbed, yes, after we
     10 the distribution center manager, who          10      got a DEA Form 106 and a police
     11 maybe also would talk to the customer?        11      report.
     12      A. Correct.                              12 BY MR. CLUFF:
     13      Q. Did you ever talk to                  13      Q. Were there ever any factors
     14 customers yourself?                           14 that you would uncover during reviewing
     15      A. Prior to that time, I don't           15 an order that warranted additional due
     16 believe I have.                               16 diligence, prior to 2015?
     17      Q. Have you ever talked to               17          MR. NICHOLAS: Object to the
     18 customers after that time?                    18      form.
     19      A. Yes.                                  19          THE WITNESS: I'm sure there
     20      Q. When you had questions, what          20      has been, but I just don't
     21 kind of responses would you get back from     21      recollect right now.
     22 customers?                                    22 BY MR. CLUFF:
     23          MR. NICHOLAS: Object to the          23      Q. Based on your working
     24      form.                                    24 experience, what are some factors that

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      1          Go ahead.                            1  you would identify as requiring
      2          THE WITNESS: If I called             2  additional due diligence?
      3      them myself?                              3      A. Currently?
      4 BY MR. CLUFF:                                  4      Q. Yes.
      5      Q. You know, that's a good                5      A. I would see if we have any
      6 point.                                         6 information on the customer in our Matter
      7          Let's talk about the before           7 Management System, if we have a Form 590
      8 2014 time period. What kinds of                8 on file for the customer, and any other
      9 questions would you have for, like, the        9 information that we have.
     10 sales force and the distribution center       10      Q. The information management
     11 manager to get information from customers     11 system you mentioned, is that Lawtrac?
     12 about?                                        12      A. Lawtrac is gone. We have
     13      A. I would ask them the reason           13 Matter Management System now and NetDocs.
     14 why this pharmacy is placing a larger         14      Q. Is Matter Management System
     15 order than they typically place.              15 abbreviated MMS?
     16      Q. And what kinds of responses           16      A. Yes.
     17 would you get?                                17      Q. And then what was the last
     18      A. I would get a response where          18 one you mentioned?
     19 it could be any number of reasons. A          19      A. NetDocs.
     20 pharmacy had a robbery, they're trying to     20      Q. What is NetDocs?
     21 replenish their inventory. There's a          21      A. NetDocs took the replacement
     22 pharmacy that closed down the street.         22 of Lawtrac. So any information that was
     23 There's product that's going to be in         23 previously in Lawtrac should now be in
     24 short demand.                                 24 NetDocs.


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      1      Q. When you were reviewing an              1 BY MR. CLUFF:
      2 order, I think you said that some of the        2      Q. So if a 590 was missing from
      3 information you would look at would be,         3 a customer's file, that would reflect a
      4 you know, a Form 590, you would look at         4 gap in AmerisourceBergen's policies,
      5 the Lawtrac information, correct?               5 correct?
      6      A. Yes.                                    6          MR. NICHOLAS: Object to the
      7      Q. And how did those sources of            7      form.
      8 information inform your review of a             8          THE WITNESS: No, not a gap.
      9 customer order that had passed the              9      Just a form could have been lost.
     10 distribution center?                           10 BY MR. CLUFF:
     11      A. Well, each order is reviewed           11      Q. What about if you received
     12 individually. So it's really the               12 an order from a customer to review and
     13 totality of the circumstances, whatever        13 the Lawtrac information was missing or
     14 information we have on file to make a          14 incomplete, could you do an effective
     15 sound decision whether to release or           15 review of that customer's order without
     16 reject and report that order.                  16 the Lawtrac information?
     17      Q. Are you familiar with the              17      A. Yes.
     18 Form 590 project?                              18      Q. How so?
     19      A. I am.                                  19      A. Based on the systems that we
     20      Q. What was the Form 590                  20 have in place.
     21 project?                                       21      Q. So you testified that you
     22      A. The Form 590 project is a              22 believe you could do an effective review
     23 listing of all the pharmacies, or all the      23 of an order without a 590, with a missing
     24 accounts that ABC services, for which we       24 or incomplete Lawtrac information, and

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      1 did not or could not find a Form 590 for.       1 both times you said you could do this
      2     Q. Do you recall if the Form                2 based on the systems you have in place.
      3 590 project also included missing Lawtrac       3          Wasn't the 590 and the
      4 information?                                    4 Lawtrac part of the system that
      5     A. I do not.                                5 AmerisourceBergen had in place to review
      6     Q. If an order was presented to             6 orders?
      7 you for review and the Form 590 was             7          MR. NICHOLAS: Object to the
      8 missing, would you have been able to do         8      form.
      9 an accurate review of that customer's           9          THE WITNESS: To review
     10 order?                                         10      orders? Can you ask that question
     11     A. Yes.                                    11      again, or rephrase it?
     12     Q. How so?                                 12 BY MR. CLUFF:
     13     A. Based on the systems that we            13      Q. Yes.
     14 have in place, we can make a decision, as      14          So the 590 and the Lawtrac
     15 well as personnel we have on staff to          15 information, were they a part of
     16 make a decision whether to release or          16 AmerisourceBergen's suspicious order
     17 report that order, or just reject that         17 monitoring system?
     18 order.                                         18      A. It was just a piece of it.
     19     Q. Was the Form 590 a required             19      Q. Is that the same system that
     20 document at AmerisourceBergen?                 20 you would have relied on to review orders
     21          MR. NICHOLAS: Object to the           21 once they were presented to you from the
     22     form.                                      22 distribution center?
     23          THE WITNESS: For new                  23      A. It's just a piece of the
     24     customer onboardings, yes.                 24 process that we would look for, yes.


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      1     Q. But the piece -- but the               1           THE WITNESS: I don't know.
      2 process you were using was missing            2  BY MR. CLUFF:
      3 pieces, correct?                               3       Q. I'm going to hand you a copy
      4          MR. NICHOLAS: Object to the           4 of an exhibit, we're going to mark it as
      5     form.                                      5 1 to your deposition.
      6          THE WITNESS: Not                      6              - - -
      7     necessarily missing pieces.                7          (Whereupon,
      8     Again, we have systems in place            8       AmerisourceBergen-Kreutzer
      9     that review all orders                     9       Exhibit-1, ABDC_MDL_00304391-392,
     10     individually. So we can make a            10       was marked for identification.)
     11     sound decision with the systems           11             - - -
     12     that we have in place.                    12 BY MR. CLUFF:
     13 BY MR. CLUFF:                                 13       Q. This is a document produced
     14     Q. But the systems that you               14 by AmerisourceBergen. It's Bates stamped
     15 have in place were missing things like        15 ABDC_MDL_00304391 to 392.
     16 Form 590s and Lawtrac information, right?     16          I'll hand you the top copy,
     17          MR. NICHOLAS: Object to the          17 which is the exhibit copy, and you can
     18     form.                                     18 hand the rest down to your counsel.
     19          THE WITNESS: If we had any           19          So just so you're aware, I
     20     missing 590s, we would request            20 want to start with the bottom e-mail that
     21     them to get completed.                    21 starts on 304391 on the bottom of the
     22 BY MR. CLUFF:                                 22 first page.
     23     Q. Are you familiar with the              23          You can review the whole
     24 progress that AmerisourceBergen has made      24 document, I'm just letting you know

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      1 in updating the Form 590s that were           1  that's where I want to start.
      2 missing?                                      2           Do you know who Richard --
      3      A. Yes.                                   3 I'm sorry, go ahead.
      4      Q. How complete is it?                    4      A. Could you hold on for one
      5      A. I'm not sure of the                    5 second.
      6 percentage that it's completed. But it's       6      Q. Sure. I thought you were
      7 a work in progress.                            7 done. My fault.
      8      Q. So it's not completed,                 8      A. I'm not finished.
      9 right?                                         9      Q. Turning to the second page,
     10      A. It's not fully completed,             10 which ends in 392, the numbers on the
     11 no.                                           11 bottom.
     12      Q. Do you know when                      12          You see at the very top of
     13 AmerisourceBergen first identified that       13 the page it says, Below is the text from
     14 there was a problem with missing Form 590     14 the initial e-mail regarding the project.
     15 information?                                  15          And the next paragraph down
     16          MR. NICHOLAS: Object to the          16 says, We have been asked by the CSRA
     17      form.                                    17 diversion control team to assist them
     18          THE WITNESS: I don't know            18 with the collection of updated
     19      the specific time frame, no.             19 documentation for a substantial number of
     20 BY MR. CLUFF:                                 20 customers.
     21      Q. Was it before or after 2015,          21          Did I get that right?
     22 do you think?                                 22      A. Yes.
     23          MR. NICHOLAS: Same                   23      Q. And was it your
     24      objection.                               24 understanding, at this time, that the 590


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      1 project was to be filling out new Form          1  of the 590 project, CSRA was reviewing
      2 590s for an identified list of customers?       2  them?
      3      A. Yes. Yes, that was my                    3      A. Yes.
      4 understanding.                                   4      Q. In the next sentence down,
      5      Q. Looking down at the heading              5 it says, CM will then add the
      6 that says, Next steps. It says, Due to           6 documentation to their system and forward
      7 the high number of customers that will           7 to the CSRA OMP group.
      8 need validation, we have broken the list         8          What is the CSRA OMP group?
      9 into two groups, CPA customers and               9      A. That's the corporate
     10 non-CPA.                                        10 security regulatory affairs order
     11          What does the abbreviation             11 monitoring program group.
     12 CPA stand for?                                  12      Q. Who is in that group?
     13      A. I don't remember right now.             13      A. Myself.
     14      Q. Looking in the body of that             14      Q. Are you the only member?
     15 paragraph underneath, where it says,            15      A. No. Let me clarify.
     16 Beginning January 11th, do you see it           16          It's myself, Carol Sherman
     17 says, The 590 forms -- it's in bold in          17 Hines, Emily Coldren, Sara Cressman,
     18 the middle -- should be completed in            18 Nikki Seckinger, Teresa Javier.
     19 their entirety and all responses must be        19          And that's primarily the
     20 legible. After each account is                  20 ones that would review 590s.
     21 completed, please submit the                    21      Q. And are all the members of
     22 documentation to customer maintenance.          22 the CSRA OMP group, are you diversion
     23          What is customer                       23 control specialists and investigators?
     24 maintenance?                                    24      A. Yes.
                                             Page 167                                         Page 169
      1      A. Customer maintenance is a               1       Q. Flip back to the first page
      2 group that does all the gathering of data       2  for me. This e-mail at the bottom was
      3 for a new prospective account, including         3 sent by a person named Richard Dominico.
      4 Form 590s and photos.                            4          Do you see that?
      5      Q. Is that a sales function?                5      A. I do.
      6      A. No, it's not a sales                     6      Q. Do you know who Richard
      7 function.                                        7 Dominico is?
      8      Q. What department does that                8      A. Other than his signature,
      9 group operate under?                             9 he's a district director.
     10      A. It's just a -- it's a                   10      Q. Do you know would -- what is
     11 separate department from my department,         11 community and specialty pharmacy in the
     12 as well as sales.                               12 signature block? Do you know what that
     13      Q. And they were responsible               13 connotes?
     14 for gathering customer information?             14      A. That's his title, where he
     15      A. Yeah, for new -- for                    15 oversees the customers within that
     16 onboarding new customers.                       16 segment.
     17      Q. Did they have any                       17      Q. So is he a customer services
     18 responsibility for existing customers?          18 or sales kind of a person?
     19      A. No. They -- they would --               19      A. He's a sales director.
     20 in this example, they would forward any         20      Q. So would he have been
     21 completed 590s for new and existing             21 sending this e-mail, then, to sales
     22 customers to the CSRA team to review.           22 associates?
     23      Q. Okay. And so after people               23      A. His reports, yes.
     24 were filling out these new 590s as part         24      Q. Looking back at the second
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      1 page, there is a bold heading that says,        1        Q. Do you recognize this
      2 Note.                                           2  address that she references, the CSRA
      3          Do you see that?                        3 validation project?
      4      A. Yeah, I do.                              4       A. Yes.
      5      Q. The first bullet point says,             5       Q. What was that?
      6 This documentation project should be done        6       A. CSRA validation project is a
      7 within the normal scope of your routing.         7 term that we use for the assignment.
      8 The priority is still the financial              8 It's not an e-mail address, which she
      9 performance of your assignment.                  9 thought it was.
     10          Did I read that correctly?             10       Q. So your group used the term
     11      A. Yes.                                    11 CSRA validation project synonymously with
     12      Q. So despite the fact that                12 590 form project or validation --
     13 AmerisourceBergen was missing 590s for          13       A. That's the title of the
     14 what Mr. Dominico referred to as a              14 spreadsheet, yes.
     15 substantial number of customers, he is          15       Q. Going back to Richard
     16 telling sales associates that financial         16 Dominico's e-mail, he says, To date as a
     17 performance is more important?                  17 company, only 10 percent of the overall
     18          MR. NICHOLAS: Object to the            18 customer list has been completed.
     19      form.                                      19           Does that refresh your
     20          THE WITNESS: I can't                   20 recollection about how complete the
     21      comment. I'm not a part of that            21 project was, at least as it existed in
     22      e-mail.                                    22 July 2017?
     23 BY MR. CLUFF:                                   23       A. No.
     24      Q. But you would agree that                24       Q. It does not?
                                             Page 171                                          Page 173
      1 that's the words he's using, right, the         1            Do you have any reason to
      2 priority is still the financial                 2  dispute that the 590 project was more
      3 performance of your assignment?                  3 complete than 10 percent as of July 2017?
      4           MR. NICHOLAS: Object to the            4           MR. NICHOLAS: Object to the
      5      form.                                       5      form.
      6           THE WITNESS: I can't agree,            6           THE WITNESS: I don't recall
      7      other than what's typed here.               7      this specific -- this specific
      8 BY MR. CLUFF:                                    8      e-mail from Richard.
      9      Q. Who is -- turning back to                9 BY MR. CLUFF:
     10 the first page, Marsha Widrick, if I'm          10      Q. But you would agree with me
     11 saying that correctly? It's the second          11 that AmerisourceBergen was essentially
     12 e-mail on the page.                             12 conducting due diligence on customer
     13      A. Marsha Widrick, she's one of            13 orders while missing Form 590s, correct?
     14 the sales associates that reports to            14           MR. NICHOLAS: Object to the
     15 Richard Dominico.                               15      form.
     16      Q. Do you know why she was                 16           THE WITNESS: We conduct due
     17 forwarding you this e-mail?                     17      diligence on all our customers at
     18      A. I do not. It appears there              18      all times.
     19 was some accounts that were listed, and         19 BY MR. CLUFF:
     20 she was just indicating to me that she'll       20      Q. But according to the Form
     21 be sending out more requests over the           21 590 project, some of that due diligence
     22 next couple of weeks. And she wanted to         22 was missing?
     23 know, is there a better address to send         23           MR. NICHOLAS: Object to the
     24 them to.                                        24      form.
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      1          THE WITNESS: Some of those            1  set of documents that you can pass down
      2      590s were missing.                        2  to your counsel for me. We'll mark this
      3 BY MR. CLUFF:                                   3 as Kreutzer Exhibit-2.
      4      Q. Whose responsibility would              4             - - -
      5 it have been to ensure that due diligence       5          (Whereupon,
      6 was being completed fully during the            6      AmerisourceBergen-Kreutzer
      7 customer onboarding process?                    7      Exhibit-2, ABDC_MDL_00154441-443,
      8          MR. NICHOLAS: Object to the            8      was marked for identification.)
      9      form.                                      9            - - -
     10          THE WITNESS: Part of the              10 BY MR. CLUFF:
     11      process is customers submit a Form        11      Q. It's an e-mail with an
     12      590 and photos.                           12 attachment, it is ABDC_MDL_00154441. The
     13 BY MR. CLUFF:                                  13 attachment begins at 442 and continues
     14      Q. Do customers submit that               14 through 443.
     15 directly to AmerisourceBergen, or do they      15          MR. CLUFF: You keep the one
     16 submit it to some representative in the        16      with the numbers on it and pass
     17 company?                                       17      the rest down.
     18      A. The potential customer works           18 BY MR. CLUFF:
     19 with the sales representative, and, in         19      Q. So I just want to give you a
     20 turn, then sends it into the customer          20 couple of notes about this, Mr. Kreutzer.
     21 maintenance group for their review.            21          MR. NICHOLAS: You take that
     22      Q. And then what does the                 22      one.
     23 customer maintenance group do with it?         23 BY MR. CLUFF:
     24      A. Then once they determine               24      Q. If you look at the top of
                                            Page 175                                         Page 177
      1 that it is complete, then they will send       1  this e-mail, just for reference, you'll
      2 it up to the CSRA OMP group for review.        2  notice that it's from Eric Cherveny to
      3      Q. What does the CSRA OMP group            3 you, Kevin Kreutzer. The subject is,
      4 do with it?                                     4 Openin -- which I assume is supposed to
      5      A. We review all the                       5 be opening -- Lawtrac matters.
      6 information on the 590 to ensure all the        6          And if you look at the
      7 information is complete. And we conduct         7 attachments line, it says OMP Lawtrac
      8 due diligence on the licenses, as well as       8 review-due diligence notes. If you flip
      9 the doctors.                                    9 the page, you'll see there's a subject,
     10      Q. Is that process that you               10 OMP Lawtrac review/due diligence notes.
     11 just described, has that been the same         11          These documents were
     12 since 2009 all the way until the present       12 produced as a parent e-mail and
     13 day?                                           13 attachment, so they go together. You can
     14      A. The form has changed over              14 review them. Thanks.
     15 the years, it has evolved. So I don't          15      A. Okay.
     16 recollect what information was on the          16      Q. Do you recall receiving this
     17 initial 590.                                   17 e-mail from Eric Cherveny?
     18      Q. I appreciate that                      18      A. I do not.
     19 differentiation.                               19      Q. But you would agree that it
     20           So the form has changed, but         20 is addressed to you, correct?
     21 has the process of submitting, reviewing       21      A. Yes.
     22 and approving a form, has that changed?        22      Q. I want to start in the
     23      A. No.                                    23 middle of the e-mail. You'll see those
     24      Q. I want to hand you another             24 headings, Date, Description, Update,


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      1 Source, Name.                                     1 export a Lawtrac file from the Lawtrac
      2           MR. CLUFF: Can you blow                 2 database?
      3       that whole section up, Zach?                3      A. It wasn't always electronic
      4 BY MR. CLUFF:                                     4 in Lawtrac. It was also in paper form
      5       Q. You can look up here, too,               5 when I first started.
      6 if it's easier for you, Mr. Kreutzer,             6      Q. So in 2009, the Lawtrac
      7 whichever you prefer.                             7 information existed on paper?
      8           But I'm curious, this                   8      A. It existed on paper. And
      9 description here, this, I'll call it a            9 all the documents, all the due diligence,
     10 box, for a lack of a better word, is that        10 was included in a manilla folder entitled
     11 an example of an entry that would have           11 as such.
     12 been in a customer's Lawtrac file?               12      Q. Do you know where that would
     13       A. It could have been.                     13 have been housed or kept?
     14       Q. Where would this kind of a              14      A. It would have been kept in
     15 description be entered if it wasn't in           15 the file cabinets in our office.
     16 Lawtrac?                                         16      Q. Which office?
     17       A. Well, it's referring to the             17      A. In the sales corporate
     18 content. But at that time, it would have         18 security/regulatory affairs office.
     19 been entered in Lawtrac.                         19      Q. Do you know where that was
     20       Q. And this kind of                        20 located? Is it in Philadelphia, or --
     21 information, where would it be recorded          21      A. It's in Chesterbrook,
     22 now?                                             22 Pennsylvania, headquarters.
     23       A. In MMS, Matter Management               23      Q. Do you know if those records
     24 System.                                          24 were kept, or were they destroyed ever?

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      1      Q. I want to point your                      1      A. They were moved around
      2 attention to the very last sentence in            2 after -- I'm not sure of the time frame,
      3 that block. It says, Related documents            3 a couple of years, they were moved off
      4 are attached.                                     4 site to Iron Mountain.
      5          From reading the text in                 5      Q. What's Iron Mountain?
      6 that box, do you have any understanding           6      A. Iron Mountain is a storage
      7 of what related documents would have been         7 facility.
      8 attached?                                         8      Q. Do you have any
      9      A. According to the                          9 understanding of whether or not those
     10 description, it would be the Form 590 and        10 records are still kept at Iron Mountain?
     11 photos.                                          11      A. I do not. I don't believe
     12      Q. So if you were to hand me a              12 they are.
     13 copy of a Lawtrac file, it would have,           13      Q. Do you -- you said you don't
     14 I'm guessing, a series of entries like           14 believe they are.
     15 this on a sheet, correct?                        15           Is that because you have any
     16      A. At a minimum, yes.                       16 understanding about them being moved
     17      Q. And then it would also have              17 somewhere else, or you just don't know if
     18 documents included with it?                      18 they're there?
     19      A. Yes.                                     19      A. I don't know if they're
     20      Q. And I understand that this               20 there.
     21 information would have existed                   21      Q. At some point were the paper
     22 electronically on Lawtrac, which is              22 documents migrated to an electronic
     23 different than, like, handing me a file.         23 format?
     24          But was there a way to                  24      A. Yes.
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      1      Q. Do you recall when that                  1  against CSRA policy to close your own due
      2 happened?                                        2  diligence.
      3      A. I don't recall the exact                  3           What does it mean to close
      4 year.                                             4 due diligence?
      5      Q. Do you think it was before                5       A. I believe this is right when
      6 or after 2009?                                    6 Eric started. And so we were using the
      7      A. It was after 2009.                        7 Lawtrac system. And at that time, I
      8      Q. It was before 2015, though,               8 believe we were closing our own matters.
      9 presumably?                                       9       Q. What did it mean to close a
     10      A. Yes. Approximately 2010,                 10 matter, though?
     11 '11.                                             11       A. Meaning that all the due
     12      Q. What was the procedure for               12 diligence has been conducted and
     13 taking the paper files and converting            13 everything is in the file. Just because
     14 them to an electronic format?                    14 it's closed doesn't mean it can't be
     15      A. I'm not following you there.             15 reviewed.
     16      Q. Sure. Let me rephrase that.              16       Q. What kind of due diligence
     17          Do you know if all of the               17 would you have been conducting in this
     18 paper files were converted to electronic         18 kind of an instance? Is it, like, new
     19 format to be recorded in an electronic           19 customer due diligence? Existing
     20 version of Lawtrac?                              20 customer order monitoring due diligence?
     21      A. Yes, I believe they were.                21 Can you tell?
     22      Q. The paper files that                     22           MR. NICHOLAS: Object to the
     23 eventually were stored at Eagle Mountain,        23       form.
     24 do you know how far back those records           24           THE WITNESS: According to
                                              Page 183                                         Page 185
      1 went?                                            1       the description here, as requested
      2      A. I don't know. They went                  2       Form 590 and photos from -- I'm
      3 back a number of years.                           3      not sure what that acronym stands
      4      Q. So you started in diversion               4      for, but he's in sales, for an
      5 control in 2009.                                  5      existing ABC retail pharmacy
      6           Do you think they went back             6      located in Brandon, Missouri, or
      7 five or ten years, if you have an                 7      Mississippi.
      8 understanding?                                    8 BY MR. CLUFF:
      9      A. I don't know.                             9      Q. So that would have been
     10      Q. You could not comment, okay.             10 existing customer due diligence?
     11 That's fine.                                     11      A. Yes.
     12           MR. NICHOLAS: Sterling, I'm            12      Q. And at least at that time,
     13      not going to stop you in                    13 Mr. Cherveny believed that it was against
     14      midstream, but it's 12:30. So               14 policy to close your own due diligence,
     15      it's been an hour and-a-half. If            15 right?
     16      it's going to be a long time --             16          MR. NICHOLAS: Object to the
     17           MR. CLUFF: Let's just                  17      form.
     18      finish with this document and               18          Go ahead.
     19      we'll move on.                              19          THE WITNESS: Yes.
     20 BY MR. CLUFF:                                    20 BY MR. CLUFF:
     21      Q. I just want to go back to                21      Q. Continuing, he says, I need
     22 the substance of Eric's e-mail to you, so        22 to be able to review each due diligence
     23 starting with the first line, where it           23 matter before closing. Also, per my
     24 says, Kevin, per policy. He says, It's           24 memo, the 595 was not properly completed


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      1 in this matter.                                1  in the first sentence, that, All new
      2           Can you tell from the                2  customer due diligence and existing
      3 substance of his e-mail to you what was         3 customer due diligence and threshold
      4 improperly completed on the 595?                4 review matters should be named
      5      A. I do not know, other than               5 consistently in Lawtrac.
      6 what he indicates here.                         6          And then the last sentences
      7      Q. Okay. His closing sentence              7 say, Please pay special attention to the
      8 of this e-mail is, Also, ensure a 595 is        8 misspelling point. This causes havoc
      9 included in all DD.                             9 when trying to pull up a customer file.
     10           Does that stand for due              10          Did you ever experience
     11 diligence?                                     11 having problems finding customer
     12      A. It does.                               12 information in Lawtrac because of
     13      Q. So he wants it included in             13 misspellings or incomplete files?
     14 all due diligence matters?                     14      A. No, I don't recall that.
     15      A. Yes.                                   15      Q. If a customer's due
     16      Q. So if a 595 was missing,               16 diligence was incorrectly named, though,
     17 that would have indicated a gap in the         17 and you went to go search for it, would
     18 due diligence process, right?                  18 you have been able to find it as part of
     19           MR. NICHOLAS: Object to the          19 your due diligence process?
     20      form.                                     20      A. Most likely, yes. Because I
     21           THE WITNESS: Not a gap.              21 could research it by DEA license.
     22      It's just it's missing.                   22      Q. What did you think Mr.
     23 BY MR. CLUFF:                                  23 Cherveny was referring to when he
     24      Q. So missing information.                24 referenced misnaming of files causing

                                            Page 187                                          Page 189
      1          MR. NICHOLAS: Object to the           1 havoc in customer files?
      2      form.                                     2         MR. NICHOLAS: Object to the
      3 BY MR. CLUFF:                                  3     form. Lack of foundation.
      4      Q. I want you to turn the page            4         THE WITNESS: It appears
      5 to the memo that Mr. Cherveny referenced       5     he's just ensuring that we're all
      6 in his e-mail and that he attached.            6     on the same page and naming the
      7          He says that upon review of           7     matters the same across the board.
      8 due diligence matters, he observed some        8 BY MR. CLUFF:
      9 areas that he wanted to comment on.
     10          Do you recall having any
     11 conversations with Mr. Cherveny about his
     12 comments about due diligence in 2015?
     13      A. I do not.
     14      Q. Was new customer and
     15 existing customer due diligence something
     16 that you discussed with Mr. Cherveny as a
     17 general part of your job
     18 responsibilities?
     19      A. I don't personally recall
     20 responding to him.
     21      Q. Look at the first bold
     22 heading. It says, Lawtrac matters.
     23          The next heading down is,
     24 Number 1, Naming matters. He points out,


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                                                18 BY MR. CLUFF:
                                                19     Q. Does this refresh your
                                                20 recollection at all about when the Form
                                                21 590 problem was first identified?
                                                22     A. No, it does --
                                                23         MR. NICHOLAS: Object to the
                                                24     form.
                                     Page 191                                          Page 193
                                                 1          THE WITNESS: No, it does
                                                 2      not.
                                                 3 BY MR. CLUFF:
                                                 4      Q. But the accuracy and
                                                 5 completeness of information on the Form
                                                 6 590 was at least something that you were
                                                 7 discussing in the CSRA department as
                                                 8 early as February of 2015, correct?
                                                 9          MR. NICHOLAS: Object to the
                                                10      form.
                                                11          THE WITNESS: It could have
                                                12      been.
                                                13 BY MR. CLUFF:
                                                14      Q. I want you to look at the
                                                15 second-to-last paragraph on the third
                                                16 page, which ends in 443.
                                                17          The paragraph that starts, I
                                                18 don't want to send the wrong message.
                                                19          He says, in the
                                                20 second-to-last sentence, It's very
                                                21 important that we be consistent and
                                                22 detail oriented with all of our due
                                                23 diligence records.
                                                24          MR. NICHOLAS: You don't
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      1      want to read the first two
      2      sentences to him?
      3          MR. CLUFF: Sure, Bob.
      4 BY MR. CLUFF:
      5      Q. For the most part, the
      6 matters I reviewed here were very clear
      7 and complete.
      8          Then he continues, It's very
      9 important that we be consistent and
     10 detail oriented with all of our due
     11 diligence records. Taking these steps
     12 will help to preserve the integrity and
     13 contribute to the overall success of our
     14 OMP program.
     15          Did I read that accurately?
     16      A. Yes.




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                                                          5       MR. CLUFF: Let's go off the
                                                          6   record, and we'll break for lunch.
                                                          7       VIDEO TECHNICIAN: Off the
                                                          8   record at 12:41 p.m.
                                                          9          - - -
                                                         10       (Whereupon, a luncheon
                                                         11   recess was taken.)
                                                         12          - - -
                                                         13       VIDEO TECHNICIAN: We're
                                                         14   back on the record at 1:35 p.m.
                                                         15       MR. CLUFF: Is counsel for
                                                         16   Teva on the phone?
                                                         17       MR. MAIER: Yes.
                                                         18       MR. CLUFF: I wanted to give
                                                         19   you a heads up that I'm going to
                                                         20   ask Mr. Kreutzer about some
                                                         21   Teva-produced documents, all of
                                                         22   which he is either an author or
                                                         23   recipient of.
                                                         24       I'm going to lay some
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      1     foundation to establish that he               1         So earlier we talked about
      2     worked through the scope of these
      3     e-mails and documents, but I
      4     wanted to give you the list now so
      5     you can look at them. I don't
      6     anticipate that you'll have an
      7     objection, because he's an author.
      8     But do you want to write these
      9     down really quick?
     10           MR. MAIER: Yes, that would
     11     be great. Thank you.
     12           MR. CLUFF: So all of these
     13     have the same Teva_MDL-A prefix,
     14     I'll just give you the number of
     15     the lead document.
     16           The first one is 0233-1299.
     17           MR. MAIER: Okay.
     18           MR. CLUFF: The second one
     19     is 06441441.
     20           MR. MAIER: I'm sorry, can
     21     you repeat that one?
     22           MR. CLUFF: Yeah. It's                  22      A. No, I do not.
     23     06441441.                                    23      Q. And I understand that there
     24           MR. MAIER: Okay.                       24 is a privilege being asserted on some of

                                              Page 199                                            Page 201
      1           MR. CLUFF: The next one is              1 the work that FTI did in 2015 for
      2       0233-1346.                                  2 AmerisourceBergen. I just want to remind
      3           MR. MAIER: Okay.                        3 you of that. So don't testify to
      4           MR. CLUFF: After that, it's             4 anything that you learned from your
      5       0233-1426.                                  5 lawyers about those parameters.
      6           And we included the                     6          And your lawyer is free to
      7       attachments to all of those, if             7 interpose an objection, but I just wanted
      8       they had one. I think they all              8 to all be clear that I have some
      9       did. And if they had multiple               9 questions about your understanding, but I
     10       attachments, we did our best to            10 don't want attorney communications.
     11       make sure they were all included.
     12           MR. MAIER: Okay.
     13           MR. CLUFF: So take a look.
     14       Just wanted you to be aware so
     15       there weren't any surprises or,
     16       you know, problems with them.
     17           But as I said, I'm going to
     18       lay a foundation and he's the
     19       author on all of those.
     20           MR. MAIER: Okay.
     21 BY MR. CLUFF:
     22       Q. So, Mr. Kreutzer, we're back
     23 on the record again. As before, you're
     24 still under oath.


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                                                                         as opposed to a
                                                24   threshold review?
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                                                        1 work you did with Colleen McGinn on
      2      Q. Okay. All right. We                     2 developing the suspicious order
      3 previously discussed that you briefly           3 monitoring program for Teva?
      4 worked at Teva, correct?                        4      A. She had wanted me to work
      5      A. Yes.                                    5 with the IT group internally, as well as
      6      Q. And that you worked under               6 an individual outside the company, for
      7 Colleen McGinn; is that right?                  7 which they had a system already in place.
      8      A. Yes.                                    8 I believe they were the developers of a
      9      Q. In fact, I think you                    9 new -- of this system. And she had
     10 testified that she actually interviewed        10 wanted me to work with him.
     11 you for the job?                               11      Q. Do you recall his name?
     12      A. Correct.                               12      A. I believe it was Bob
     13      Q. Did you -- do you recall               13 Williamson.
     14 interviewing with anybody else during the      14      Q. Do you recall what company
     15 time you worked at Teva, or before you         15 he worked for?
     16 got the job at Teva?                           16      A. Buzzeo, I believe.
     17      A. I do believe I met with two            17      Q. And is that the company that
     18 other individuals.                             18 you recall that had a system that they
     19      Q. Who were they?                         19 could roll out with Teva?
     20      A. Mike Edwards, I believe.               20      A. Yes.
     21 And there was an individual in customer        21      Q. Do you recall having
     22 service, the manager there that I              22 meetings with Bob Williamson?
     23 interviewed with, which I cannot remember      23      A. Yes. At least once.
     24 her name.                                      24      Q. As part of the work you did
                                            Page 219                                           Page 221
      1      Q. Who was Mike Edwards?                   1 for Colleen McGinn, did you have
      2      A. He was just another person              2 meetings, or at least prepare for
      3 that reported to Colleen. I don't               3 meetings, with Mallinckrodt?
      4 remember his title.                             4          MR. MAIER: Object to form.
      5      Q. I may have asked this                   5          THE WITNESS: I believe we
      6 already, and if I did, I apologize.             6      did meet Mallinckrodt in person.
      7          But do you recall what                 7 BY MR. CLUFF:
      8 Colleen McGinn's title was?                     8      Q. Do you recall scheduling
      9      A. I don't know exactly.                   9 meetings with the big four distributors?
     10 Diversion operations director. I know          10      A. Yes.
     11 she had a director title.                      11          MR. MAIER: Object to form.
     12      Q. Do you recall if she was the           12 BY MR. CLUFF:
     13 head of DEA compliance?                        13      Q. Do you have a recollection,
     14      A. Yes.                                   14 at the time you worked at Teva, who the
     15      Q. So she would have been the             15 big four distributors were?
     16 director of DEA compliance?                    16      A. I know it was ABC, McKesson,
     17      A. Correct.                               17 Cardinal. And I'm not sure if the fourth
     18      Q. Do you recall working with             18 was Morris -- it might have been Morris
     19 Colleen McGinn on developing Teva's            19 Dickson or HD Smith, one of the two.
     20 suspicious order monitoring program?           20      Q. As part of your work for
     21      A. I do.                                  21 Colleen McGinn, do you recall ever
     22          MR. MAIER: Object to form.            22 putting together SOM, or suspicious order
     23 BY MR. CLUFF:                                  23 monitoring, training programs or
     24      Q. What do you recall about the           24 presentations?


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      1     A. I had -- I had presented                1       an attachment to this e-mail that
      2 three presentations, yes.                      2       is titled, Teva relaunch.zip.
      3     Q. And what were those                      3           I've included those
      4 presentations about?                            4      documents with the e-mail, to the
      5     A. It was the -- I believe Bob              5      best of my ability. Some of them
      6 Williamson helped me develop the                6      have a designation, file produced
      7 presentation. It was about the current          7      natively. The total document runs
      8 issues with the opioid crisis and some          8      through 02331320.
      9 other stats.                                    9 BY MR. CLUFF:
     10     Q. And who did you give those              10      Q. Mr. Kreutzer, this is a
     11 presentations to?                              11 longer document. I'm not going to ask
     12     A. One was to Colleen's group.             12 you questions about every page.
     13 Another was the customer service group.        13           So rather than us waste your
     14 And then one I gave to the customer            14 time with you going through every page of
     15 service manager individually.                  15 it, which you're free to do if you
     16     Q. And Colleen's group was the             16 desire, what I was going to propose is
     17 DEA compliance group?                          17 that I point to you the places in the
     18     A. Yes.                                    18 document where I'd like to discuss with
     19     Q. At Teva, based on your work             19 you. And then when we get there, if you
     20 there, do you recall that customer             20 feel like you need to review that page or
     21 service was responsible for a portion of       21 that piece of this document, you can let
     22 Teva's suspicious order monitoring             22 me know, and we can give you a minute or
     23 program?                                       23 two off the record to do that.
     24          MR. MAIER: Object to the              24           Does that sound like a
                                            Page 223                                          Page 225
      1     form.                                      1  workable proposal?
      2         THE WITNESS: A small part,             2        A. That's fair.
      3     yes.                                        3       Q. Thank you.
      4 BY MR. CLUFF:                                   4           Let's start on the first
      5     Q. Is that why you would have               5 page, which is the e-mail from Robert
      6 been presenting to that group about             6 Williamson. If you look up at the top
      7 suspicious order monitoring?                    7 there, it's from Robert Williamson to
      8     A. Perhaps.                                 8 you, Colleen McGinn and LeRoy Simoes.
      9     Q. Okay.                                    9 I'm probably not saying that right.
     10         MR. MAIER: Object to form.             10           Why don't you go ahead and
     11 BY MR. CLUFF:                                  11 review this cover e-mail?
     12     Q. I'll hand you a copy of what            12       A. Okay. Good.
     13 we'll mark as Number 3.                        13       Q. So I want to look at the
     14            - - -                               14 first full paragraph there under the good
     15         (Whereupon,                            15 morning salutation.
     16     AmerisourceBergen-Kreutzer                 16           So the person writing the
     17     Exhibit-3,                                 17 e-mail is Robert Williamson. I believe
     18     Teva_MDL_A_(0)233-1299-320, was            18 you referred to him as Bob. Is it okay
     19     marked for identification.)                19 if I refer to him as Bob?
     20           - - -                                20       A. Sure.
     21         MR. CLUFF: For counsel on              21       Q. Not to be confused with your
     22     the phone, this is the first Teva          22 esteemed lawyer here.
     23     document that I mentioned. It's            23           He says, I've attached some
     24     Teva_MDL_A_(0)233-1299. There's            24 documents that we previously worked on.


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                                                                              Review
                                            Page 226                                          Page 228
      1         Do you recall if the "we" he           1       Q. Why were you trying to
      2 was discussing was Buzzeo and Teva, or if      2  enhance it?
      3 he meant just employees at Teva?                3      A. Just like with any system,
      4      A. I'm not sure.                           4 you're always trying to enhance the
      5      Q. He continues and says that,             5 system as it goes on.
      6 These documents may be useful for this          6      Q. In 2013 -- actually, I
      7 morning's call. If not, they surely will        7 believe we discussed earlier the time
      8 be when he comes to meet with you --            8 period during which you worked at Teva,
      9 "you" being Kevin.                              9 and I think you said that you joined that
     10         Do you see that?                       10 company in 2012 and you worked there for
     11      A. Yes.                                   11 three months.
     12      Q. So without requiring you to            12          Looking at the date in this
     13 review all these documents, do you recall      13 e-mail, which is January 2013, does that
     14 having calls with employees from Buzzeo        14 refresh your recollection about how long
     15 about suspicious order monitoring?             15 you would have worked at Teva?
     16      A. I do recall speaking with              16      A. It does.
     17 Bob. But I don't remember much about           17      Q. So is it possible that you
     18 those calls.                                   18 worked until the middle of 2013 instead
     19      Q. Do you recall having a                 19 of middle of 2012?
     20 meeting with him some time in late             20      A. I started January 7th, as I
     21 January or early February of 2013?             21 indicated previously, but I may have said
     22      A. We did meet.                           22 2012. So it was 2013 until April 1st,
     23      Q. What was the substance of              23 2013.
     24 that meeting?                                  24      Q. So your recollection is that
                                            Page 227                                          Page 229
      1      A. I don't remember                       1  you started in January 2013 instead of
      2 specifically. I really don't remember          2  2012?
      3 the content.                                    3      A. That is correct.
      4      Q. Okay. I mean, as a general              4      Q. Understood.
      5 matter, do you recall why you and Colleen       5          And so you would have worked
      6 were meeting with Buzzeo during this time       6 until approximately April of 2013?
      7 period?                                         7      A. April 1st.
      8          MR. MAIER: Object to form.             8      Q. Okay. Understood.
      9          THE WITNESS: Yes. My                   9          In the months that you
     10      understanding is that we were             10 worked at Teva, do you think you
     11      trying to develop an SOM program,         11 developed a pretty good working
     12      or a system, or a more enhanced           12 understanding of Teva's suspicious order
     13      system than they currently had.           13 monitoring system?
     14 BY MR. CLUFF:                                  14          MR. MAIER: Object to form.
     15      Q. Was it your understanding              15          THE WITNESS: I felt like I
     16 that Teva did not have a well-developed        16      had a good understanding of their
     17 SOM system in 2013?                            17      system in place.
     18          MR. MAIER: Object to form.            18 BY MR. CLUFF:
     19          THE WITNESS: No, I don't              19      Q. Did you feel like it was a
     20      believe that. I know they had a           20 robust system?
     21      system in place, but I believe we         21          MR. MAIER: Object to form.
     22      were trying to enhance that               22          THE WITNESS: I felt like it
     23      system.                                   23      was a good system that they had.
     24 BY MR. CLUFF:                                  24 BY MR. CLUFF:


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                                                                              Review
                                            Page 230                                          Page 232
      1      Q. Did you feel like it was               1  concept -- or what -- the term that is in
      2 complying with all of the rules and            2  quotes there, red flags?
      3 regulations for manufacturing controlled        3          MR. MAIER: Object to form.
      4 substances?                                     4          THE WITNESS: Yes.
      5          MR. MAIER: Object to form.             5 BY MR. CLUFF:
      6          THE WITNESS: I believe so.             6      Q. What are red flags?
      7 BY MR. CLUFF:                                   7      A. Red flags may be situations
      8      Q. I want you to turn back with            8 where -- a situation where you would need
      9 me ten pages back. There is -- one of           9 to take a closer look at.
     10 the attachments is a document, it              10      Q. And why would you be taking
     11 should -- my copy is in color, I'm not         11 a closer look at them?
     12 sure if yours is.                              12      A. I can only address what's in
     13          But at the top it says,               13 this document. And these are the red
     14 Cegedim relationship management                14 flags that are addressed in this
     15 compliance solutions powered by Buzzeo         15 document.
     16 PDMA. I believe that's a two-page
     17 attachment.
     18          Do you want to look at that
     19 and familiarize yourself with it? I have
     20 a few questions for you.
     21          MR. MAHADY: 13087?
     22          MR. CLUFF: I think that's
     23      right. The copy I printed for
     24      myself doesn't have the Bates
                                            Page 231                                          Page 233
      1       number.
      2          We have it down here, 1308.
      3          THE WITNESS: Just 1308 and
      4       1309 to look at?
      5          MR. CLUFF: Yes.
      6          THE WITNESS: Okay.
      7 BY MR. CLUFF:
      8       Q. So the title of this
      9 document, you can see at the top, is,
     10 Teva Accounts, quote, Red Flags, closed
     11 quote.
     12          Do you have any recollection
     13 of what this document was that Buzzeo
     14 attached to its cover e-mail for you?
     15       A. I do not recollect this
     16 document.
     17       Q. Do you have any reason to
     18 dispute that this is a true and accurate
     19 copy of a document that was provided to
     20 Teva, or to you while you were employed
     21 at Teva?
     22       A. I have no reason to doubt
     23 that.
     24       Q. Are you familiar with the
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                                                                              Review
                                            Page 234                                             Page 236
      1      Q. Do you see here that Buzzeo             1         MR. NICHOLAS: Object to the
      2 identified a large percentage of                2      form.
      3 controlled substances versus NCS as a red       3         THE WITNESS: Could be.
      4 flag?                                           4 BY MR. CLUFF:
      5      A. Yes.                                    5      Q. Was Teva currently
      6      Q. You disagree with that                  6 monitoring for DEA compliance issues
      7 statement?                                      7 before they received this red flags list
      8      A. No, I don't disagree.                   8 from Buzzeo?
      9      Q. What about going down one               9         MR. MAIER: Objection. Form
     10 more on the list, DEA compliance issues.       10      and foundation.
     11          Do you see that Buzzeo                11         THE WITNESS: That, I don't
     12 identified DEA compliance issues as a red      12      know.
     13 flag that Teva should be looking at?           13 BY MR. CLUFF:
     14      A. Right.                                 14      Q. Let's move down the list
     15      Q. Are you aware that                     15 three more. It says, Lack of suspicious
     16 AmerisourceBergen had its registration         16 order monitoring system.
     17 suspended in 2007?                             17         Are you aware of any Teva
     18      A. Yes.                                   18 customers that lacked a suspicious order
     19      Q. Would you qualify that as a            19 monitoring system?
     20 DEA compliance issue?                          20      A. I am not.
     21          MR. NICHOLAS: Object to the           21      Q. At the time that you
     22      form. Lack of foundation.                 22 received this information from Buzzeo,
     23          THE WITNESS: Not                      23 are you aware if Teva was monitoring for
     24      necessarily.                              24 suspicious order monitoring systems by

                                            Page 235                                             Page 237
      1 BY MR. CLUFF:                                   1 its customers?
      2      Q. So in your opinion as a                 2      A. I believe they were.
      3 diversion control specialist, having            3      Q. How about the next one down,
      4 worked at AmerisourceBergen, losing a DEA       4 Threshold-based suspicious order
      5 registration -- let me clarify -- having        5 monitoring system.
      6 a DEA registration suspended is not a DEA       6          Do you see that that's a red
      7 compliance issue?                               7 flag that Buzzeo identified for Teva?
      8          MR. NICHOLAS: Object to the            8      A. Yes.
      9      form. Lack of foundation.
     10          THE WITNESS: It could be,
     11      based on the results of why the
     12      registration was suspended.
     13 BY MR. CLUFF:
     14      Q. In your work in diversion
     15 control since approximately 2009, are you
     16 aware that Cardinal Health and McKesson        16      Q. Would you agree that based
     17 also, at various points, had their             17 on this list, that should have been a red
     18 registrations suspended?                       18 flag to Teva?
     19          MR. KELLY: Objection.                 19      A. No, I do not agree.
     20      Form.                                     20          MR. MAIER: Objection.
     21          THE WITNESS: I believe so.            21      Form.
     22 BY MR. CLUFF:                                  22 BY MR. CLUFF:
     23      Q. Would you qualify those as             23      Q. But do you agree that Buzzeo
     24 DEA compliance issues?                         24 identified it as a red flag for Teva?


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                                                                              Review
                                            Page 238                                            Page 240
      1         MR. NICHOLAS: Object to the             1          MR. MAIER: Objection.
      2     form. Lack of foundation.                   2      Foundation.
      3         THE WITNESS: I don't agree              3          MR. NICHOLAS: Object to
      4     with that.                                  4      form and foundation.
      5 BY MR. CLUFF:                                   5          THE WITNESS: I don't agree
      6     Q. Buzzeo was hired by Teva,                6      with that.
      7 though, to help improve Teva's suspicious       7 BY MR. CLUFF:
      8 order monitoring system, correct?               8      Q. Do you not agree that it is
      9         MR. NICHOLAS: Objection.                9 a red flag, is what you're saying?
     10     Form. Foundation.                          10      A. I don't agree that it's a
     11         MR. MAIER: Object to form.             11 red flag.
     12         THE WITNESS: Yes.                      12      Q. But do you see that Buzzeo
     13 BY MR. CLUFF:                                  13 recommends it as a red flag?
     14     Q. But you disagree with their             14      A. I do see that.
     15 recommendations regarding red flag             15      Q. Do you know whether Teva
     16 monitoring?                                    16 adopted that portion of the list as part
     17         MR. NICHOLAS: Objection to             17 of its suspicious order monitoring
     18     the form. Lack of foundation.              18 system?
     19         THE WITNESS: I don't know              19      A. I do not know. And I don't
     20     what discussions took place, other         20 recall this document.
     21     than the document in front of me.          21      Q. Do you see the next major
     22     There may have been additional             22 heading down at the bottom of that first
     23     discussions and/or documents that          23 page says, Downstream?
     24     may not be here.                           24      A. Yes.
                                            Page 239                                            Page 241
      1 BY MR. CLUFF:                                   1     Q.     What does that refer to?
      2       Q. That was actually my next              2          MR. MAIER: Objection. Form
      3 question.                                       3      and foundation.
      4          Do you know whether Teva               4          THE WITNESS: I'd have to
      5 adopted this list of red flags for their        5      read over this.
      6 suspicious order monitoring system?             6          I'm not sure exactly what
      7       A. I do not.                              7      that refers to.
      8       Q. So you're unaware whether              8 BY MR. CLUFF:
      9 Teva decided to monitor its customers for       9      Q. Does it possibly -- based on
     10 threshold-based systems?                       10 your understanding of Teva's business
     11       A. I do not know.                        11 model, does it possibly refer to
     12       Q. Do you see the next one down          12 suspicious order monitoring of downstream
     13 on the list is, Customer due diligence         13 customers like pharmacies?
     14 deficiencies?                                  14          MR. MAIER: Object to form
     15       A. Yes.                                  15      and foundation.
     16       Q. We previously talked about            16          THE WITNESS: I don't know.
     17 the problems with the Form 590 validation      17      There's not enough information
     18 project.                                       18      here for me to make a decision.
     19          Would you agree that Teva             19 BY MR. CLUFF:
     20 is -- excuse me, Buzzeo is identifying to      20      Q. We talked about three issues
     21 Teva due diligence deficiencies like the       21 on this list, DEA compliance issues,
     22 590 project as a red flag?                     22 threshold-based suspicious order
     23          MR. NICHOLAS: Object to the           23 monitoring system, and customer due
     24       form.                                    24 diligence deficiencies. I think that's


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      1 Number 2, 6 and 7 on the list.                   1      Q. How about customer due
      2       A. Yes.                                    2 diligence deficiencies, do you agree that
      3       Q. And you said you disagreed              3 that should be a red flag for Teva about
      4 that those are red flags.                        4 its customers?
      5           Why do you feel that those             5          MR. MAIER: Objection. Form
      6 are not red flags?                               6      and foundation.
      7           MR. NICHOLAS: Object to the            7          MR. NICHOLAS: Same.
      8       form.                                      8          THE WITNESS: It could be,
      9           MR. MAIER: Objection.                  9      based on the circumstances.
     10           THE WITNESS: I don't agree,           10 BY MR. CLUFF:
     11       because, first, I don't recall            11      Q. I want to point out one
     12       this document; and, second, there         12 more. It says, Distribution to brokers
     13       may have been changes made to this        13 and/or buying groups.
     14       document that I'm unaware of.             14          Do you understand what a
     15 BY MR. CLUFF:                                   15 pharmacy buying group is?
     16       Q. I guess my question is a               16      A. We do have pharmacy buying
     17 little bit different. I'm not asking you        17 groups, but I'm not really familiar with
     18 whether Teva actually adopted these             18 the complete definition.
     19 recommendations.                                19      Q. But AmerisourceBergen does
     20           What I was asking is, you             20 distribute to buying groups?
     21 know, for example, do you think that a          21      A. Correct.
     22 DEA compliance issue with one of Teva's         22      Q. What about distribution to
     23 customers should have been a red flag to        23 repackagers and relabelers, do you know
     24 Teva?                                           24 what repackagers and relabelers are?

                                             Page 243                                           Page 245
      1          MR. MAIER: Objection.                   1      A. I don't recall any customers
      2      Form.                                       2 offhand.
      3          THE WITNESS: It could be,               3      Q. Do you know if
      4      based on the circumstances.                 4 AmerisourceBergen distributes to
      5 BY MR. CLUFF:                                    5 repackagers or relabelers?
      6      Q. How about a threshold-based              6      A. I can't think of one
      7 suspicious order monitoring system, do           7 customer at the moment.
      8 you feel that that should have been a red        8      Q. Does AmerisourceBergen, the
      9 flag to Teva about its customers?                9 parent company, have any other business
     10          MR. MAIER: Objection.                  10 segments that might qualify as
     11      Form.                                      11 repackagers or relabelers, based on your
     12          MR. NICHOLAS: Same                     12 understanding of those terms?
     13      objection. And lack of                     13          MR. NICHOLAS: Object to the
     14      foundation.                                14      form. Lack of foundation.
     15          THE WITNESS: I don't think             15          THE WITNESS: I just don't
     16      so.                                        16      know. I don't know those
     17 BY MR. CLUFF:                                   17      customers.
     18      Q. Why not?                                18 BY MR. CLUFF:
     19      A. I don't think so because                19      Q. The last term on this list
     20 just because an account has a                   20 is suspicious activity, on the first
     21 threshold -- or a supplier has a                21 page, just above downstream.
     22 threshold-based system doesn't mean that        22          Do you see that?
     23 the customers are aware of those                23      A. Yes.
     24 thresholds.                                     24      Q. Do you know what suspicious
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                                            Page 246                                           Page 248
      1 activity Buzzeo might have been referring       1 with a dotted line. It says, Comment,
      2 to with that --                                 2 bracket, RB1, closed bracket.
      3          MR. MAIER: Objection. Lack             3           Do you know what RB would
      4      of foundation.                             4 have stood for?
      5 BY MR. CLUFF:                                   5      A. I do not.
      6      Q. -- with that bullet?                    6      Q. And the comment says, What
      7      A. I do not.                               7 about limiting responsibility to DEA
      8      Q. If you turn two pages back              8 compliance?
      9 in the document, the Bates number is            9           Do you know what that refers
     10 ending in 1310. The top heading is,            10 to?
     11 Compliance solutions powered by Buzzeo         11      A. No. I don't recall this
     12 PDMA. It looks like that document is           12 document.
     13 four pages long, and ends at 1313.             13      Q. Let's flip to the next page,
     14          I can tell you, I have just           14 which ends in 1312.
     15 a couple of questions for you and they         15           Looking at Paragraph 8,
     16 are about the comment boxes that appear        16 Clearing an order from suspicion.
     17 in the right-hand margin, which are on         17 Subparagraph 8.2 says, All orders will be
     18 the second and third page.                     18 initially investigated by customer
     19          So you can review that                19 service representatives.
     20 document, but that's the -- that's where       20           And there's another comment
     21 I'm going to focus.                            21 box, again, RB2.
     22      A. Okay.                                  22           Does that refresh your
     23      Q. Do you have any                        23 recollection about who RB2 might be?
     24 understanding of what this document is?        24      A. No. I don't know who RB is.
                                            Page 247                                           Page 249
      1      A. Just other than the title.              1      Q. And then there are three
      2      Q. What does the title indicate            2 questions there. Should this only be in
      3 to you?                                         3 this department? What about DEA
      4      A. SOM SOP template. So I'm                4 compliance? Should they have primary
      5 assuming it's suspicious order monitoring       5 role?
      6 standard operating procedures.                  6          Do you have any
      7      Q. And would these be a                    7 understanding about what those questions
      8 template that Buzzeo was providing to           8 are about?
      9 Teva as part of its suspicious order            9      A. No.
     10 monitoring policies?                           10      Q. Do you have any recollection
     11           MR. MAIER: Objection.                11 of a discussion at Teva about whether
     12      Foundation.                               12 customer service versus DEA compliance
     13           THE WITNESS: I don't -- I            13 should have responsibility for suspicious
     14      don't remember this document.             14 order policies and procedures?
     15 BY MR. CLUFF:                                  15          MR. MAIER: Objection.
     16      Q. Turning to the second page,            16      Form.
     17 which is 1311, there's a Paragraph Number      17          THE WITNESS: I don't recall
     18 4 that says, Responsibility.                   18      a discussion being made.
     19           And under that, in bold              19 BY MR. CLUFF:
     20 italics, it says, DEA compliance,              20      Q. Do you recall who had
     21 question mark. DEA compliance and              21 primary responsibility for things like
     22 customer service, question mark.               22 suspicious order monitoring and clearing
     23           And I'll note that there is          23 suspicious orders?
     24 a comment box that pops out from service,      24      A. I know I reviewed them when
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                                                                              Review
                                            Page 250                                          Page 252
      1 I was in that role.                            1  that starts on (0)2331347, have you ever
      2      Q. And what were you reviewing            2  seen that document before?
      3 them for at the time?                           3      A. I don't recall this
      4      A. According to the documents,             4 document.
      5 for pended orders, I was reviewing for a        5      Q. Do you recall preparing it
      6 pattern and if a drug was pended before.        6 at all?
      7      Q. What does it mean to be                 7      A. I don't recall preparing it
      8 pended?                                         8 either.
      9      A. I'm assuming that means when            9      Q. But do you generally recall
     10 the order goes into review status.             10 preparing for a meeting with Mallinckrodt
     11             - - -                              11 in February of 2013?
     12          (Whereupon,                           12      A. I do, but I don't remember
     13      AmerisourceBergen-Kreutzer                13 the content, what information we were
     14      Exhibit-4,                                14 preparing for our visit.
     15      Teva_MDL_A_(0)233-1346-348, was           15      Q. Do you have any reason to
     16      marked for identification.)               16 dispute that this is a true and correct
     17            - - -                               17 copy of an e-mail that you -- I mean, a
     18          MR. CLUFF: I put a sticker            18 document that you and Colleen McGinn
     19      on my copy so -- I'll give you the        19 worked on together in February of 2014?
     20      next document, which we marked as         20      A. No, I don't.
     21      4.                                        21      Q. The subject matter of this
     22          For those on the phone, this          22 e-mail is, Questions for Mallinckrodt.
     23      is Teva_MDL_A_(0)233-1346. It has         23          Do you see that at the top?
     24      an attachment which begins at 1347        24      A. Yes.
                                            Page 251                                          Page 253
      1      and continues to 1348.                    1        Q. And then turning to the
      2 BY MR. CLUFF:                                  2  title of the attachment, it says,
      3      Q. This is a short document,               3 Mallinckrodt, February 7, 2013 visit-SOM
      4 Mr. Kreutzer, so go ahead and familiarize       4 program.
      5 yourself with it.                               5       A. Yes.
      6      A. Okay.                                   6       Q. Would this, then, reflect
      7      Q. Starting at the top, this is            7 questions Teva was going to ask
      8 an e-mail you wrote to Colleen McGinn,          8 Mallinckrodt in a meeting about its SOM
      9 February 4, 2013. Subject: Questions            9 program?
     10 for Mallinckrodt, with the attachment          10       A. Yes, I believe so.
     11 Mallinckrodt February 7.                       11       Q. Do you recall whether, in
     12          And you write, Thanks, I was          12 2013, Teva was coordinating the
     13 working on it -- I was actually working        13 enhancements to its suspicious order
     14 on it so they were in a more organized         14 monitoring program with Mallinckrodt?
     15 manner.                                        15       A. I don't recall that.
     16          Do you recall receiving and           16       Q. Based on this e-mail and the
     17 sending this e-mail to Colleen?                17 questions here that are attached to that
     18      A. I do not.                              18 e-mail, do you have any understanding
     19      Q. Do you have any reason to              19 that Teva was coordinating its suspicious
     20 dispute that this is a true and accurate       20 order monitoring program with
     21 copy of an e-mail that you received from       21 Mallinckrodt?
     22 Colleen and then replied to?                   22       A. No, I don't.
     23      A. No.                                    23           MR. MAIER: Form.
     24      Q. Looking at the attachment              24       Foundation.
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      1 BY MR. CLUFF:                                   1       Q. Do you recall what time
      2     Q. What about an understanding              2  frame that was?
      3 of enhancing its program in coordination         3      A. I do not, but it was within
      4 with Mallinckrodt?                               4 my 90 days between January and end of
      5     A. I don't recall that.                      5 March.
      6     Q. Do you recognize the name                 6      Q. And you mentioned
      7 Jack Crowley?                                    7 AmerisourceBergen, what about -- can you
      8     A. I don't remember his name.                8 tell me what happened with
      9 Where do you see his name?                       9 AmerisourceBergen?
     10     Q. It's a name I have in my                 10      A. Conducted an audit. It was
     11 head that I was curious if you                  11 a questionnaire that we presented to Ed
     12 understand.                                     12 Hazewski. I was with Bob Mallinckrodt --
     13         Do you know if Colleen                  13 not Bob Mallinckrodt, Bob Williamson on
     14 McGinn talked to anybody at any other           14 my visit with Ed.
     15 manufacturers about Buzzeo or suspicious        15      Q. And that's Bob Williamson
     16 order monitoring?                               16 from Buzzeo?
     17     A. No, I don't.                             17      A. That is correct.
     18         MR. MAIER: Objection.                   18      Q. So together you conducted an
     19     Foundation.                                 19 audit, using a questionnaire, of
     20 BY MR. CLUFF:                                   20 Amerisource's programs?
     21     Q. In the work that you did                 21      A. Correct.
     22 with Colleen on enhancing Teva's                22      Q. Did you -- going back to
     23 suspicious order monitoring program, did        23 this attachment, the Mallinckrodt
     24 you communicate with anybody from any           24 February -- Mallinckrodt February 7, 2013

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      1 other manufacturers?                            1  visit, did you go -- do you know if this
      2      A. AmerisourceBergen.                      2  meeting happened between Teva and
      3      Q. That's a distributor though,             3 Mallinckrodt on February 7th?
      4 right?                                           4      A. It did.
      5      A. I'm sorry. I misunderstood               5      Q. Did you attend the meeting?
      6 the question.                                    6      A. I did.
      7         You said manufacturers?                  7      Q. So you're aware of these
      8      Q. Yes.                                     8 questions that were asked to Mallinckrodt
      9      A. I did conduct an audit of                9 by Teva?
     10 Cardinal's program.                             10      A. I'm sure we did use these
     11      Q. That's also a distributor,              11 questions as part of our visit, but I
     12 right?                                          12 don't remember their responses.
     13      A. Yes. I'm sorry.                         13      Q. Do you recall if these
     14      Q. So did you personally meet              14 questions were asked to Mallinckrodt
     15 with anybody from a manufacturer like           15 because Teva was looking for advice on
     16 Purdue or Actavis or Endo --                    16 how to structure its own SOM program?
     17      A. I have not, no.                         17          MR. MAIER: Objection.
     18      Q. You did mention, though,                18      Form.
     19 that you met -- you conducted an audit of       19          THE WITNESS: No, I don't
     20 Cardinal Health.                                20      know that.
     21         What was that?                          21 BY MR. CLUFF:
     22      A. They were providing me a                22      Q. Do you have any reason to
     23 PowerPoint presentation of their order          23 dispute that Teva was asking for guidance
     24 monitoring program.                             24 on establishing an SOM program?


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      1      A. Teva was looking to enhance           1  occurring in February 2013? I think the
      2 their order monitoring program.               2  question is, Do you have a risk analysis
      3      Q. And was this meeting part of           3 of customers that are less of a threat
      4 the effort to enhance the program?             4 than others?
      5      A. I don't know.                          5          And there's a bullet point
      6      Q. Okay. Do you have any                  6 there, For example, AmerisourceBergen,
      7 recollection of why this meeting happened      7 Cardinal and McKesson, less than a threat
      8 with Mallinckrodt?                             8 than a small distributor and retail
      9      A. I do not remember.                     9 pharmacy chain.
     10      Q. Looking under the category            10          Is that right? Did I read
     11 general there, it's underlined at the         11 it accurately?
     12 top.                                          12      A. That is correct, yes.
     13          The first question is, Can           13      Q. In February of 2013, were
     14 you describe the SOM program you have in      14 you aware that AmerisourceBergen,
     15 place?                                        15 Cardinal and McKesson had all, at various
     16          Would you agree here that            16 times, had their registrations to
     17 Teva was asking Mallinckrodt to describe      17 distribute controlled substances
     18 its SOM program?                              18 suspended?
     19      A. Yes.                                  19          MR. KELLY: Object to the
     20      Q. The next question down is,            20      form.
     21 How did you roll out your program to          21          MR. NICHOLAS: Object to the
     22 customers?                                    22      form. And foundation.
     23          Is that correct?                     23          THE WITNESS: I don't recall
     24      A. Yes.                                  24      the suppliers having their
                                           Page 259                                          Page 261
      1      Q. Moving down a few it says,            1       licenses suspended.
      2 Have you had any pushback?                    2  BY MR. CLUFF:
      3          Do you recall if                      3      Q. You don't recall that these
      4 Mallinckrodt described any pushback about      4 suppliers had their licenses suspended?
      5 its SOM program?                               5          MR. NICHOLAS: Object to the
      6      A. I do not remember.                     6      form.
      7      Q. The next one down is, How do           7          THE WITNESS: I do not
      8 you handle noncompliance issues?               8      recall.
      9          Do you recall if                      9 BY MR. CLUFF:
     10 Mallinckrodt discussed any noncompliance      10      Q. If you knew at the time, in
     11 issues?                                       11 2013, that Amerisource, Cardinal and
     12      A. No, I do not.                         12 McKesson had all had their licenses
     13      Q. And then what about the last          13 suspended, would you have classified them
     14 bullet point there, it says, What kind of     14 as a lower threat than smaller
     15 training did you perform? Customer            15 distributors?
     16 service? SOM employees?                       16          MR. NICHOLAS: Object to the
     17          Do you recall discussing             17      form.
     18 that?                                         18          Go ahead.
     19      A. No, I don't.                          19          THE WITNESS: I don't
     20      Q. Under customer due                    20      recall.
     21 diligence, do you see that? It's the          21 BY MR. CLUFF:
     22 second underlined heading.                    22      Q. There's a note here about
     23      A. Yes.                                  23 retail pharmacy chains.
     24      Q. And you recall that this was          24          What companies come to mind
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      1 as examples of retail pharmacy chains?          1      Form and foundation.
      2          MR. NICHOLAS: Object to the            2          THE WITNESS: According to
      3      form.                                      3      what's on the form that's in front
      4          THE WITNESS: I don't                   4      of me.
      5      remember the pharmacy chains that          5 BY MR. CLUFF:
      6      Teva serviced.                             6      Q. Skipping down two bullet
      7 BY MR. CLUFF:                                   7 points, it says, How do you determine how
      8      Q. I'm asking just your general            8 high a threshold should be? Do you make
      9 recollection, who would be -- like,             9 a threshold adjustment if warranted? How
     10 qualify as a pharmacy chain?                   10 is that done?
     11      A. Rite Aid. Walgreens.                   11          Would you agree here that
     12      Q. CVS?                                   12 Teva is asking Mallinckrodt here for
     13      A. CVS, perhaps.                          13 advice on setting thresholds and
     14      Q. How about Walmart?                     14 adjusting them?
     15      A. Walmart.                               15          MR. MAIER: Object to form.
     16      Q. Were you aware that any of             16          THE WITNESS: I don't recall
     17 the retail pharmacy chains, prior to           17      the discussions that were
     18 2013, had paid fines to the DEA for not        18      discussed with Mallinckrodt.
     19 fulfilling their regulatory obligations        19 BY MR. CLUFF:
     20 under the Controlled Substances Act?           20      Q. But at least this document
     21          MR. MAIER: Object to form.            21 reflects that it was a topic that Teva
     22          MR. NICHOLAS: Foundation              22 wanted to discuss with Mallinckrodt,
     23      and form.                                 23 right?
     24          THE WITNESS: I don't recall           24      A. It was a question that was
                                            Page 263                                           Page 265
      1      the certain pharmacies and chains,         1 posed on the form.
      2      no.                                        2      Q. If you move to the next
      3 BY MR. CLUFF:                                   3 page, which ends in 1348, I'm interested
      4      Q. If you had been aware, in               4 in the top two bullet points there.
      5 2013, that retail pharmacy chains had           5          The first one, How do you
      6 paid fines for failing to fulfill their         6 determine if a customer exceeded their
      7 duties under the CSA, would you have            7 threshold? Do you release orders that
      8 classified them as lower risk than other        8 are over the thresholds?
      9 distributors?                                   9          Would you agree that Teva
     10          MR. NICHOLAS: Object to the           10 wanted to seek Mallinckrodt's advice on
     11      form.                                     11 customers exceeding thresholds?
     12          THE WITNESS: I don't know.            12      A. I don't recall that
     13      I would have to discuss that with         13 discussion.
     14      the management team.                      14      Q. But that's what the document
     15 BY MR. CLUFF:                                  15 indicates, correct?
     16      Q. Moving down the document,              16      A. That's what the document
     17 there's an outline -- an underlined            17 indicates. And I don't recall if we
     18 heading that says, Order review.               18 discussed that, or what the results of
     19          It says, Teva's SOM program           19 the question was.
     20 is based on two standard deviations above      20      Q. The next one down says, What
     21 the average.                                   21 actions do you take if customers are
     22          Is that an accurate                   22 exceeding your threshold?
     23 statement?                                     23          Do you recall what actions
     24          MR. NICHOLAS: Objection.              24 Teva took if customers exceeded


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      1 thresholds?                                      1     A. Understood.
      2      A. I do not.                                2     Q. Does this little paragraph
      3      Q. Do you recall if Teva                    3 here add any understanding or refresh
      4 discussed this with Mallinckrodt?                4 your recollection at all about what
      5      A. I do not.                                5 chargeback data is or how it's used?
      6          MR. MAIER: Objection. Form              6     A. I don't remember that.
      7      and foundation.                             7         MR. NICHOLAS: Sterling, if
      8 BY MR. CLUFF:                                    8     we're on to the next -- another
      9      Q. Let's go down to DEA                     9     document, I'd like to take a
     10 interaction. The first line says, Have          10     break.
     11 you reported any orders deemed, quote,          11         MR. CLUFF: Is there a
     12 suspicious to DEA?                              12     reason you would like to take a
     13          Do you recall if Teva was              13     break?
     14 identifying suspicious orders to the DEA        14         MR. NICHOLAS: I need a
     15 in 2013?                                        15     break.
     16      A. Yes.                                    16         MR. CLUFF: Yeah, let's take
     17      Q. They were?                              17     a break.
     18      A. Yes.                                    18         VIDEO TECHNICIAN: Off the
     19      Q. Okay.                                   19     record at 2:41 p.m.
     20      A. I reported it myself.                   20            - - -
     21      Q. Do you recall if Teva asked             21         (Whereupon, a brief recess
     22 Mallinckrodt whether they were reporting        22     was taken.)
     23 suspicious orders to the DEA?                   23           - - -
     24          MR. MAIER: Objection.                  24         VIDEO TECHNICIAN: We're
                                             Page 267                                            Page 269
      1      Form.                                       1       back on the record at 2:56 p.m.
      2          THE WITNESS: I'm sorry,                 2 BY MR. CLUFF:
      3      could you ask that question again,          3       Q. Mr. Kreutzer, you testified
      4      please?                                     4 that you only worked for Teva for
      5 BY MR. CLUFF:                                    5 approximately 90 days?
      6      Q. Sure.                                    6       A. Yes.
      7          Do you recall if                        7       Q. How come you decided to
      8 Mallinckrodt -- if Teva asked                    8 leave Teva after only 90 days?
      9 Mallinckrodt whether they reported               9       A. I was let go.
     10 suspicious orders to the DEA?                   10       Q. Can you share the reason why
     11      A. I don't recall that.                    11 you were let go?
     12      Q. All right. Let's look at                12       A. Sure. I was let go because
     13 the next underline, it's chargeback data.       13 Colleen felt that I wasn't doing the job
     14          Do you recall we previously            14 up to par, I guess.
     15 today discussed chargeback data in              15       Q. Did she express what part of
     16 general?                                        16 the job you were not doing up to par?
     17          MR. NICHOLAS: Object to the            17       A. She felt like I needed more
     18      form.                                      18 assistance than I should have had. She
     19          THE WITNESS: In general,               19 was not -- she wasn't directly on site at
     20      yes.                                       20 all times, she was off site at another
     21 BY MR. CLUFF:                                   21 location. So I was by myself on the job,
     22      Q. It's not a quiz, I was just             22 for the most part.
     23 trying to refresh that we had talked            23       Q. Was there a specific part of
     24 about it.                                       24 your job parameters or job description


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      1 where she felt that -- where she               1      by myself.
      2 identified that your performance was           2           It was a new role for the
      3 lacking?                                        3     company, so I had to figure
      4       A. One issue was that I took it           4     everything out for myself, as far
      5 upon myself to contact a customer               5     as contact people, and anything
      6 directly regarding an order that was            6     else for that matter.
      7 pended. But I was previously told that          7 BY MR. CLUFF:
      8 if I had any questions of any customers         8     Q. Did you feel like you
      9 that I had to go through customer               9 were -- that you did not have enough
     10 service, and then customer service would       10 resources to do the job that Teva was
     11 then contact the customer with my              11 asking you to do?
     12 questions and then relay the answers back      12     A. I was supposed to have a
     13 to customer service, and then back to me.      13 person to -- that was going to report to
     14       Q. And so the problem was that           14 me when I first received the position.
     15 if you contacted the customer directly?        15 And then that position was taken away,
     16       A. Yes.                                  16 prior to my starting with the company.
     17       Q. Was that the straw that               17          But other than that, my role
     18 broke the camel's back, so to speak?           18 was to mainly work with IT, as well as
     19           MR. MAIER: Object to form.           19 customer service for any customer
     20           THE WITNESS: I think it was          20 inquiries that I had.
     21       a good part of it.                       21     Q. And was your role at Teva
     22 BY MR. CLUFF:                                  22 essentially the same role that you had
     23       Q. Was there any other -- any            23 had at AmerisourceBergen, that being sort
     24 other specific information that was            24 of customer order monitoring and

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      1 conveyed to you about what Colleen             1  diversion control?
      2 perceived that you had not done                2       A. It was. But it was also a
      3 adequately enough?                              3 role to enhance their current SOM program
      4      A. Well, I don't recall the                4 and to develop policies and procedures.
      5 real specifics. But I had felt that the         5      Q. How did you feel about the
      6 job duties that were listed for the             6 quality of the employees you worked with
      7 assignment were above what I -- above my        7 at Teva? Did you feel like they were
      8 current experience level at the time, and       8 qualified to do their jobs?
      9 I indicated that to her on my departure.        9          MR. MAIER: Objection.
     10      Q. So it was -- I'm trying to             10          THE WITNESS: I do.
     11 understand.                                    11 BY MR. CLUFF:
     12          Was it your belief at the             12      Q. You mentioned that you felt
     13 time that they were requiring more of you      13 like Teva expected more from you than
     14 than they had advertised during the            14 they advertised in the interview.
     15 interview process?                             15          Do you feel like Teva
     16      A. That was my feelings.                  16 expected more out of its other employees
     17      Q. Did you feel like you got              17 than they really were qualified to give?
     18 adequate training to fulfill your job          18      A. That, I don't know.
     19 responsibilities when you worked at Teva?      19          MR. MAIER: Form.
     20          MR. MAIER: Object to form.            20      Foundation.
     21          THE WITNESS: I mean, I felt           21          MR. CLUFF: I want to show
     22      like I did have training, but             22      you a document. This is produced
     23      there wasn't a current department         23      by Teva. It's
     24      that I worked in. I was literally         24      Teva_MDL_A_(0)233-1426. That's
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      1     the e-mail with an attachment.           1      Q.     Did you say something?
      2     The attachment begins                    2      A.     Not quite yet.
      3     Teva_MDL_A_(0)233-1428. It's a            3          MR. CLUFF: My colleague,
      4     natively produced Bates number --         4      Will Powers, here who is next to
      5     excuse me, it's a natively                5      me at the depo, looked in the
      6     produced PowerPoint, so it all has        6      Relativity database and this
      7     the same Bates number.                    7      document, the attachment is
      8         And we'll mark it as Number           8      designated as confidential. So we
      9     5.                                        9      can all agree on that.
     10            - - -                             10          THE WITNESS: Okay.
     11         (Whereupon,                          11 BY MR. CLUFF:
     12     AmerisourceBergen-Kreutzer               12      Q. Let's start with your e-mail
     13     Exhibit-5,                               13 to Colleen McGinn on March 15th. It's at
     14     Teva_MDL_A_(0)233-1426-428, was          14 the bottom of the second page, or middle
     15     marked for identification.)              15 of the second page.
     16           - - -                              16          It looks like you asked
     17         MR. CLUFF: I'm going to              17 Colleen to take a look at this
     18     have some questions for you about        18 PowerPoint, and you describe it as a
     19     specific slides. But why don't           19 PowerPoint that Bob came up with.
     20     you go ahead and review just the         20          Would that have been Bob
     21     cover e-mail to start?                   21 Williamson?
     22         MR. MAHADY: Sterling, if             22      A. Yes.
     23     you know, did the attachment have        23      Q. And it says, in the next
     24     confidentiality designations?            24 sentence, When we met the other day -- is

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      1         MR. CLUFF: I'm unaware.              1  that you and Colleen would have met?
      2     But if we want to treat it, for          2       A. Where do you see that
      3     purposes of the deposition, as            3 e-mail?
      4     confidential, since the cover             4      Q. The same e-mail. The next
      5     e-mail is confidential, I'm okay          5 sentence says, When we met the other day,
      6     with that. But I'll defer to              6 you wanted to have a couple slides from
      7     Teva's lawyer on this one.                7 Bob that had information regarding fines,
      8         Do you know if this                   8 et cetera.
      9     PowerPoint would have had a               9          I was curious if the "we"
     10     confidentiality designation?             10 referred to you and Colleen?
     11         MR. MAIER: I believe it              11          MR. MAHADY: The second
     12     would have. I'm not sure what            12      page.
     13     form you're dealing with --              13          MR. CLUFF: Thanks, Joe.
     14         MR. CLUFF: Sure.                     14          THE WITNESS: I think what I
     15         MR. MAIER: -- you know,              15      was referring to is -- it was
     16     what format, so I would request          16      possibly Bob, but I'm not sure.
     17     that we would treat it that way.         17 BY MR. CLUFF:
     18         MR. CLUFF: We'll lodge that          18      Q. In either event, you said,
     19     on the record that this document         19 Those slides are now in the presentation,
     20     will be treated as confidential.         20 Slides 10, 11 and 12.
     21 BY MR. CLUFF:                                21          So those would have been
     22     Q. Did you have a chance to              22 slides that Colleen asked you to include?
     23 review the e-mail, Mr. Kreutzer?             23      A. Yes.
     24     A. Not quite yet.                        24      Q. So moving to the very bottom
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      1 of the first page, the e-mail from              1      native format. So we printed it
      2 Colleen to you, it continues on to the          2      as a PDF so that the slide appears
      3 second page.                                    3      in the top half of the page and
      4          Would you agree with me it             4      any speakers notes would have
      5 looks like she has some comments about          5      appeared on the bottom half of the
      6 the slides? Does that seem accurate?            6      page.
      7      A. Yes.                                    7          And we also formatted the
      8      Q. At the end of that e-mail,              8      footer so that it would reflect
      9 it says, You may want to add something in       9      the Bates number and a page
     10 here about evaluating chargeback data in       10      number, just so that it's -- for
     11 the future.                                    11      ease of reference for the witness
     12          Correct?                              12      to look through. We didn't make
     13      A. Yes.                                   13      any other -- we didn't make any
     14      Q. And then let's skip up two             14      changes to the substance of the
     15 e-mails, and you essentially told her,         15      document.
     16 you know, Slide 23 has the facets and          16 BY MR. CLUFF:
     17 Slide 37 mentioned the bullet points           17      Q. Did you look at Page 8?
     18 about chargeback data.                         18      A. I did, yes.
     19          And she says she wants you            19      Q. Do you see there, DEA
     20 to put in some more information about          20 statement is the heading?
     21 chargeback data, right?                        21      A. Yes.
     22      A. Yes.                                   22      Q. So there it says, DEA has
     23      Q. So that would be Slide 28,             23 and will continue to pursue criminal,
     24 according to your first e-mail?                24 administrative and civil actions against

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      1      A. Correct.                                1 registrants who fail to comply with all
      2      Q. All right. When you were                2 aspects of the CSA and its implementing
      3 reviewing the document that I handed you        3 requirements -- or regulations as
      4 as Exhibit-5, did you flip through the          4 required. More recent actions include,
      5 PowerPoint?                                     5 but are not limited to, actions against
      6      A. I didn't flip through it                6 wholesale distributors, such as Harvard
      7 yet.                                            7 Drugs, KeySource, CVS, Cardinal,
      8      Q. Does it look familiar to                8 McKesson, Southwood and Sunrise.
      9 you?                                            9          Are you aware of any
     10      A. Vaguely.                               10 enforcement actions against any of those
     11      Q. And it appeared, based on              11 distributors?
     12 your first e-mail, this was something          12      A. Nothing in particular.
     13 that Bob may have drafted initially but        13      Q. We previously talked about
     14 then you had some interaction with             14 the red flags that Buzzeo provided to
     15 working on it, correct?                        15 Teva. And I believe one of them said
     16      A. Correct.                               16 something about the major distributors
     17      Q. Okay. Can you turn to Slide            17 like Cardinal, McKesson and Amerisource
     18 8? It will have an 8 in the bottom             18 not being a risk.
     19 right-hand corner.                             19          Would you agree that, based
     20          MR. CLUFF: So the lawyers             20 on this DEA statement regarding the
     21      on the phone are aware, when I            21 enforcement actions against Cardinal and
     22      created this exhibit from the             22 McKesson, that they were maybe a higher
     23      production, as I said, this               23 risk than some other distributors?
     24      attachment was produced in its            24          MR. KELLY: Objection to
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      1      form.                                       1 BY MR. CLUFF:
      2          MR. MAIER: Object to form               2     Q. Based on what's in front of
      3      and foundation.                             3 you, would you agree that violation of
      4          MR. NICHOLAS: Join.                     4 the CSA could subject the registrant to
      5          THE WITNESS: No, I can't                5 criminal action?
      6      agree.                                      6          MR. NICHOLAS: Object to the
      7 BY MR. CLUFF:                                    7     form. And foundation.
      8      Q. Why would you disagree with              8          MR. MAIER: Same objection.
      9 that statement?                                  9          THE WITNESS: It depends on
     10      A. Why? Because I don't know               10     the circumstances.
     11 who input this document and where it came       11 BY MR. CLUFF:
     12 from and what other discussions were            12     Q. But it's definitely a
     13 discussed on this PowerPoint and if any         13 possibility, right?
     14 changes were made.                              14          MR. NICHOLAS: Object to the
     15      Q. As a general matter, having             15     form.
     16 worked in suspicious order monitoring and       16          MR. MAIER: Same objection.
     17 diversion control since 2009, do you have       17          THE WITNESS: I wouldn't say
     18 an opinion about whether a company who          18     it's definitely a possibility, but
     19 had their -- or who was subject to a DEA        19     it's a possibility.
     20 enforcement action would be high risk           20 BY MR. CLUFF:
     21 versus low risk?                                21     Q. Looking back at the second
     22          MR. NICHOLAS: Object to the            22 page of this document, which is your
     23      form. Lack of foundation.                  23 e-mail to Colleen, you informed her that
     24          THE WITNESS: No.                       24 you added Slides 10, 11 and 12, right?

                                             Page 283                                          Page 285
      1          MR. MAIER: Same objection.              1          Do you see that there in the
      2          THE WITNESS: No, I don't                2 first paragraph of your e-mail at the
      3      have an opinion.                            3 bottom?
      4 BY MR. CLUFF:                                    4          The next page.
      5      Q. Looking at that first line               5       A. Yes.
      6 of the DEA statement slide, it says, DEA         6       Q. In the PowerPoint, let's go
      7 has and will --                                  7 to those slides, 10, 11 and 12.
      8          MR. CLUFF: Can you                      8          I want to focus on Number
      9      underline this, Zach, so he can             9 11, if you're there. Go ahead and read
     10      see where I'm pointing to?                 10 that for me.
     11 BY MR. CLUFF:                                   11       A. Okay.
     12      Q. DEA has and will continue to            12       Q. So a little sidebar, your
     13 pursue criminal, administrative and civil       13 lawyers and I had -- we noted that
     14 actions against registrants.                    14 Colleen appears to have deleted and maybe
     15          Are you aware of what --               15 changed some slides. So the original 10,
     16 that a violation of a CSA can result in         16 11 and 12 might not be the same 10, 11
     17 criminal action against a registrant?           17 and 12 that you're looking at here.
     18          MR. MAIER: Objection to                18          So I'll ask you, looking at
     19      foundation.                                19 Number 11, is this a slide that you
     20          MR. NICHOLAS: Same                     20 recall having drafted?
     21      objection. Form and foundation.            21       A. I don't recall this slide.
     22          THE WITNESS: I'm only aware            22       Q. Looking at the top, it says,
     23      of what's highlighted in front of          23 Distributor and manufacturer initiative
     24      me.                                        24 program.


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                                             Page 286                                          Page 288
      1          Do you see that?                       1  BY MR. CLUFF:
      2      A. Yes.                                    2        Q. Did you have an
      3      Q. Are you familiar with the                3 understanding, as a diversion control
      4 concept of a distributor initiative or a         4 specialist at AmerisourceBergen, that
      5 manufacturer initiative program?                 5 part of the way to maintain effective
      6      A. I am not.                                6 controls against diversion was through
      7      Q. Looking at the first point               7 effective due diligence?
      8 it says, Established in 2005 to remind           8       A. I'm aware of effective due
      9 DEA registrants of regulatory obligation         9 diligence, yes.
     10 to maintain effective controls against          10       Q. Was it a part of -- strike
     11 diversion.                                      11 that.
     12          Do you see that?                       12           How about suspicious order
     13      A. Yes.                                    13 reporting, was that a part of
     14      Q. Earlier we talked about                 14 AmerisourceBergen's efforts to maintain
     15 whether you might have received training        15 effective controls against diversion?
     16 at AmerisourceBergen, as a diversion            16           MR. NICHOLAS: Object to the
     17 control specialist, about effective             17       form.
     18 controls against diversion.                     18           Go ahead.
     19          Having read this paragraph             19           THE WITNESS: Can you ask
     20 here, do you have any recollection about        20       that question -- rephrase that
     21 receiving training on effective controls        21       question?
     22 against diversion?                              22 BY MR. CLUFF:
     23      A. At Teva?                                23       Q. Was suspicious order
     24      Q. AmerisourceBergen.                      24 reporting a part of AmerisourceBergen's

                                             Page 287                                          Page 289
      1     A.     At AmerisourceBergen.                1  efforts to maintain effective controls
      2          I don't recall the specific            2  against diversion?
      3 training that I received, but I did              3          MR. NICHOLAS: Objection.
      4 receive training.                                4     Because I think you just reread
      5      Q. Looking down at the next                 5     it. You didn't rephrase it.
      6 bold bullet point, it states that, The           6          MR. CLUFF: I took a few
      7 stated goal of the program is to cut off         7     words out.
      8 the source of supply to these (rogue pain        8 BY MR. CLUFF:
      9 clinics, physicians and pharmacies)              9     Q. Did my question make sense
     10 through effective due diligence and             10 to you?
     11 suspicious order recording.                     11     A. Not really.
     12          Do you have any                        12     Q. As a diversion control
     13 understanding of that being the goal of         13 specialist, did you understand that
     14 the distributor and manufacturer                14 AmerisourceBergen had a duty to identify
     15 initiatives?                                    15 and report suspicious orders?
     16      A. I did not.                              16     A. I do understand that.
     17      Q. Did you understand, as a                17     Q. Did you understand that that
     18 diversion control specialist at                 18 duty arose from the regulatory obligation
     19 AmerisourceBergen, that part of your            19 to maintain effective controls against
     20 responsibility was to maintain effective        20 diversion?
     21 controls against diversion?                     21          MR. NICHOLAS: Object to the
     22          MR. NICHOLAS: Object to the            22     form.
     23      form.                                      23          Go ahead.
     24          THE WITNESS: No, I am not.             24          THE WITNESS: According to
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      1      the CFR.                                    1          THE WITNESS: No, I do not.
      2 BY MR. CLUFF:                                    2  BY MR. CLUFF:
      3      Q. Can you move forward to                   3     Q. Do you have any
      4 Slide Number 15, please? I have some              4 understanding about whether
      5 just general questions before we get into         5 AmerisourceBergen shipped orders that it
      6 the slide.                                        6 deemed were suspicious prior to 2015?
      7          Before you became the                    7     A. Could you ask that again,
      8 diversion control specialist at                   8 please?
      9 AmerisourceBergen -- well, in your work           9     Q. Sure. So I think -- I used
     10 as a diversion control specialist at             10 2015, because we talked about there was a
     11 AmerisourceBergen, did you become                11 change from thresholds to parameters in
     12 familiar with AmerisourceBergen's                12 2015.
     13 suspicious order monitoring and reporting        13     A. Correct.
     14 policy before 2009?                              14     Q. In your work as a diversion
     15      A. Before I was hired in the                15 control specialist prior to 2015, are you
     16 department?                                      16 aware of AmerisourceBergen shipping
     17      Q. Yes. Did you have an                     17 orders that were deemed suspicious?
     18 understanding of what it was before you          18     A. No, I am not.
     19 were hired?                                      19     Q. If that happened, would you
     20      A. No, I did not.                           20 agree that it was a failure to maintain
     21      Q. Do you know if                           21 effective controls against diversion?
     22 AmerisourceBergen has always reported            22         MR. NICHOLAS: Object to the
     23 suspicious orders to the DEA?                    23     form.
     24      A. As far as I know, we have.               24         THE WITNESS: No, I do not
                                              Page 291                                          Page 293
      1       Q. Are you aware that prior to             1       agree.
      2 2007 -- or aware if, prior to 2007,              2  BY MR. CLUFF:
      3 AmerisourceBergen reported excessive              3      Q. So your opinion is, based on
      4 purchases after it identified them as             4 your work as a diversion control
      5 such?                                             5 specialist, that if AmerisourceBergen
      6       A. I'm not aware of that.                   6 shipped an order that it deemed was
      7       Q. I want to point your                     7 suspicious, that would not be a failure
      8 attention to the very last bullet point           8 to maintain effective controls against
      9 there.                                            9 diversion?
     10          It says, Registrants who                10           MR. NICHOLAS: Object to the
     11 routinely report suspicious orders yet           11      form.
     12 fill those orders are failing to maintain        12           THE WITNESS: We would not
     13 effective controls against diversion.            13      ship a suspicious order. We would
     14          Do you see that?                        14      reject it and report it.
     15       A. I do.                                   15 BY MR. CLUFF:
     16       Q. Do you have any                         16      Q. What happens if it's shipped
     17 understanding of what that means?                17 after it's identified as suspicious?
     18       A. No. Because I feel like                 18           MR. NICHOLAS: Object to the
     19 that's a vague statement.                        19      form.
     20       Q. Do you know if, at this                 20           THE WITNESS: I don't think
     21 time, Teva was shipping orders that it           21      we can ship a suspicious order.
     22 reported as suspicious?                          22      Our system won't allow it.
     23          MR. MAIER: Objection. Form              23 BY MR. CLUFF:
     24       and foundation.                            24      Q. Take a look with me at Slide
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      1 20. You can go ahead and read that if             1          MR. NICHOLAS: Objection.
      2 you'd like to.                                    2      Objection to the form.
      3      A. Okay.                                     3          THE WITNESS: I agree with
      4      Q. So you see there it says,                 4      the system we currently had in
      5 System challenges and responses?                  5      place at the time.
      6      A. Yes.                                      6 BY MR. CLUFF:
      7      Q. And the major heading at the              7      Q. So you would agree with the
      8 top is, Common SOM pitfalls?                      8 system you had in place at the time
      9      A. Yes.                                      9 instead of the December 2007 DEA
     10      Q. Do you see there in bold                 10 memorandum?
     11 where it says, quote, Threshold, quote,          11          MR. NICHOLAS: Object to the
     12 based systems are not sufficient?                12      form. You're asking him about a
     13      A. Yes.                                     13      document that he doesn't remember
     14      Q. This document, based on its              14      that is quoting something that he
     15 attachment to this e-mail, was drafted in        15      hasn't said he's even seen.
     16 2013, correct?                                   16          I'll object to the form.
     17      A. It was included in the                   17          THE WITNESS: I don't -- as
     18 document, yes. It came from 2007, it             18      Bob stated, I don't remember this
     19 appears.                                         19      document or this slide.
     20      Q. The PowerPoint comes from                20          MR. CLUFF: Hold on.
     21 2007?                                            21          THE WITNESS: Sorry.
     22      A. The slide. Well, the DEA                 22          MR. CLUFF: Bob, that's a
     23 memorandum.                                      23      clear example of you coaching this
     24      Q. Right, yeah. Okay. Thank                 24      witness and influencing his
                                              Page 295                                          Page 297
      1 you. I was going to get to that.                  1     testimony. I'm not going to make
      2         You see at the bottom there,              2     a big deal about it, because we've
      3 where it says this comment about a                3     had a pretty collegial deposition
      4 threshold sytem not being sufficient              4     today.
      5 comes from a December 27, 2007 DEA                5          But I'd like to request that
      6 memorandum?                                       6     that not happen again, please.
      7      A. Yes.                                      7          MR. NICHOLAS: Well, now --
                                                          8          MR. CLUFF: I'm going to let
                                                          9     you finish. But all I want to say
                                                         10     is, we've had this out before,
                                                         11     there's no reason for any of us to
                                                         12     get upset about it. But
                                                         13     objection, form; objection,
                                                         14     foundation. You know the proper
                                                         15     basis for an objection. You
                                                         16     influenced his testimony, and he
                                                         17     just used your objection to answer
                                                         18     my question. And that's not
                                                         19     proper.
                                                         20          MR. NICHOLAS: Well, all
                                                         21     I'll say in response is that I
     22 BY MR. CLUFF:                                    22     disagree with your
     23    Q. So you disagree with the                   23     characterization of my objection
     24 DEA's memorandum?                                24     and his response.
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      1           If I think your                       1  to you, the top portion of the slide
      2      questions are unfair, I'm going to         2  says, Improving our processes and target
      3      say I think it's unfair.                    3 dates; is that right?
      4           Now you can proceed.                   4     A. Yes.
      5 BY MR. CLUFF:                                    5     Q. Based on looking at this
      6      Q. Mr. Kreutzer, your attorney              6 document, do you believe that this would
      7 is entitled to object. But I'm also              7 have been Teva identifying processes that
      8 entitled to an answer to my question.            8 needed to be improved?
      9 His objection is not a proper basis for          9     A. It appears to be.
     10 you to give me an answer based on his           10     Q. Looking at the first bullet
     11 objection.                                      11 point on that list of things that Teva
     12           So let's look at this                 12 identified needed to be improved, would
     13 document again. Quote, Threshold, closed        13 you agree with me that it says, Began
     14 quote, based systems are not sufficient.        14 reporting suspicious orders to the DEA?
     15           Is that right?                        15     A. Yes.
     16      A. That's what it states.                  16     Q. So prior to February 2013,
     17      Q. Looking down at the bottom              17 Teva did not report suspicious orders to
     18 section of this document, you identified        18 the DEA?
     19 that this comes from a December 2007 DEA        19     A. That, I don't know.
     20 memorandum, correct?                            20          MR. MAIER: Objection.
     21           MR. NICHOLAS: Object to the           21     Form.
     22      form.                                      22 BY MR. CLUFF:
     23           THE WITNESS: Yes.                     23     Q. Do you have any reason to
     24           MR. NICHOLAS: And                     24 disagree with this slide?

                                             Page 299                                          Page 301
      1      foundation.                                1       A. I can only -- I can only
      2 BY MR. CLUFF:                                   2  read what's in front of me. I don't know
      3      Q. Now, do you see the bullet               3 if any orders were reported prior to --
      4 point that immediately precedes that,            4 from February 2013.
      5 that says, Do not meet the regulations?          5      Q. Based on the time when you
      6      A. That's what it states right              6 worked at Teva, which I believe you said
      7 there.                                           7 was January to April 1st, 2013, were you
                                                         8 aware that Teva reported suspicious
                                                         9 orders prior to February 2013?
                                                        10      A. I am not.
                                                        11          MR. MAIER: Object to form
                                                        12      and foundation.
                                                        13 BY MR. CLUFF:
                                                        14      Q. Midway down the list there,
     15     Q. I just have one more slide               15 there's another bullet point that says,
     16 here to talk to you about. Let me find          16 Developing SOPs (targeted 03/13).
     17 it.                                             17          Was it your understanding,
     18          I previously asked you if              18 based on your work at Teva, that Teva did
     19 Teva reported suspicious orders to the          19 not have in operation standard operating
     20 DEA.                                            20 procedures prior to March of 2013?
     21          Do you remember that?                  21          MR. MAIER: Objection.
     22     A. Yes.                                     22      Form.
     23     Q. Look at Slide 38 for me.                 23          THE WITNESS: No, I believe
     24          And I just would point out             24      they did have some standard
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      1       operating procedures. But I don't       1       A. Perhaps.
      2       remember which ones they were.          2       Q. Give me one second, and I'll
      3 BY MR. CLUFF:                                  3 grab these from my little box back here.
      4       Q. Okay. Do you have any                 4          The first one I want to hand
      5 understanding of why they would have been      5 to you is a document produced by
      6 developing SOPs, then, in 2013?                6 AmerisourceBergen, Bates stamped
      7           MR. MAIER: Objection.                7 ABDC_MDL_0045077.
      8       Foundation.                              8          I will apologize in advance
      9           THE WITNESS: It may have             9 that these spreadsheets are very hard to
     10       been further enhancing those SOPs,      10 get onto one page. I've tried my best to
     11       but I'm not sure.                       11 do that for you.
     12 BY MR. CLUFF:                                 12             - - -
     13       Q. Okay. All right. That's              13          (Whereupon,
     14 all I have for this document.                 14      AmerisourceBergen-Kreutzer
     15           In your work at                     15      Exhibit-6, ABDC_MDL_0045077, was
     16 AmerisourceBergen, I think you testified      16      marked for identification.)
     17 that you worked with spreadsheets a lot;      17             - - -
     18 is that right?                                18          MR. CLUFF: We should
     19           MR. NICHOLAS: Object to the         19      probably all use the blow-up on
     20       form.                                   20      the screen to the best of our
     21           THE WITNESS: We do work             21      ability.
     22       with spreadsheets, yes.                 22          MR. MAHADY: Sterling, these
     23 BY MR. CLUFF:                                 23      spreadsheets, can we agree to
     24       Q. And that your work with              24      treat them confidential?
                                           Page 303                                        Page 305
      1 spreadsheets was partly to review             1            MR. CLUFF: Yes, all three.
      2 customer orders when they came up from        2        So I'm going to be using 45077,
      3 the distribution centers, correct?             3       45075 and 45076, and all three
      4      A. Which time frame are we                4       will be treated as confidential.
      5 referring to?                                  5 BY MR. CLUFF:
      6      Q. Between 2009 and 2015.                 6       Q. These are excerpts of
      7      A. Yes.                                   7 voluminous records. They have been
      8      Q. Did you ever have occasion             8 selected to identify a single pharmacy,
      9 to review spreadsheets that reflected          9 which is Acme Pharmacy Number 30, which
     10 orders that were reported to the DEA?         10 is located in Stow, which is within --
     11      A. I don't recall that.                  11 off the top of my head, I can't remember
     12      Q. Did you have occasion to              12 if it's Cuyahoga or Summit County, but
     13 review spreadsheets that reflected CSRA       13 it's definitely a CT 1 jurisdiction.
     14 comments for shipments between 2007 and       14           Looking up on the top left
     15 2012?                                         15 corner --
     16      A. I don't recall that.                  16           MR. CLUFF: Can you blow
     17      Q. Did you have occasion to              17       this up, Zach, top left corner?
     18 review a history report of all shipments,     18 BY MR. CLUFF:
     19 a spreadsheet that catalogued that            19       Q. -- it says, Reported to DEA,
     20 information?                                  20 report for all Ohio customers from
     21      A. I don't recall.                       21 1/1/2007 to 12/31/2012.
     22      Q. Do you think if I showed you          22           Is that a spreadsheet that
     23 a copy of some of those spreadsheets they     23 you would have any familiarity with?
     24 would refresh your recollection?              24       A. I don't remember this
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      1 spreadsheet.                                  1  where it says, User ID, in the top left
      2      Q. Set that aside for just a             2  corner?
      3 second, then. That's okay.                     3       A. Yes.
      4          I'd like to also hand you             4       Q. And underneath that is your
      5 another document. It's a native file we        5 first initial and last name, K. Kreutzer?
      6 converted to PDF. It is Bates marked           6       A. Yes.
      7 ABDC_MDL_0045075. I ask that this also         7       Q. So based on your work as a
      8 be treated as confidential.                    8 diversion control specialist in the CSRA
      9             - - -                              9 department, and looking at this document,
     10          (Whereupon,                          10 does it reflect decisions that would have
     11      AmerisourceBergen-Kreutzer               11 been made by employees of
     12      Exhibit-7, ABCD_MDL_0045075, was         12 AmerisourceBergen, including yourself,
     13      marked for identification.)              13 regarding customer orders?
     14            - - -                              14           MR. NICHOLAS: Objection.
     15          MR. CLUFF: Zach, please              15       Form and foundation.
     16      blow up the top left corner there        16           THE WITNESS: Can you ask
     17      so we can all read the heading.          17       that question again?
     18 BY MR. CLUFF:                                 18 BY MR. CLUFF:
     19      Q. You can see, Mr. Kreutzer,            19       Q. Sure.
     20 that this document is -- at least the         20           I'm trying to understand
     21 heading there at the top left is, CSRA        21 what this document is. And I see that
     22 comments report for all Ohio customers        22 it's got your first initial and your last
     23 from 1/1/2007 to 12/31/2012.                  23 name on it. And that it has a column
     24          Do you see that?                     24 entitled, Action taken.

                                           Page 307                                          Page 309
      1     A. Yes.                                   1           And I'm trying to
      2     Q. Is this a report that you              2  understand, you know, based on the
      3 have any familiarity with?                     3 heading, CSRA comments report, and some
      4     A. I do not.                               4 of the information that's contained in
      5     Q. But you worked in the CSRA              5 the document, what's reflected in here.
      6 department, correct?                           6          And the question is, does
      7     A. I did.                                  7 this contain a record of customer orders
      8     Q. Okay. And so you would have             8 that would have been reviewed by
      9 reviewed orders, as part of your work in       9 AmerisourceBergen employees, specifically
     10 the CSRA department, to determine if they     10 in the CSRA department, to determine
     11 could be approved or had to be cancelled,     11 whether or not they could be, you know,
     12 correct?                                      12 released or cancelled?
     13     A. Correct.                               13      A. I believe so, yes.
     14          MR. CLUFF: Zach, can you             14      Q. Have you ever seen a report
     15     remove that blow-up, please? And          15 like this before?
     16     then over to the right, there is a        16      A. I don't recall this
     17     column that says, User ID. And            17 document.
     18     next to it there's another column
     19     that says, Action taken.
     20          Can you blow those up,
     21     please?
     22 BY MR. CLUFF:
     23     Q. Looking on the screen in
     24 front of you, Mr. Kreutzer, do you see


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                                                       1    here on the screen, which you can
                                                       2    also see in front of you, because
                                                       3    I forgot to bring my magnifying
                                                       4    glass for you today.
                                                       5 BY MR. CLUFF:




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      2      Q. Earlier you testified that
      3 if an order was reported to the DEA as
      4 suspicious, it was not shipped, correct?
      5      A. Yes.
      6      Q. So looking back at, I
      7 believe it's Number 6, which is 45077.
      8          MR. CLUFF: And then blow up
      9      that top left corner, again, Zach.
     10          MR. NICHOLAS: Can you just
     11      hold up while we catch up to you
     12      here?
     13          MR. CLUFF: Sure. I'm
     14      sorry.
     15          MR. NICHOLAS: Which
     16      document are we in?
     17          MR. CLUFF: It's Exhibit
     18      Number 6. It's one of the big
     19      spreadsheets. And down in the
     20      bottom left corner -- bottom right
     21      corner, it should have an Exhibit
     22      6 tab on it.
     23          And then I asked Zach to
     24      blow up and highlight the heading
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                                                       1      A. I believe that is
                                                       2 AmerisourceBergen's Columbus distribution
                                                       3 center's DEA, but I'm not 100 percent
      4      Q. All right. Let's -- I want             4 certain.
      5 to hand you one more.
      6           MR. CLUFF: Zach, this will
      7      be Number 43.
      8           It's another Excel native
      9      spreadsheet that was produced by
     10      AmerisourceBergen that we'll treat
     11      as confidential. It is
     12      ABDC_MDL_00045076, and we'll mark
     13      it as Exhibit-8.
     14               - - -
     15           (Whereupon,
     16      AmerisourceBergen-Kreutzer               16      Q. Then the next column over is
     17      Exhibit-8, ABDC_MDL_00045076, was        17 a shipping address, Line 1, that appears
     18      marked for identification.)              18 to be just a street address for the
     19              - - -                            19 pharmacy, right?
     20           MR. CLUFF: Zach, can you            20      A. Yes.
     21      blow up the top left corner of           21      Q. Next column is -- I was
     22      that document?                           22 reading it without abbreviating it.
     23 BY MR. CLUFF:                                 23          Do you want me to read the
     24      Q. It says, History report               24 abbreviation so it's clear? Or if I --

                                           Page 315                                            Page 317
      1 requested for all Ohio customers from          1     A.     No.
      2 1/1/2007 to 12/31/2012.                        2           MR. NICHOLAS: In this case,
      3         Do you see that, Mr.                   3      it's okay.
      4 Kreutzer?                                      4 BY MR. CLUFF:
      5      A. Yes, I do.                             5      Q. So the next column over,
      6      Q. Do you have any                        6 based on what I'm reading, looks like
      7 understanding about whether this document      7 shipping address, city name?
      8 would reflect all shipments by                 8      A. Yes.
      9 AmerisourceBergen to customers in Ohio         9      Q. Which would be the city this
     10 between 2007 and 2012?                        10 pharmacy is located in.
     11         MR. NICHOLAS: Object to the           11           And then the next column is
     12      form. And lack of foundation.            12 ship address, state code.
     13         THE WITNESS: I don't know.            13           Here it looks like it's
     14 BY MR. CLUFF:                                 14 Ohio, correct?
     15      Q. You were responsible for              15      A. Right.
     16 reviewing customer orders while you were      16      Q. Next column over is shipping
     17 a diversion control specialist, correct?      17 address, zip 5, probably code again.
     18      A. Correct.                              18           The zip code the pharmacy is
     19      Q. Just looking at this                  19 listed in?
     20 document, we'll start on the left, it         20      A. Yes.
     21 says, Division, DEA, at the top heading.      21      Q. Customer PO number.
     22         Would that be                         22           Would that stand for
     23 AmerisourceBergen's DEA number? Or do         23 purchase order number?
     24 you know whose that would be?                 24      A. Yes.
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      1      Q. We looked at the DEA -- the
      2 reported to DEA spreadsheet, which is
      3 Exhibit-6, and we talked about that that
      4 column -- that spreadsheet had a column
      5 called purchase order number as well,
      6 correct?
      7      A. Yes.
      8      Q. Moving to the right, again,
      9 we see customer DEA is the next column,
     10 and that would be this pharmacy
     11 customer's DEA number, right?
     12      A. Correct.
     13      Q. The next column over is,
     14 Customer chain ID.
     15          Do you have any idea about
     16 what a customer chain ID number is?
     17      A. Since that is a -- appears
     18 to be a retail pharmacy chain, Acme, I
     19 believe that's the chain ID number
     20 associated with this particular customer.         20      Q. Moving to the right one
     21      Q. Okay. So chain pharmacies                 21 more, it says, Order date.
     22 had an additional ID aside from their             22          That would have been just
     23 AmerisourceBergen customer ID?                    23 the order -- or the date for this order
     24      A. I don't recall.                           24 that we're looking at, right?

                                               Page 319                                                Page 321
      1     Q.    Understood.                              1      A. Yes.
      2          The next column over, it's                2      Q. And the quantity ordered,
      3 kind of wrapped over, but it says,                 3 how does AmerisourceBergen measure
      4 Customer DEA TY.                                   4 quantities? So I see there at the top it
      5          Do you know what that stands              5 says 49 is the quantity ordered.
      6 for? Could it refer to type?                       6         Does that mean 49 pills were
      7      A. I believe so, yes.                         7 ordered?
      8      Q. So what would the R1                       8      A. That just seems like an odd
      9 designation refer to?                              9 number to -- for an order quantity.
     10      A. I'm not sure. I don't                     10 Usually, they would be in even numbers.
     11 recall.                                           11      Q. But what I'm trying to
     12      Q. Does it have any relation to              12 figure out is, were they ordering 49
     13 retail chains?                                    13 batches of 100 pills?
     14      A. I am not sure.                            14      A. It could be 49 bottles of
     15      Q. The next column over is,                  15 whatever they're ordering.
     16 Customer size. And on the first four              16      Q. How many bottles -- how many
     17 lines, there is an M and after that, the          17 pills would be in a bottle?
     18 designation changes to L.                         18      A. It varies. It could be 100
     19          Do you know what is                      19 dosage units. It could be 500. It could
     20 identified in that column?                        20 be 1,000.
     21      A. What the letters stand for?               21      Q. I want to go over two -- two
     22      Q. Yes.                                      22 columns that say item family and item
     23      A. That would be medium and                  23 description.
     24 large.                                            24         Would these columns tell us
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      1 what family of drug and the description         1 BY MR. CLUFF:
      2 of what was being ordered?                      2      Q. If you go to the next
      3      A. Yes.                                    3 column, it says, Release code.
      4      Q. So morphine solid would be a            4          And then midway down on the
      5 solid form of a morphine pill?                  5 screen, there is an abbreviation, IN.
      6      A. Yes.                                    6          Do you know what that stands
      7      Q. And then what would a                   7 for?
      8 morphine sulfate be, or morphine SULF?          8      A. I do not.
      9      A. That's just the brand name              9      Q. Could it potentially stand
     10 or generic name.                               10 for investigation?
     11      Q. Okay. Scrolling over, there            11          MR. NICHOLAS: Object to the
     12 is an item schedule column.                    12      form.
     13          Under that, it says, C-II?            13          THE WITNESS: It may, but
     14      A. Yes.                                   14      I'm not sure.
     15      Q. So is that the class of drug           15 BY MR. CLUFF:
     16 that would have been ordered?                  16      Q. Scrolling down, do you see
     17      A. Yes.                                   17 that there is an abbreviation, AC?
     18      Q. And the next column over is            18      A. Yes.
     19 DC, with a number 10 under it.                 19      Q. Do you know what that stands
     20          Can you tell me what that             20 for?
     21 number is?                                     21      A. I do not.
     22      A. That's the Columbus DC                 22      Q. Could it perhaps stand for
     23 number.                                        23 approved by a CSRA?
     24      Q. Okay. The next column over             24          MR. NICHOLAS: Same
                                            Page 323                                          Page 325
      1 is user ID. If you go five down, it             1       objection.
      2 says, AREDFOX.                                  2           THE WITNESS: That's what
      3           Would that be somebody                3       the comments state.
      4 else's first initial and last name              4 BY MR. CLUFF:
      5 combined, or do you know what that --           5       Q. So is it reasonable to
      6 what those letters designated?                  6 assume that means approved by CSRA?
      7      A. I don't know what that                  7           MR. NICHOLAS: Object to the
      8 designates. I don't know who that is.           8       form.
      9      Q. If you keep moving down that            9           THE WITNESS: For this
     10 column, there's a field that reads,            10       particular item, yes.
     11 DRC1213.                                       11 BY MR. CLUFF:
     12           Do you know what that                12       Q. I want you to look for me
     13 designates?                                    13 again at Exhibit Number 6, which is the
     14      A. I do not.                              14 first spreadsheet I handed you that is
     15      Q. Did AmerisourceBergen                  15 45077.
     16 employees such as yourself have IDs that       16           Do you see that? In the
     17 they sometimes used in addition to their       17 middle --
     18 names or initials?                             18           MR. CLUFF: Zach, could you
     19      A. We had user IDs, numbers.              19       blow up the middle of the document
     20      Q. So this DRC1213, could that            20       for me where we can see the
     21 be somebody's user ID?                         21       customer purchase order number
     22           MR. NICHOLAS: Object to the          22       through to the item description?
     23      form.                                     23 BY MR. CLUFF:
     24           THE WITNESS: I'm not sure.           24       Q. Starting in the middle of
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      1 that page, Mr. Kreutzer, do you see where       1 were looking at in the DEA report,
      2 it says --                                      2 CES112610?
      3          MR. CLUFF: Can you pull                3       A. Yes.
      4      that to -- I need to see the               4       Q. If you scroll to the right,
      5      purchase order number, Zach. It's          5 to the column that has the release codes
      6      to your left.                              6 in it, if you -- if you look down at the
      7 BY MR. CLUFF:                                   7 bottom of that order, there is a code
      8      Q. So the purchase order number            8 that says, AC.
      9 says, CES112610.                                9            Would that mean that this
     10          Do you see that?                      10 report -- this order was approved for
     11      A. Yes.                                   11 shipment by the CSRA?
     12      Q. And there are four lines               12       A. I don't see any information.
     13 there?                                         13            MR. NICHOLAS: I don't see
     14      A. Yes.                                   14       it either, I'm sorry.
     15      Q. Okay. Keep that in front of            15            MR. CLUFF: Do this for me,
     16 you, just kind of hold it, put your            16       Zach, do you see the first
     17 finger on that. And then go back to            17       CES112610?
     18 Exhibit Number 8, and go to Page 7.            18 BY MR. CLUFF:
     19          And at the bottom third of            19       Q. Can you see it now on there,
     20 the page, you'll see midway down, in the       20 Mr. Kreutzer?
     21 customer purchase order number column,         21       A. I'm sorry, what are we
     22 that CES112610 begins.                         22 looking at?
     23          MR. CLUFF: That's the wrong           23       Q. Can you see the highlighted
     24      one, Zach.                                24 portion --

                                            Page 327                                            Page 329
      1 BY MR. CLUFF:                                   1       A. Yes, yes.
      2       Q. Can you see on your page,              2       Q. So if you -- all the way to
      3 Mr. Kreutzer --                                 3 the left of your screen, you'll see a
      4       A. I cannot. I can't read                 4 list of order numbers. And Zach has
      5 this.                                           5 highlighted one that says 112610 up
      6       Q. That probably makes a lot of           6 there.
      7 us.                                             7       A. Yes.
      8       A. I mean, I can read it on the           8       Q. There's also one that
      9 monitor in front of me.                         9 precedes that, that's not highlighted
     10            MR. CLUFF: Keep going down,         10 yet.
     11       Zach. To the very bottom of your         11           But if you travel down that
     12       screen right now, Zach. Right            12 number, you see that the order number
     13       there.                                   13 remains the same all the way until he
     14            And then drag it to your            14 gets to the bottom row that's
     15       left, Zach.                              15 highlighted, correct?
     16 BY MR. CLUFF:                                  16       A. Correct.
     17       Q. So do you see the order               17       Q. And if you drag the
     18 number there, Mr. Hazewski?                    18 highlighted portion all the way over to
     19            MR. NICHOLAS: You mean Mr.          19 the end where we have those codes, you'll
     20       Kreutzer?                                20 see that they start out as IN codes and
     21 BY MR. CLUFF:                                  21 then end as AC codes.
     22       Q. I'm sorry. Yes. Mr.                   22           MR. MAHADY: Hold on a
     23 Kreutzer.                                      23       second. I think you need to
     24            Is that the same number we          24       take -- do you want the witness
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      1    to leave so we can talk about              1   marked as Exhibit-6, which is
      2    this? I don't want to --                   2   Bates number ABDC_MDL_00045077,
      3        MR. CLUFF: Step out for a              3   along with the documents
      4    second, Mr. Kreutzer. Give us --           4   identified as Exhibits-7 and 8,
      5        MR. NICHOLAS: Go out and               5   are not traditionally kept in this
      6    we'll talk about this so we don't          6   format during AmerisourceBergen's
      7    influence your testimony.                  7   regular course of business.
      8        THE WITNESS: You want me to            8       And that during the creation
      9    leave?                                     9   of Exhibit-6, there was, I
     10        MR. CLUFF: Just for a                 10   believe, what we have mutually
     11    minute.                                   11   referred to as a data collection
     12        VIDEO TECHNICIAN: Off the             12   error, or a data collection
     13    record at 3:51 p.m.                       13   malfunction that resulted in
     14           - - -                              14   inaccuracies in ABDC_MDL_00045077,
     15        (Whereupon, a brief recess            15   specifically that this document
     16    was taken.)                               16   may reflect orders being reported
     17          - - -                               17   to the DEA that were not actually
     18        VIDEO TECHNICIAN: We're               18   reported to the DEA.
     19    back on the record at 4:11 p.m.           19       We understand, as
     20        MR. CLUFF: Mr. Kreutzer,              20   plaintiffs, that these documents,
     21    we're back on the record.                 21   Exhibits-6, 7 and 8, were
     22        But before we start back              22   reproduced after the data
     23    with you, your lawyers and I              23   malfunction was discovered and
     24    discussed some of these                   24   that subsequently produced
                                          Page 331                                       Page 333
      1    spreadsheets that we were asking           1   versions of these documents
      2    you questions about, and we've             2   contain more correct data.
      3    come to an understanding about             3       So for the purposes of this
      4    them. So I'm going to do what's            4   deposition, I will no longer be
      5    called make a record of our                5   relying on Exhibit-6 for further
      6    discussion.                                6   questioning. We discussed that I
      7        I understand that you have             7   do have some limited questions
      8    not been privy to any discussions          8   regarding Exhibits-7 and 8, but
      9    about these spreadsheets, so I'm           9   that the data malfunctions in
     10    not going to ask you any questions        10   Exhibit-6 do not pervade
     11    about discussions you had in the          11   Exhibits-7 and 8.
     12    hallway.                                  12       And with that, I think I'll
     13        So during the break, counsel          13   turn it over to counsel for
     14    for AmerisourceBergen and I met           14   AmerisourceBergen to correct me if
     15    and conferred about what has              15   I'm wrong.
     16    previously been identified during         16       MR. MAHADY: That is fine.
     17    this deposition as Exhibits 6, 7          17   The only thing I'll add is that
     18    and 8. Specifically, I was                18   the subsequently produced version
     19    informed, and this is something           19   of Exhibit-6 was limited in scope
     20    that was disclosed during document        20   to Summit and Cuyahoga and not
     21    production, so it was not a               21   Ohio.
     22    surprise, although it was                 22       MR. CLUFF: Understood.
     23    re-uncovered again today during           23       MR. MAHADY: But counsel's
     24    the deposition, that the document         24   representations accurately reflect
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      1      our understanding of the issue.           1 Kreutzer?
      2      And we'll meet and confer with            2     A. I do, yes.
      3      counsel following the deposition.         3     Q. Okay. So in your role as a
      4 BY MR. CLUFF:                                  4 diversion control specialist, you would
      5      Q. So with that understanding,            5 have reviewed customer orders that hit
      6 Mr. Kreutzer, we'll pick back up with you      6 OMP, correct?
      7 and remind you that you're under oath          7     A. Correct.
      8 again.
      9          I'll turn back to Exhibit-7
     10 which is ABDC_MDL_450705.
     11          Do you have that in front of
     12 you?
     13      A. I do.
     14      Q. I'd like you to look at this
     15 document, because we previously looked at
     16 the user ID column, and we noted that
     17 your -- the first initial of your first
     18 name and your last name are in that
     19 column.
     20          MR. CLUFF: I'm going to ask
     21      Zach to blow up and highlight, so
     22      we can all see the headings,
     23      starting with customer purchase
     24      order number all the way to action
                                           Page 335                                           Page 337
      1       taken.
      2           So we're continuing to
      3       action taken. Unfortunately,
      4       these spreadsheets are rather
      5       unwieldy.
      6 BY MR. CLUFF:
      7       Q. So you can see on the very
      8 left, highlighted, we've got purchase
      9 order number. And then on the right,
     10 we've got action taken.                       10      Q. Okay. And if you look at
     11           If you see under user ID,           11 the column that says, Action taken.
     12 it's got your name, K. Kreutzer.              12 Under there, we see two -- on the screen
     13           I guess I should ask you.           13 in front of you, we see two different
     14 Does that reflect that you were the           14 entries. One is, Approved for
     15 person who would have been taking action      15 processing.
     16 on these?                                     16          What would you have been
     17           MR. NICHOLAS: Are you able          17 referring to if you entered approved for
     18       to blow these up any more or not?       18 processing as the action taken on an
     19           MR. CLUFF: Yeah. Zach, can          19 order that hit OMP for review?
     20       you try and just blow up the user       20      A. I'm not exactly sure,
     21       ID and action taken column so we        21 because I don't remember using -- I don't
     22       can see it?                             22 know if the action taken notes is
     23 BY MR. CLUFF:                                 23 automatic or we have to enter those notes
     24       Q. Do you see that, Mr.                 24 manually.


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      1          This is going back eight               1 you and I can talk about it.
      2 years. I don't know other than what             2           The heading on this
      3 information is on the screen here.              3 spreadsheet is, History of all Ohio
      4      Q. Were you looking at the                 4 reports.
      5 heading column, action name, where it           5           And during the break, I'll
      6 says, Auto and manual/auto?                     6 just make one further clarification, it
      7      A. Yes.                                    7 was represented that this document is a
      8      Q. Do you have any                         8 complete list of all orders for Ohio that
      9 understanding of what an auto action name       9 went into OMP review. So I'll make that
     10 would be?                                      10 representation to you, just to kind of
     11      A. I do not.                              11 clear it up.
     12      Q. And do you have any                    12           MR. MAHADY: We'll just add
     13 understanding of what a manual/auto            13      that it's been filtered by
     14 action would be?                               14      plaintiffs.
     15      A. I do not.
     16      Q. Okay. Going back to the
     17 action taken column, do you see where it
     18 says, Closed, notify compliant customer?
     19      A. Right.                                 19         Zach, can you highlight all
     20      Q. When you compare that to               20     the way over to where it has the
     21 approved for processing, do you know what      21     notes in the column after IN?
     22 either of those terms means, approved for      22 BY MR. CLUFF:
     23 processing or closed, notify compliant         23     Q. So, Mr. Kreutzer, I had our
     24 customer?                                      24 tech here blow up a portion of this

                                            Page 339                                             Page 341
      1      A. I do not.                               1 spreadsheet so we can look at it.
      2      Q. Based on your work as a                 2          I will represent to you that
      3 diversion control specialist, could             3 at the very left of your screen is the
      4 either of those terms mean that this            4 customer purchase order number. You can
      5 order was approved for shipment?                5 see that reflected there.
      6          MR. NICHOLAS: Object to the            6          And then to the very far
      7      form.                                      7 right is a heading called, Column 1. And
      8          But go ahead.                          8 immediately to the left of that, the
      9          THE WITNESS: I can't                   9 heading is, Release code.
     10      acknowledge that.                         10          I want to focus on the
     11 BY MR. CLUFF:                                  11 headings with -- the two columns to the
     12      Q. Okay. But did you have any             12 very far right, the release codes and
     13 understanding about what kind of terms         13 then the comment.
     14 you used, pre-2015, to denote an order         14          So in the middle of your
     15 that was approved for shipment?                15 screen on the right, there's a release
     16      A. These notes listed here, I             16 code that says, AC. We previously talked
     17 don't remember using these notes.              17 about this one. And in the comment, it
     18      Q. Okay. Sure. Can you look               18 says, Approved by CSRA per Ed
     19 at Exhibit Number 8? That's the heavier        19 Hazewski/Kevin Kreutzer.
     20 of the two spreadsheets, or the thicker        20          Reviewing the release code
     21 of the two. It's the one with 45076 at         21 with the comment together, do you have an
     22 the top.                                       22 understanding of what the code AC stands
     23          I'm going to have them                23 for?
     24 highlight a portion of this for you, so        24      A. I do not.
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      1      Q. Looking at comment 1, it                 1 could be over threshold, but I'm not
      2 says, Approved by CSRA per Ed                    2 certain.
      3 Hazewski/Kevin Kreutzer.                         3      Q. Okay. Do you have anything
      4           Do you know if that means              4 else that it would be besides over
      5 this order could have been released for          5 threshold?
      6 shipment?                                        6      A. Not that I can think of.
      7      A. According to the comment                 7      Q. I want to scroll down to the
      8 section, it says the order was approved.         8 next page and stay with this order
      9      Q. Does that mean it was                    9 number, which is CES042210. Zach is
     10 approved for shipment to the customer?          10 going to --
     11      A. I assume so, yes.                       11          MR. CLUFF: Blow it up for
     12      Q. If you come down into the               12      us real big, Zach.
     13 highlighted -- the big block highlighted        13 BY MR. CLUFF:
     14 portion, to the very far left of your           14      Q. So do you see in the top
     15 screen, the purchase order number is            15 left corner there of the highlighted
     16 CES042110.                                      16 block there is the customer order number,
     17           Do you see that?                      17 which is CES042210?
     18      A. Yes.                                    18      A. Yes.
     19      Q. And over to the far right in            19      Q. That's the same order number
     20 the comments section, there is a note           20 we were looking at the previous screen?
     21 that is repeated in pairs a number of           21      A. Yes.
     22 times. And it says, Retail oxycodone,           22      Q. And if you go over to the
     23 63.8 percent -- I believe it's a                23 far right, there's the release code and
     24 percentage -- over.                             24 the comment 1. The release code is for

                                             Page 343                                           Page 345
      1          The quality of the copy is a            1 the top -- I can't count how many lines
      2 little bad, I apologize. It's clearer in         2 that is, but the release code is AC, and
      3 the printout, if you look at that.               3 the comment is, Approved per Edward -- or
      4          Do you see where that is?               4 Ed Hazewski.
      5       A. I do.                                   5           Is that --
      6       Q. Do you have any                         6      A. Yes.
      7 understanding, reading this document,            7      Q. Would that mean that this
      8 what that comment signifies?                     8 order was approved for processing and
      9       A. According to the release                9 shipment to the customer?
     10 code, it says IN. So I don't know if            10      A. It appears so.
     11 that order was approved or rejected.            11      Q. What kind of due diligence
     12       Q. I'm going to get to that               12 or investigation would have been
     13 question in a second.                           13 conducted before an order like this was
     14          I'm trying to understand               14 approved by Ed Hazewski?
     15 what retail oxycodone 63.89 percent over        15      A. I don't know. I don't know
     16 means.                                          16 who actually approved this order.
     17       A. It could mean -- it's a                17      Q. Do you have any reason to
     18 retail pharmacy, oxycodone drug family,         18 believe this was not approved by Ed
     19 and the 63.89 percent over.                     19 Hazewski?
     20       Q. So that would have been --             20      A. Other than the notes say
     21 I'm sorry, I didn't mean to interrupt           21 otherwise.
     22 you.                                            22      Q. If you look at the order
     23       A. I'm assuming that's -- I'm             23 date, it looks like it goes year, month
     24 not really sure what that means. It             24 and day, which would be 2010/04/22.


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                                                                              Review
                                              Page 346                                         Page 348
      1          At that point, you had been
      2 working as a diversion control specialist
      3 for over a year, correct?
      4      A. I thought I came in to the
      5 company in September of 2009, so
      6 approximately, maybe six --
      7      Q. Six months?
      8      A. -- six months or so.
      9      Q. During the six months prior               9         MR. NICHOLAS: Object to the
     10 to this order that we're looking at, had         10     form.
     11 you had experience investigating orders          11         THE WITNESS: Yes.
     12 that went into OMP for review?                   12 BY MR. CLUFF:
     13      A. Yes.                                     13     Q. Was there a policy or
                                                         14 procedure document that described to you
                                                         15 what a detailed investigation included?
                                                         16     A. I don't recall that
                                                         17 document.




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                                                                              Review
                                            Page 350                                          Page 352
                                                        1          MR. NICHOLAS: Object to the
      2      Q. So, then, this note in the              2      form.
      3 comments, Approved per Ed Hazewski, is          3          THE WITNESS: At that time,
      4 that an example of documentation of a           4      I believe it would be either
      5 detailed investigation?                         5      Lawtrac or the system itself.
      6      A. I don't know.                           6 BY MR. CLUFF:
      7      Q. This is one of the areas --             7      Q. "The system itself" would
      8 I'm sorry, I didn't mean to interrupt           8 be?
      9 you.                                            9      A. This system that we see in
     10      A. I don't know. There may be             10 front of us.
     11 other documentation elsewhere that I'm         11      Q. The system that generated
     12 not aware of.                                  12 the spreadsheet?
     13      Q. But this is one area where             13      A. Yeah, this -- yeah, exactly.
     14 you said detailed documentation would          14      Q. And it would have been
     15 exist?                                         15 recorded in this comments field?
     16      A. It could, yes.                         16      A. Yes.
     17      Q. And you said also it might             17          MR. NICHOLAS: Object to the
     18 be in Lawtrac?                                 18      form.
     19      A. Yes.                                   19          Go ahead.
     20      Q. So if a customer's order               20 BY MR. CLUFF:
     21 hit -- or went into OMP for review and         21      Q. And just so I understand,
     22 there was a detailed investigation             22 the system that you're referring to, you
     23 carried out about that order, that would       23 didn't enter into an Excel spreadsheet
     24 be in Lawtrac, right?                          24 and manually make these notes, right?

                                            Page 351                                          Page 353
      1      A. It could be, yes.                       1      A. Not into a spreadsheet, no.
      2      Q. Would there be documentation            2      Q. You would have been working
      3 associated with that review?                    3 with sort of a computer program that had
      4      A. Like I said, it all depends             4 fields for you to work in?
      5 on the review, yes.                             5      A. I'm not sure I follow you.
      6      Q. Were there ever any e-mails             6      Q. Like, when you order
      7 generated that documented the findings of       7 something online, there are fields for
      8 these detailed investigations about OMP         8 you to enter information into, like your
      9 review?                                         9 name and your address and your credit
     10         MR. NICHOLAS: Object to the            10 card number?
     11      form.                                     11      A. Yes.
     12         THE WITNESS: I don't know.             12      Q. So did you work with a
     13 BY MR. CLUFF:                                  13 computer program that had fields similar
     14      Q. Do you recall receiving                14 to that for you to put information into
     15 e-mails from an e-mail address                 15 when you were investigating an order?
     16 ABC-notification@AmerisourceBergen             16      A. In that system that we used
     17 regarding orders in OMP review?                17 in 2010, I believe there was a note
     18      A. No, I don't recall.                    18 section where we could have put notes in.
     19      Q. You previously testified               19          MR. CLUFF: Let's take a
     20 there were a couple of places where            20      break. I think I have maybe one
     21 documentation about investigations like        21      more topic that I want to cover,
     22 this could be stored.                          22      but then we'll probably wrap up.
     23         But was there a standard               23      I know people have flights they
     24 place where it would have been stored?         24      want to catch, down at the end of
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                                                                              Review
                                             Page 354                                           Page 356
      1       the table.                                 1 number of orders that come in for DC
      2           VIDEO TECHNICIAN: Off the              2 review and comparing it to the number
      3       record at 4:31 p.m.                        3 that were escalated for CSRA interview?
      4              - - -                               4      A. Yes, for low- and
      5           (Whereupon, a brief recess             5 medium-risk drug families.
      6       was taken.)                                6      Q. Do you -- you're familiar
      7             - - -                                7 with the concept of a Schedule II drug
      8           VIDEO TECHNICIAN: We are               8 and a Schedule III drug?
      9       back on the record at 4:41 p.m.            9      A. Yes.
     10 BY MR. CLUFF:                                   10      Q. Schedule I drug?
     11       Q. Mr. Kreutzer, we're back on            11      A. Yes.
     12 the record and you're still under oath.         12      Q. What is your understanding
     13 I'll do my best to get you out of here          13 of the different schedules?
     14 quickly, if your lawyers don't have             14      A. Schedule I has no legitimate
     15 further questions on you. So lean on            15 medical use; Schedule II is products that
     16 them, and get us all home.                      16 are prone to high risk for diversion; and
                                                        17 Schedule III is just a lower risk of
                                                        18 those drugs that are a potential for
                                                        19 diversion.
                                                        20      Q. Who classifies drugs as
                                                        21 Schedule I, II or III?
                                                        22      A. The DEA.
                                                        23      Q. AmerisourceBergen does not
                                                        24 ship Schedule I drugs, correct?

                                             Page 355                                           Page 357
                                                         1     A. I don't believe so, no.
                                                         2     Q. But AmerisourceBergen does
                                                         3 ship Schedule II and Schedule III drugs,
                                                         4 correct?
                                                         5     A. Yes.
                                                         6     Q. We've previously talked, and
                                                         7 you've mentioned low-, medium- and
      8      Q. Was there ever a push or an              8 high-risk drug families.
      9 incentive to increase the rates at which         9     A. Yes.
     10 DC associates were releasing                    10     Q. Were there ever any other
     11 low-to-medium drug families?                    11 categories besides low, medium and high?
     12      A. We had a spreadsheet of all             12     A. I don't believe so.
     13 the participation rates of all the              13     Q. Do you know if Schedule II
     14 distribution centers, as far as                 14 drugs were classified as medium risk by
     15 adjudicating low- and medium-risk drug          15 AmerisourceBergen?
     16 families.                                       16     A. There may have been. But
     17      Q. Forgive my lay                          17 over the years, we have moved drug
     18 understanding.                                  18 families from low to medium, medium to
     19          What is a participation                19 high and high to medium. So it's -- we
     20 rate?                                           20 do an annual refresh every year.
     21      A. Participation rate would be             21     Q. Just so I understand the
     22 the adjudication rate, let me clarify.          22 parallels here, though, you described a
     23      Q. And is that adjudication                23 Schedule II drug as a high risk for
     24 rate calculated by taking the total             24 diversion, correct?


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                                                                              Review
                                             Page 358                                      Page 360
      1      A. Yes.
      2      Q. What was -- what was the
      3 high-risk category? How did
      4 AmerisourceBergen define high risk?
      5           MR. NICHOLAS: Object to the
      6      form.
      7           Go ahead.
      8           THE WITNESS: I believe just
      9      as the explanation that I
     10      provided, drug families that are
     11      prone to diversion.
     12 BY MR. CLUFF:
     13      Q. And so Schedule IIs had a
     14 high risk for diversion.
     15           But if I understand it
     16 correctly, you testified that at some
     17 points in time AmerisourceBergen
     18 categorized Schedule IIs as medium risk;
     19 is that right?
     20      A. I don't believe that. What
     21 my explanation is, is that we've always
     22 had drug families that are in a high-risk
     23 category. And we -- as well as medium
     24 and low.                                        24    Q.   I'll hand you another
                                             Page 359                                      Page 361
      1          But over time and in review             1 document. We're going to mark this as
      2 with management and our pharmacist on            2 Exhibit 9. This is ABDC_MDL_00047572.
      3 staff, we determined that some risks may         3             - - -
      4 be -- needed to be switched from medium          4           (Whereupon,
      5 to high, for instance.                           5      AmerisourceBergen-Kreutzer
      6      Q. I understand that. Thank                 6      Exhibit-9, ABDC_MDL_00047572, was
      7 you.                                             7      marked for identification.)
      8          So I guess my question is               8             - - -
      9 maybe a little bit more specific.                9 BY MR. CLUFF:
     10          If Schedule II drugs have              10      Q. There were some Excel
     11 been determined by the DEA to have a high       11 spreadsheets attached to that document.
     12 risk of diversion, has AmerisourceBergen        12 I elected not to include them and save
     13 always categorized Schedule II drugs as a       13 the paper. I just have a couple quick
     14 high-risk drug family, or have they ever        14 questions on this, Mr. Kreutzer.
     15 been categorized as medium risk?                15           MR. NICHOLAS: Just give him
     16          MR. NICHOLAS: Object to the            16      a moment.
     17      form.                                      17 BY MR. CLUFF:
     18          THE WITNESS: I don't recall            18      Q. Sure. I'll just let you
     19      them ever being medium risk.               19 know my questions are going to be about
     20 BY MR. CLUFF:                                   20 the first paragraph. So if you want to
                                                        21 focus your analysis there, that would
                                                        22 help.
                                                        23           MR. NICHOLAS: Read the
                                                        24      whole document anyway.
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                                             Page 362                        Page 364
      1           MR. CLUFF: Do you want to
      2       go home or not, Bob? We'll be
      3       here all night reading documents.
      4           MR. NICHOLAS: I think
      5       reading seven more lines is not
      6       going to make the difference
      7       between going home tonight or not.
      8           MR. CLUFF: Bob, I respect
      9       you, but I'll respectfully
     10       disagree.
     11           THE WITNESS: Okay.
     12 BY MR. CLUFF:
     13       Q. So looking at this first
     14 paragraph -- well, actually, let's do
     15 this.
     16           So from the -- in the top of
     17 the e-mail, you see there's a "from"
     18 line. It's from unknown. Do you have
     19 any idea who this kind of e-mail would
     20 come from?
     21       A. I've never seen that before.
     22       Q. Well, first time for
     23 everything for all of us, I guess.
     24           In the "to" category, you
                                             Page 363                        Page 365
      1 see there are a number of individuals,
      2 one of whom is yourself, right?
      3      A. Yes.
      4      Q. And then you see the subject
      5 is, Discussion-report review, weekly OMP
      6 field report performance.
      7      A. Yes.
      8      Q. Was your department having
      9 weekly meetings regarding the OMP
     10 performance of distribution centers?
     11      A. We were.
     12      Q. And were you also discussing
     13 performance of, like, CSRA individuals,
     14 as far as OMP review goes?
     15      A. I believe this particular
     16 e-mail is pertaining to the DC
     17 associates.
     18      Q. Understood.




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                                                19     Q. Let's hand you the next
                                                20 document. This is going to be marked as
                                                21 Number 10.
                                                22          - - -
                                                23        (Whereupon,
                                                24     AmerisourceBergen-Kreutzer
                                     Page 367                                         Page 369
                                                 1      Exhibit-10, ABDC_MDL_00151471-472,
                                                 2      was marked for identification.)
                                                 3            - - -
                                                 4          MR. CLUFF: It is
                                                 5      ABDC_MDL_00151471. It's a
                                                 6      two-page document ending in
                                                 7      151472.
                                                 8          THE WITNESS: Okay.
                                                 9 BY MR. CLUFF:
                                                10      Q. At the top, this is an
                                                11 e-mail from Eric Cherveny to Greg
                                                12 Hamilton, with a cc to you.
                                                13          Do you know who Greg
                                                14 Hamilton was?
                                                15      A. Greg Hamilton is the CSRA
                                                16 distribution center manager for Columbus.




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                                                                              Review
                                            Page 386                                        Page 388
                                                        1 that contains a number of attachments.
                                                        2 I've included one attachment with the
                                                        3 document that begins at ABDC_MDL_00168127
                                                        4 and goes to 168134. I'll hand you this
                                                        5 one.
                                                        6              - - -
                                                        7           (Whereupon,
                                                        8      AmerisourceBergen-Kreutzer
                                                        9      Exhibit-12, ABDC_MDL_00168122 and
                                                       10      ABDC_MDL_00168127-134, was marked
                                                       11      for identification.)
                                                       12             - - -
     13      Q. What's a listed chemical?              13 BY MR. CLUFF:
     14      A. A listed chemical is                   14      Q. I'm not going to ask you any
     15 pseudoephedrine products.                      15 detailed questions about this document at
     16      Q. How do you abbreviate that             16 all. I'd like you to just look at it.
     17 term?                                          17           You do not appear to have
     18      A. Listed chemical? LC.                   18 received this document. But we have
     19      Q. Did AmerisourceBergen have             19 discussed today, at length, Lawtrac
     20 different policies and procedures for
     21 suspicious orders for listed chemicals
     22 than they did for, for example, like
     23 opioids or controlled substances?
     24      A. I don't recall.                        24       Do you see that?
                                            Page 387                                        Page 389
      1          MR. CLUFF: Why don't we                1      A. Give me a second.
      2      mutually take a break. You guys            2          MR. NICHOLAS: I don't see
      3      can go see if you have any further         3      that. Where --
      4      questions. I'll confer with Will.          4          MR. CLUFF: The cover page,
      5      And we'll come back in five                5      the e-mail, the attachments.
      6      minutes.                                   6          MR. NICHOLAS: Where it says
      7          VIDEO TECHNICIAN: Off the              7      attachments, okay. Sorry.
      8      record at 5:11 p.m.                        8          MR. CLUFF: I misspoke.
      9             - - -                               9 BY MR. CLUFF:
     10          (Whereupon, a brief recess            10      Q. I was just trying to
     11      was taken.)                               11 indicate that this e-mail contained
     12            - - -                               12 Lawtrac matter texts as attachments.
     13          VIDEO TECHNICIAN: We're               13          And then if you'll flip to
     14      back on the record at 5:19 p.m.           14 the next page, which has
     15 BY MR. CLUFF:                                  15 ABDC_MDL_00168127, if you look at the top
     16      Q. Mr. Kreutzer, we're back on            16 of the page in the middle of the
     17 the record for the last few questions          17 document, there is some text that says,
     18 that I have for you, and then I'll turn
     19 it over to your counsel to talk.
     20          I want to hand you -- excuse
     21 me. I'm going to hand you a copy of a
     22 document that was produced by
     23 AmerisourceBergen. It's
     24 ABDC_MDL_00168122, which is an e-mail


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      1      Q. And then look down at the                1      A. Yes, that is correct.
      2 bottom of the page, where it says, Text          2      Q. So those text boxes, would
      3 records.                                         3 those have been what I'll refer to as a
      4          Do you see that?                        4 hyperlink that I could have clicked and
      5      A. Yes.                                     5 it would have taken me to other
      6      Q. We previously talked, in one             6 information?
      7 of these exhibits, about what you and I          7          MR. MAHADY: The text box is
      8 kind of referred to as a text box, and           8      on the right side of the document?
      9 you said that might have been                    9          MR. CLUFF: Yes.
     10 documentation that would have been              10          THE WITNESS: I'm not sure.
     11 included in Lawtrac.                            11 BY MR. CLUFF:
     12          Would that -- that                     12      Q. Okay. Did you use Lawtrac
     13 information that we talked about earlier,       13 matters like this in your work?
     14 would that have been under the text             14      A. I did.
     15 records section of these Lawtrac reports?       15      Q. Okay. And I'm not trying to
     16      A. Yes.                                    16 catch you in anything. I'm trying to
     17      Q. So if I were looking at a               17 just understand how you would have used
     18 Lawtrac report, text records is where I         18 this system.
     19 would find the records of investigations
     20 or information about ABC's relationship
     21 with a customer?
     22      A. Correct.
     23      Q. Okay. Can you tell me, in
     24 looking at this document, where I would

                                             Page 391                                               Page 393
      1 be able to locate or identify the
      2 documents that were associated with this
      3 Lawtrac file?
      4          MR. NICHOLAS: Object to the
      5      form.
      6          THE WITNESS: It's been
      7      quite a while since I used this
      8      system. I believe in the
      9      documents and files column on
     10      168129.
     11 BY MR. CLUFF:
     12      Q. Let me redirect you to
     13 168127.
     14          In the upper right-hand
     15 corner, there's an underlined piece of
     16 text that says, Main matter screen. And
     17 there are text boxes underneath that.
     18          Do you see that?
     19      A. Yes.
     20      Q. And one of them says,
     21 Documents and files.
     22      A. Yes.                                    22 BY MR. CLUFF:
     23      Q. Is that the same as the one             23      Q. That may be true. I will
     24 you were looking at on 129?                     24 just represent to you that this is how


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      1 the document was produced to me.                  1 photos are attached?
      2          And I'm just trying to                   2     A. Correct.
      3 figure out where you would click in this          3         MR. CLUFF: That's all I
      4 document that is a reflection of a                4     have.
      5 computer program to get to the documents?         5         That's all I've got, just in
      6      A. There would be documents                  6     case you guys didn't hear me.
      7 posted here that you would be able to             7         MR. NICHOLAS: I have no
      8 click on.                                         8     questions.
      9      Q. When you're saying "here,"                9         VIDEO TECHNICIAN: This
     10 can you tell me what page you're looking         10     concludes today's deposition. The
     11 at?                                              11     time is 5:28 p.m. We are off the
     12      A. I would -- I believe it                  12     record.
     13 would be under the linked matters.               13           - - -
     14      Q. What page is that?                       14         (Whereupon, the deposition
     15      A. Page 2 of 3.                             15     concluded at 5:28 p.m.)
     16      Q. I'm sorry?                               16           - - -
     17      A. 168128.                                  17
     18      Q. Okay. So in the middle of                18
     19 the page?                                        19
     20      A. It would be in,                          20
     21 approximately, that field.                       21
     22      Q. And is there anywhere else               22
     23 in this Lawtrac file where you would have        23
     24 been able to access records from?                24

                                              Page 395                                           Page 397
      1      A. No. It would likely be in                 1  CERTIFICATE
      2 this file.                               2
      3                                          3
             Q. Okay. Go to
      4 ABDC_MDL_00168129. In the middle of the  4         I HEREBY CERTIFY that the
                                                 5 witness was duly sworn by me and that the
      5 page, there is a date, 06/09/14. It
                                                 6 deposition is a true record of the
      6 says, Status. Then, Update, 06/09/14,
                                                 7 testimony given by the witness.
      7 source name, in-house staff, Kevin
                                                 8
      8 Kreutzer.
                                                 9
      9           Do you see that?              10
     10      A. I do.                                   Amanda Maslynsky-Miller
                                                11      Certified Realtime Reporter
                                                        Dated: November 28, 2018
                                                         12
                                                         13
                                                         14
                                                         15
                                                         16
                                                         17           (The foregoing certification
                                                         18 of this transcript does not apply to any
                                                         19 reproduction of the same by any means,
     20      Q. Would there have been                    20 unless under the direct control and/or
     21 documentation attached to this?                  21 supervision of the certifying reporter.)
     22      A. Yes, there would be.                     22
     23      Q. So that's the last sentence              23
     24 of that paragraph, it says, Form 590 and         24


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                                            Page 398                                                 Page 400
      1      INSTRUCTIONS TO WITNESS                    1      ACKNOWLEDGMENT OF DEPONENT
                                                        2
      2
                                                                  I,_____________________, do
      3          Please read your deposition            3 hereby certify that I have read the
      4 over carefully and make any necessary             foregoing pages, 1 - 396, and that the
                                                        4 same is a correct transcription of the
      5 corrections. You should state the reason
                                                          answers given by me to the questions
      6 in the appropriate space on the errata          5 therein propounded, except for the
      7 sheet for any corrections that are made.          corrections or changes in form or
                                                        6 substance, if any, noted in the attached
      8          After doing so, please sign              Errata Sheet.
      9 the errata sheet and date it.                   7

     10
                                                        8   _______________________________________
                 You are signing same subject               KEVIN KREUTZER           DATE
     11 to the changes you have noted on the            9
                                                       10
     12 errata sheet, which will be attached to
                                                            Subscribed and sworn
     13 your deposition.                               11   to before me this
     14          It is imperative that you                  _____ day of ______________, 20____.
                                                       12
     15 return the original errata sheet to the
                                                            My commission expires:______________
     16 deposing attorney within thirty (30) days      13

     17 of receipt of the deposition transcript
                                                       14   ____________________________________
                                                            Notary Public
     18 by you. If you fail to do so, the              15
                                                       16
     19 deposition transcript may be deemed to be
                                                       17
     20 accurate and may be used in court.             18
     21                                                19
                                                       20
     22                                                21
     23                                                22
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